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  Case No.: 22-cv-06465 MEMF
                                               ~;~,,,
                    UNITED STATES DISTRICT COURT ~ ~ ~~' ~`''
                              FOR THE                        ~:~~;~ :;
                   CENTRAL DISTRICT OF CALIFORNIA     = '-~~'.L'' j=.


             In re: Kimberly Martin-Bragg aka Kimberly Barbour,
                                                     Debtor,


                            IVAN RENE MOORE,

                     Plaintiff/Creditor-Appellant,
                                 v.
         KIMBERLY MARTIN-BRAGG aka KIMBERLY BARBOUR,

                             Defendant/Debtor-Appellee


     ON APPEAL FROM THE UNITED STATES BANKRUPTCY COURT
           FOR THE CENTRAL DISTRICT OF CALIFORNIA

                 Bankruptcy Judge Hon.,Judge Barry Russell
                     Bnkr. Case No.:2:16-bk-22878-BR
                       District Court Judge Presiding
                 Honorable Maame Ewusi-Mensah Frimpo~g

                 APPELLANT'S TABLE OF APPENDIX A-T

                                Ivan Rene Moore
                               Appellant in Pro Se
                               1236 Redondo Blvd
                           Los Angeles, California 90019
                                (323)932-9439
                                                                              ORIGINAL
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                            TABLE OF APPENDIX

                       Appeal Case No.: 22-cv-06465 MEMF


   APPENDIX                            DESCRIPTION

   AA-A        RJN-1 Martin-Bragg v Moore 219 Cal App 4t'' 367: California
                     Court of Appeal for the Second District reversal of the
                     Bragg Unlawful Detainer action. L.A.S.0 Case#
                     BC459449
   AA-B        RJN-2 LASC Special Jury Verdict for Conversion July 29tH
                     2013
   AA-C        RNJ-3 LASC Special jury Verdict for Trespass to Chattel July
                     29t"2013
   AA-D        RJN-4 LASC Judge the Hon. Michelle Rosenblatt's Judgment
                     and Order of November 8, 2013, in Moore v Bragg BC
                     480013

   AA-E        RJN-5    California Court of Appeal Case #:B276366 Moore v
                        Bragg Affirming BC480013 Jury and Judge Award in
                        favor of Ivan Rene Moore




   AA-F                 United States Bankruptcy Judge Hon. Ernest Roble
                        dismissal the debtor's Bragg's Bankruptcy case for
                        cause case #: 2:14-bk-15698-ER.
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   AA-G                Discovery Request- Mr. Moore Response to request for
                       production of documents.



   AA-H                Moore's Opposition to Motion to Compel Discovery

   AA-I                Creditor's Moore's First Motion for Clarification
                       regarding purported discharge filed November 16tH
                       2018
   AA-J                Los Angeles Superior Court Writ of Execution issued
                       May 20,2021, pursuant to Code Civil Procedure,
                       section 514.030
   AA-K                Los Angeles Superior Court Writ of Execution
                       ordering the Sheriff or Marshall of the County of Los
                       Angeles to use reasonable forcible entry to enter into
                       the private place listed as: 6150 Shenandoah Avenue,
                       Los Angeles California 90056 and 6160 Shenandoah
                       Avenue, Los Angeles California 9005b for the purpose
                       of levying on the personal property subject to the writ
                       of Possession.



   AA- L               Photograph of July 7,2021, the Sheriff of the County
                       of Los Angeles executed raid of the Writ of Execution
                       with (Exhibit A)and discovered legal and personal
                       documents and many personal properties of Mr.
                       Moore and others that were concealed in the garage at
                       6150 Shenandoah Avenue,Los Angeles California
                       90056. Please see, AA- L, M,N, O, and P, respectively;
                       true and correct copies picture ofSheriffs Raid held on
                       July 7, 2021 at 11:1S a.m.).



   AA-M                Photograph of July 7,2021,the Sheriff of the County of
                       Los Angeles executed raid of the Writ of Execution with
                       and discovered legal and personal documents and many
Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 4 of 168 Page ID #:149




                        personal properties of Mr. Moore and others that were
                        concealed in the garage at 6150 Shenandoah Avenue,
                        Los Angeles California 90056
   AA-N                 Photograph of July 7,2021, the Sheriff of the County of
                        Los Angeles executed raid of the Writ of Execution
                        and discovered legal and personal documents and many
                        personal properties of Mr. Moore and others that were
                        concealed in the garage at 6150 Shenandoah Avenue,
                        Los Angeles California 90056
   AA-O                 Photograph of July 7,2021, the Sheriff of the County of
                        Los Angeles executed raid of the Writ of Execution and
                        discovered legal and personal documents and many
                        personal properties of Mr. Moore and others that were
                        concealed in the garage at 6150 Shenandoah Avenue,
                        Los Angeles California 90056
   AA-P                 Judge Cowan Ex-parte ruling in Moore v Bragg
                        BC480013
   AA-Q                 Motion to Disqualify Judge Barry Russell for bias,
                        prejudice and lack of Impartiality
   AA-R                 Transcript of hearing dated August 2"d,2022,10:00 a.m.

   AA-S                 Omitted

   AA-T                 Omitted


  November 9t''' 2022
                     ~—


   IVAN RENE MOORE
   Plaintiff-Appellant, in Pro se
Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 5 of 168 Page ID #:150




                         CERTIFICATE OF SERVICE


        I hereby certify that a true and exact copy ofthe: APPELLANT IVAN
 RENE MOORE'S OPENING BRIEF WITH APPENDIX A-T
        This Document has been served upon by U.S. Mail, postage prepaid,
  addressed to:



                        SEE ATTACHED SERVICE LIST




 Dated: November 9t",2022


                                                  Ivan Rene Moore
                                                  Appellant Pro se
Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 6 of 168 Page ID #:151




                               PROOF OF SERCVICE


        I, the undersigned, declare that I am employed in the city of Los Angeles,
  California. I am over the age ofeighteen(18)years and I am not a party to the within
  action. On November 9th ,2022,I served the following document:

  IVAN RENE MOORE'S OPENING BRIEF AND OPENING APPENDIX A
  THRU T

  On the party listed below:

                        SEE ATTACHED SERVICE LIST

 [X ] BY MAIL- I placed each such sealed envelope, with postage thereon fully
 prepaid for first class mail, for collection and mailing at Los Angeles, California,
 following ordinary business practices.


 [ ] BY FACSIMILE- I caused the said document to be transmitted by Facsimile
 machine to the addresses) noted above.

 [X ] STATE- I declare under the penalty of perjury under the laws of the State of
 California that the foregoing is true and correct.

 [ ] FEDERAL- I declare that I am employed in the office of a member of the
 bar of this court at whose direction the service was made.

  DATED:11

               Submitted



 Devra Allen
Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 7 of 168 Page ID #:152




                                   SERVICE LIST

                                 Steven A. Schuman
                           Leonard Dicker and Schreiber LLP
                            10940 Wilshire Boulevard Suite 2100
                                Los Angeles, CA 90024-3936
                  Attorney for Kimberley Martin Bragg and others

                                   Lee T Dicker
                          Leonard Dicker and Schreiber LLP
                       10940 Wilshire Boulevard Suite 2100
                             Los Angeles, CA 90024
                  Attorney for Kimberley Martin Bragg and others


                                    Ronald Hills
                                 1236 Redondo Blvd
                            Los Angeles, California 90019
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         Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 9 of 168 Page ID #:154 ~~
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           •                  •


                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                  FOR THE COUNTY OF LOS ANGELES


               IVAN RENE MOORS,                            }Case No. BC 480013
                                                           }

                         Plaintiff,

                                                            Special verdict-Trespass
               v.                                          }to Chattel


               KIMBERLY MARTIN-BRAGG,
                         Defendants
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                                                                    LOS ANGEIES SUPERIOR Ct3URT

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•       - 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 10 of 168 Page ID #:155
      Case
                                    •                                       •




           We answer the questions submitted to us as follows:

                    1. Did IVAN RENE MORE own/possess/have aright to possess any of the following
           items:

                           (a) Clothing, shoes, kitchen equipment and other personal property?
                                     1 d Yes 0 No

                          (b Piano?
                            ~al Yes ~     No

                          (c)One ar more of the fallowing: 2 automobiles, 1 motorcycle, auto tools,
           auto parts?
                             ~a Yes ~      No

                          (d)Recording Console SSL K?
                               Yes ~ No

                          (e) Music, Sound and Recording Equiptment?
                            ~ ~ Yes ~ No

                          (~ Musical Instruments?
                               _Yes 0 No

                         (g)Business Property, including computers, monitors, miscellaneous
           equipment, documents, furniture, tapes, televisions?
                           O Yes ~ e1,No                      .

                           (i) Masters?
                           ~_ Yes~No

                If your answer to any of the items in question 1 is yes;then answer question 2. If you
    ~~~ answered no, stop here, answer no further questions; and have the presiding juror sign and date this
    `~f.~ form.
    4
    `




      ~;.     2. Did KIMBERLY MARTIN-BRAGG intentionally interfere with IVAN RENE
     ~:a MOORE's use or possession of any ofIVAN RENE MOORE's property or damage his property ?
    ,..,
    ;,;}        ~~- Yes ~ No
      ~~.
     ~.~
     ~~
    ~.,=      If your answer to question 2 is yes, then answer question 3. If you answered no, stop here,
    c~,:

                                                                                                       d 00~
. . Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 11 of 168 Page ID #:156

  •` .answer no further questions,~d have the presiding juror sign and date this form.

             3. Did IVAN RENE MOORS consent?

               ~ Yes ~ ~ No

            If your answer to question 3 is no, then answer question 4. If you answered yes, stop here,
      answer no further questions, and have the presiding juror sign and date this form.

             4. Was IVAN RENE MOORS harmed?

              ~ ~ Yes ~      No

            If your answer to question 4 is yes, then answer question 5. If you answered no, stop here,
      answer no further questions, and have the presiding juror sign and date this farm.

           5. Was KIMBERLY MARTIN-BRAGG's conduct a substantial factor in causing IVAN
      RENE MOORE's hazm?

              ~ a Yes ~ No

            If your answer to question 5 is yes, then answer question 6 and 7. If you answered no,
     stop here, answer no further questions, and have the presiding juror sign and date this form.

             b. What are IVAN RENE MOORE's damages?
                                a. For the fair market value of the property:

          ~~~,~0~~ U~o~




             7. Do you recommend that the Court order KIMBERLY MARTIN-BR:AGG to return
     any of the items checked yes in Question 1 to IVAN RENE MOORS instead of awarding some or all
     of the damages in 6a?
                       ~ ~► Yes QNo

   tV~~                8. If your answer to question 7 is yes, which items do you recommend the
   t:j,Court order to be returned (enter the letters) or print the name of the items}}?
   ~, c      ~n               itc a           yen        trs nQ ~ ~r+rtt ~ p~4~o, SSL K tanso{t ~
   ~::~^usic t oknd~rtcardia~ c~u~'~mtn~, mu5~ ~a1 insfra~en                       rnas (s, ~~1
                   I your
                       f      an er t qu stion 7 is yes and the Court fo ows ur P~'        da~ e~~mar~o
                                                                                                      ~(
    "recommendation, then answer question 9. If your answer is no, stop here, answer no further questic~
   '~~and have the presiding juror sign and date this form.
   p,*}

   r.=~              9. If the property listed in question 8 is returned to IVAN RENE OORE,
   p~-by what amount, if any, should the damages be reduced?                $~__~ ~1
   ~~
                                                                                                     000 5~
 Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 12 of 168 Page ID #:157
~•~     -                     ,




             Signed:


             Dated: _~~;~~3

             After alt verdict forms have been signed, notify the court attendant that you are ready to
      present your verdict in the courtroom.




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             Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 14 of 168 Page ID #:159
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                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                       FOR THE COUNTY OF LOS ANGELES


                   IVAN RENE MOORS,                            }Case No. BC 480013


                              Plaintiff,

                                                                 Special Verdict-Conversion
                   v.



                   KIMBERLY MARTIN-BRAGG,
                             Defendants
                                                                       ~ ~~~
                                                                  LOS ANGELES SUPERfOR COURT
                                                                           JUL 2 9 2013
                                                                       JOHN A. CLARKS, CLERK


                                                                      BY JEFF W. LIPP, DEPUTY




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    Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 15 of 168 Page ID #:160




       We answer the questions submitted to us as follows:

                  1. Did IVAN RENE MOORS ownlpossess/have aright to possess any ofthe following
       items:

                         (a Clothing, shoes, kitchen equipment and other personal property?
                          ~~ Yes O No

                             Piano?
                          ~~   Yes- ~    No

                         (c)~ One or more ofthe following:- 2'automobiles; I motorcycle, auto #Dols,
           auto parts?
                           ~ a Yes {~ No

                         (d)Recording Console SSL K?
                              Yes 0 Nc~

                         (e} Music, Sound and Recording Equiptment?
                               Yes ~_No

                         (#) Musical Instruments?
                         ~ ~Yes ~No

                        (g)Business Property, including computers, monitt~rs, miscellaneous
           equipment,docxunents, furniture, tapes, televisions?
                          ~ Yes 1 allo

                         (i} Masters?.
                           Z e~ Yes ~ No

             If your answer to any ofthe items in question 1 is yes, then answer question 2. If you
    ~~ answered no,stop here, answer no further questions, and have the presiding juror sign and date this
    ~~~
    `= form.
    ,;,
    `~ ~       2, Did KIMBERLY MARTIN-BRAGG intentionally and substantially interfere with any of
     ~~ IVAN RENE MOOR.E's property by [[taking possession oflpreventing IVAN RENE MOORS from
        having access to, or destroying, or refusing to return] any ofitems to chick you checked "yes" in
     ~= question 1 after IVAN RENE MOORS demanded its return]?
     ~~

`   ;,-=           ~~- Yes    d No
t   i~




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    : .Case
        ~~-; 2:22-cv-06465-MEMF Document 8-1                  Filed 11/09/22 Page 16 of 168 Page ID #:161
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             -                M                                              i~
               If your answer to question 2 is yes, then answer question 3. If you answered na, step here,
         answez no further questions, and have the presiding juror sign and date this form.

                 3. Did IVAN RENE MOORS consent?

                     ~ Yes ~ ~No

               If your answer to question 3 is na,then answer question 4. If you answered yes, stop here,
         answer no further questions, and have the presiding juror sign and date this form.

                 4. Was IVAN RENE MOORS harmed?

                         Yes ~ No

               If your answer to question 4 is yes, then answer question 5. If you answered no, stop here,
         answer no further questions, and have the presiding juror sign and date this form.

              5. Was KIMBERLY MARTIN-BR.AGG's conduct a substantial factor in causing IVAN
         RENE MOORE's harm?

                     ~ ~ Yes fl   No

                If your answer to question 5 is yes, then answer question 6 and 7. If you answered no,
         stop here, answer na further questions, and have the presiding juror sign and date this form.

                 6. Wharare IVAN RENE MOORE's damages?
                          •        a. For the fair market value ofthe property:
          ~ a,S
            ar 50~~~~ ~
                        M   O ~ b. For lost profits:
                     ~     ~~




              TOTAL $ 3~ 1 50 ~ d OO                     ~~
                   7. Do you recommend that the Court order KIMBERLY MARTIN-BRAGG to return
           any of the items checked yes in Question 1 to IVAN RENE M(30RE instead ofawarding some or all
       ~'~ ofthe damages in ba?
       ~``                  1 a Yes ~ No

       ~~'                  8. If your answer to question 7 is yes, which items do you recommend the
       r~~' Court order to be returned (enter the letters) or print the name ofthe items)}?
       ~ -~ Clvi~►         hogs                            rso~al (~to~~rfi, ~p+ar►a, SSC K Con~o~e~
       ',.~`m Sic ~ouh~(/ ~QtOt ~h,              air mtht, rnuts~~al ~nst~a~thi~ m~fc~s, `~i ~„~,~
       c"w~             I your answer to ques ion 7 is yes and the Court follows your ~n.~~)
                                                                                                  doCK,~}
       k-'recommendation, then answer question 9. If your answer is no, stop here, answer no further question
       ~; ,~;

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      Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 17 of 168 Page ID #:162
r, ? ~: have the presiding
     and                   juror~n and date this form.

                       9. If the property listed in question 8 is returned to IV    „K~~OORE,
        by what amount, if any, should the damages be reduced?          $ a,




                Signed:
                                Pr      ng Juror

                Dated:
                        _~~t3                                                                                       t
                Aftei all verdict forms have been signed, notify the court attendant that you are ready to
         present your verdict in the courtroom.




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Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 19 of 168 Page ID #:164
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    v.


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                  Def~~~ar~t.


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     ~I'his action c~r~~ can recta ~rly~ ~~r tram cart 3taly 15,
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      Plaintiff I1~~'AI~ ~E ~E t~C}RE ap~e~r~d in prr~~
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     ter action in BC~83652 and the trial was heard as

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       (a } Clat~.ing, shoes, kitc~~n equipment, and
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       (c ~ One car more of the folioa~rin~: autc~mobil~s,
    YES
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       (e} Music, found a►~d R~cordin~ ~~~ipm~nt'?
         (fj Musical Instr°aments'? YES
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        (g) Business propene, including cc~mputer~, ~non
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           6. ~L'hat ~r~ ~~an R~n~ ?~~ore's damages`'
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            a. ~c~r fair market ~alzae of`th~ property: $2.5 miliic~r~
            b. Far lust prca~ts:                            ~65C} 00(7

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Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 21 of 168 Page ID #:166



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                                                           I~~an Rine Moore instead ~f awarding
           the items ~he4ked YES in t~uestinn 1 to
           st~rne ar ail of the ~ama~es in 6a:~ YES
                                                    v~'h~ch items dc~ y°ou recam~nend the Court
        ~. If ~~our an~vv~~r to qu~stifln 7 is yes,
                                                                 equipment, per5~r~~1 p~-opert~,°,
           ~r~~r tQ be returned`? Cl~thir~g, shies, kitchen
                                                              p~rs~nai Ie~a1 d€~~:uments.
            piar~a, ~SL~. ct~nsc~le, masters,'7l Ca~narc~,
                                            is reTurned ~o T~rar~ Rene ~~care, y what
                                                                                         amount, i~
         9. If the prt~perty in question

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       (a }Clothing, shoes, kitchen equipment, and
       (b)Piano DES
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       (c} Qn~ or more of the ~c~1i~~~~in~: automo~i~es,
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        7. Do you r~ccrrnmend that the Court t~rd~r ~imb
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             items:
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    In accordaonce cv~ith the verdict c~fthe jur}°, the C~~~r
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    Addatic~nall;~~, if the uems,or any of thorn, are nc~t returned, IVA?ti~ RE'~E ~rlt?~"JR~ ma~~
    ~~ek enfc~rczment of~ the jud~m~nt fc~r possessiar of p~rs~nal prc~~a~rty= in accordance ~~ th
    Cade cif ~;i~s~il Procedure se~tians 71~.~r1~3 et s~~. "I' ~ ~`~urt will anak~ such farther orders
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    jud~~rae~t.


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    unrelated to Plaintiff's p~r~onal property. Holyever, tie judgment is enlrarc~able.



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        Filed 9/8/17 Moore v. Martin-Bragg CA2/5

           NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

        California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on
        opinions not certified for publication or ordered published, except as specified by rule
        8.1115(b). This opinion has not been certified for publication or ordered published for
        purposes of rule 8.1115.



        IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                              SECOND APPELLATE DISTRICT

                                            DIVISION FIVE


        IVAN RENE MOORE,                                       B276366

                Plaintiff and Respondent,                     (Los Angeles County
                                                               Super. Ct. No. BC480013)
                v.

        KIMBERLY MARTIN-BRAGG,

                Defendant and Appellant.




             APPEAL from a judgment of the Superior Court of Los
        Angeles County, Michelle R. Rosenblatt and Michael M. Johnson,
        Judges. Affirmed.
             Ivan Rene Moore, in pro per., for Plaintiff and Respondent.
             Thomasina M. Reed, The Newell Law Firm, Felton T.
        Newell, for Defendant and Appellant.




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                                                                                JUN 04 2015

                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                           Central District of California
                                                                           BY evangeli DEPUTY CLERK




                     UNITED STATES BANKRUPTCY COURT
                       CENTRAL DISTRICT OF CALIFORNIA
                                 LOS ANGELES DIVISION


  In re:      Kimberly Martin-Bragg,                  Case No.: 2:14-bk-15698-ER
              Debtor.                                 Chapter: 11
                                                                  ORDER DISMISSING CASE
                                                                  PURSUANT TO ORDER TO
                                                                  SHOW CAUSE RE:
                                                                  CONVERSION OR
                                                                  DISMISSAL [D.E. 156] AND
                                                                  FOR REASONS SET FORTH
                                                                  ON THE RECORD

                                                                 Advanced Hearin:
                                                      Date:          June 3, 2015
                                                      Time:          10:00 a.m.
                                                      Courtroom:     1568


           On March 25, 2014, Kimberly Martin-Bragg ("Debtor")filed a voluntary individual
   petition under Chapter 11. On May 19, 2015, the Court issued an Order to Show Cause re:
   Conversion or Dismissal("OSC")and set a hearing for June 17, 2015. D.E. 156. On May 19,
   2015, the Debtor independently filed and set a hearing on the Debtor's Notice ofMotion and
   Motionfor Order Extending Deadline to File Plan and Disclosure Statement[Second ReguestJ
  ("Motion") on June 3, 2015. On June 2, 2015, the Court posted a tentative ruling, on the docket
   at entry l 60 and incorporated herein by reference, stating its intention that if the issues raised
   were not adequately addressed, the Court would dismiss the case. On June 3, 2015, the Motion
   came on for hearing ("Hearing"). Appearances were as stated on the record.




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          At the Hearing, it became abundantly clear that the Debtor would not be able to satisfy
  the Court's concerns regarding the issues that it raised in the OSC under 11 U.S.C. § 1112(b) and
  that any further continuation of this case would be unnecessary and improper. All essential
  parties were before the Court and had an opportunity to be heard. Accordingly and consistently
  with the Court's stated intention in its tentative ruling, the Court sua sponte moved up the
  hearing on the OSC to be concurrent with the hearing on the Motion.

          The Court is sympathetic to the challenges of the Debtor in state court. However, it is not
  this Court's province, as a Federal Bankruptcy Court, to usurp the role of the state court. The
  state court has separate duties. This Court's obligation, under Title 11, Chapter 11, is to, among
  other things, permit debtors to timely and reasonably reorganize their debts. Reorganization is
  not happening here. Although this case has been pending for over a year, the Debtor has
  evidenced no effort or present capability to proceed toward confirmation.

          The Court's conclusion is unaffected by the Debtor's argument, made on the record that,
  if given a brief 30-day extension, she could propose a plan and disclosure statement without
  resolving disputed ownership of certain properties and without resolving other state court
  matters. If this was the Debtor's intention, she should have and could have proposed such a plan
  and disclosure statement long ago.

        Accordingly, there is no need for further briefing and the record ofthis case has clearly
  shown that dismissal is proper at this time.

           Based on the foregoing and, for the reasons stated on the record, the Court finds that
  "cause" exists pursuant to 11 U.S.C. § 1112(b) such that the court shall dismiss this case. 11
  U.S.C. § 1112(b)(4)(A)(Providing that "cause" includes a "substantial or continuing loss to or
  diminution of the estate and the absence of a reasonable likelihood of rehabilitation"); 11 U.S.C.
  § 1112(b)(4)(E)(Explaining that "cause" includes a debtor's "failure to comply with an order of
  the court"); 11 U.S.C. § 1112(b)(4)(J)(Stating that "cause" also includes a debtor's "failure to
  file a disclosure statement, or to file or confirm a plan, within the time fixed by this title or by
  order of the court").

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          1n light of the numerous, violated, express bases of 11 U.S.C. § 1112(b), and based on the
  entire history of this case, as set forth in the OSC, and for the reasons set forth on the record at
  the Hearing, including considerations of the best interests of creditors, IT IS HEREBY
  ORDERED that:

             1. The case is dismissed, the automatic stay is vacated and all pending motions and
                adversary proceedings are moot and dismissed;
             2. All currently scheduled hearings are VACATED; and
             3. The Debtors is hereby directed to pay any and all outstanding quarterly fees owed
                to the Office of the United States Trustee in the current amount of $650.00.

         IT IS SO ORDERED.

                                                  ###




        Date: June 4, 2015                                         Y"~          ~         Q~'~
                                                         Lrnest M. Robles
                                                         United States Bankruptcy Judge




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     IVAN RENE MOORS                                          ~        ~U~:~ ~ 6 2rs~
i                                                                 ~           _.
     1236 Redondo Blvd
     Los Angeles, CA 90019                                    ~ c~`r`'% -~ ~'~:;' . - _. ,      ..
2
     323 932-9439                                             ~-                 h ~ _-._ _ _-: _-
3    Ivan Rene Moore
     Plaintiff in Pro se
4

5

6
                             UNITED STATES BANKRUPTCY COURT
7                            CENTRAL DISTRICT OF CALIFORNIA

                                                Case No. 2:16-BK-22878-BR
9 I I In re:
                                                Adv No. 2:16-AP-01543 ~~Z
     Kimberly Barbour
10
     Aka Kimberly Martin-Bragg,                 Chapter(7)
ii                         Debtor
                                                PLAINTIFF'S OPPOSITION TO
12                                              DEFENDANT'S MOTION TO COMPEL
                                                PRODUCTION OF DOCUMENTS;
13                                              DECLARATION OF IVA1~1 RENE
     IVAN RENE MOORS
14   PLAINTIFF                                  MOORS

15                                                  FILED CONCURRENTLY WITH
                                                    MOTION FOR SANCTIONS PURSUANT
16
     KIMBERLY BARBOUR                               TO FRCP RULE 11 FOR FALSE
i~   aka KIMBERLY MARTIN-BRAGG,                     STATEMENTS BY COUNSEL
                       DEFENDANT
18                                                  Date: June 20l" , ?017
                                                    Time: 2:00 p.m.
19
                                                    Place: 1668
20                                                         Los Angeles, CA

zi                                                  Judge: HON BARRY RUSSELL
z2                                                  Hearing Requested

23

24    TO ALL PARTIES AND TO TftEIR ATTORNEYS OF RECORD:
25

26
                                                                                      ORIGINAZ
27

28



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1            Plaintiff first responds by stating that despite the protestations and overwrought demands,~

2     that all ofthe reasonably relevant documents to which the Plaintiffs would be legally entitled to

3     are offered for production. While Defendant's motion is thick and filled with attachments, it

4     does not place the factual content and the subject discovery requests and responses in their full

5     context.

6             An examination ofthe circumstances surrounding this motion demonstrates that

      Defendant's motion and the relief sought is unwarranted and unnecessary. Therefore,

s     Defendant's motion should be denied.

9

io            Plaintiff has filed his request fora .Protective Order for the taking of his deposition and

11    has requested the Court order a discovery referee. The parties are unable to resolve anything by

12    conversation, and only communicate by email based on the unprofessional conduct and the

13     willful lies ofthe defendant and her attorney.

14            Furthermore, filed concurrently with this objection, is a Motion for Sanctions under

15     FRCP Rule 11, against Steven A. Schuman and Leonard Dicker and Schreiber LLP,for the

16     knowingly and repeatedly false statements made in their pleading.

17

18    ~ I. General Discovery Rules Do Not Support the Sweeping and Contentious Discovery

19    ~ Defendants Seek to Compel Here.

20

21               The scope of allowable discovery under the federal rules is not as broad as Defendants

22     suggest. First, Under Rule 26(b)(1), there are two categories of discovery: that which is relevant

23     to the claim or defense of a party, and that which is merely relevant to the subject matter. A

24     party seeking information relevant only to the subject matter must show good cause and seek the

25     court's approval.

26               The advisory committee's notes expressly explain that making "subject matter" discovery

z~     dependent on showing good cause and obtaining court approval is "designed to involve the court

 zs     more actively in regulating the breadth of sweeping or contentious discovery."




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~ i          Fed. R. Civ. P. 26(b)(1) advisory committee's note (2000). The sweeping and contentious

2     discovery sought here is relevant, at most, to the subject matter of the case, and thus Defendants

3     must show good cause to the Court for imposing the burden of such discovery on Plaintiff.

4     Discovery cannot be "unreasonably cumulative or duplicative, or . . .obtainable from some other

5     source . . . ." Fed. R. Civ. P. 26(b)(2)(i).

6

7 '           Plaintiff submits that aside from the patently objectionable requests, many ofthe

s     requests to which Defendants now seek to compel responses are cumulative, or duplicative,

      request information that they have in their own possession or that is a matter of court records.
9
io
ii            Defendants seek to compel Plaintiffs to provide information despite

12    valid, reasonable, and applicable objections and despite the fact that there is a five year history o~
13    litigation before this bankruptcy, which resulted in two large victories for the Plaintiff. First is
14    the $5,650,000.00 a unanimous jury awarded the Plaintiff after a nineteen day trial for the
15    Defendant's intentional acts of conversion and trespass to chattel. Defendant filed this and
16    another bankruptcy, a Chapter 11, two years ago, which was dismissed for cause, seeking to
17    avoid and discharge this debt she owes to Plaintiff. The second is the theft ofPlaintiff s home
18    and the wrongful eviction by the Defendant, which the Plaintiff had reversed in the California
19    Court of Appeals, and which is well-known and often cited case
20     Martin-Bragg vs. Moore, 219 Cal. App. 4'~' 367(2013).
21             The context under which the Defendant has made this motion is one of threats and racial
22     animus against Plaintiff. Plaintiff will not be subjected to this and will ask the Court to
23     intervene.

24    //

25     //

26    i //

27     //

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i                                  II. STATEMENT OF THE CASE

2           Most importantly, in Defendant's moving papers 1 Exhibit 3, the very first paragraph of
3    the email states that "Please make arrangements to get us all the documents, an appropriate
4    verified response with objection, no later than Monday, May 8, 2017." Plaintiff served his
s    responses on May 3ra 2017. Plaintiff did not waive any objection and responded timely.
6

            Despite the strident protestations of Defendant's counsel, the Plaintiff in
s    this matter has not engaged in any willful conduct that would justify the relief
9    requested. While Plaintiff concedes that discovery in this matter has not
10   progressed as smoothly. This is solely the responsibility of the Defendant in this action. The
11   Defendant has engaged in threats, lies and demeaning conduct. As best as Plaintiff can discern
12   the following responses are categorized here for the Court.
13   Response to Requests Number 1, 2, 28
14   Categories 'Dischargeability and Prior Litigation Requests
15   Plaintiff has responded to this Request fully and in good faith.
16   First of all the"dischargeability" of a debt inherently calls for a legal opinion and conclusion.
17   That is enough of an objection to this interrogatory and its attendant request for production of
is   documents.
19           Furthermore, all of the information to respond to this request is in the possession ofthe
20   Defendant. Plaintiff responded as such and stated that Plaintiff sued Defendant in Moore vs.
21    Martin Bragg for two intentional torts, Conversion and Trespass to Chattel.
z2           Since the wrongful eviction of the Plaintiff in 2011, the Defendant has been in wrongful
23    possession ofPlaintiff's personal, business, corporate, legal and other documents. Despite
24    Plaintiff winning his nineteen day trial for conversion and trespass to chattel, Moore vs. Martin-
25    Bragg LASC BC 480013, against this very Defendant, and despite a Court Order after the
26    Jud?ment for the return of Plaintiff s documents since November 8, 2013, the Defendant still has
27    Plaintiff s documents.
28


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i            Plaintiff also met and conferred in detail as to his position including legal authority for

2     his response to these Requests on May 14, 20l 7. As with objections to interrogatories under Rule

3     33, objections to Rule 34 requests for production "must be stated with particularity in a timely

4     answer, See, Badalamenti v. Dunham's Inc., 498 U.S. 85l (1990); Hall v. Sullivan, 231 F.R.D.

s     468, 474(D. Md. 2005). Brenford Environmental System, L.P. v. Pipeliners of Puerto Rico,

6     Incorporated, 269 F.R.D. 143, 146(D.P.R. 2010). This information is public information and is

~                                                                                       '2017.
      readily accessible. Plaintiff also addressed this request in an email dated May 14`x

s

9      esponse to Requests Number 3 and 4

io            Category Police Reports/Insurance Reports plaintiff does not have any Police Report.

11            Insurance reports is a vague term. However Plaintiff did respond fully.

12

i3 Response to Requests 8,9,and 10
~4            Category Communication between Plaintiff and Home Depot, Cricket Mobile, and

15    AT&1'.

16            Since the wrongful eviction ofthe Plaintiff in 20]2, the Defendant has been in wrongful

i~     possession of Plaintiff's personal, business, corporate, legal and other documents.

1s             Despite Plaintiff winning his nineteen day trial for conversion and trespass to chattel,

19     Moore vs. Martin-Bragg LASC BC 480013, against this very Defendant, and despite a Court

zo     Order after the Judgment for the return of Plaintiff's documents since November 8, 2013, the

21     Defendant still has Plaintiffs.

22

2s             Plaintiff further responded that Plaintiff will fly to Milwaukee, Kentucky and Illinois in

24     the next few weeks to complete his search.

25     Responses to 12-29

26     Category '??

 2~    No. 12. Plaintiff's bankruptcy schedules are public information.

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Case 2:22-cv-06465-MEMF
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i    No. 13. All documents concerning PlaintifFs radio stations This is simply so vague as Plaintiff
z    objected. Additionally any and all documents are either in Wisconsin, Ohio and Kentucky, or as

3    stated above in the Defendant's possession.

4    Since the wrongful eviction ofthe Plaintiff in 2011, the Defendant has been in wrongful

s    possession of Plaintiff's personal, business, corporate, legal and other documents. Despite

6    Plaintiffwinning his nineteen day trial for conversion and trespass to chattel, Moore vs. Martin-

~    Bragg LASC BC 480013, against this very Defendant, and despite a Court Order after the

s    Judgment for the return of Plaintiff's documents since November 8, 2013, the Defendant still has

9    Plaintiffs.

io   Responses 17 through 27

~~   Category Communications with various Artists

~2   Since the wrongful eviction of the Plaintiff in 2012, the Defendant has been in wrongful

is   possession of Plaintiff's personal, business, corporate, legal and other documents. Despite

i4   Plaintiffwinning his nineteen day trial for conversion and trespass to chattel, Moore vs. Martin-

is   Bragg LASC BC 480013, against this very Defendant, and despite a Court Order after the

i6   Judjment for the return ofPlaintiff's documents since November 8, 2013, the Defendant still has

i~   Plaintiffs.
is    Response 29

i9    Documents Communication with Ronald Hills and his lawyers Plaintiff objected because
zo    Mr. Hills and Plaintiff have been represented by the same attorney and the documents

2i    would be privileged. Plaintit~'also objected because this is very overbroad and vague,

zz    unintelligible and is conjunctive.
23

24           Respectfully Submitted

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26
             DATED: June 6''' , 2017
27                                                                   RENE MOORS
28                                                            Plaintiff and Responding Party


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Case 2:22-cv-06465-MEMF
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                                                 CONCLUSION
1

2            Based on the forgoing this motion should be denied. Defendants seek to compel

3     responses to various discovery requests to which Plaintiff raised reasonable and timely
4
      objections and answered to the best of his ability. The information for which Defendants seek
5
      resort to the Court is largely arises from the five to seven years litigation and bankruptcies of
6
      defendant, and as such is available to the Defendant or in the possession ofthe Defendant based

s     on this defendants willful violations of a Court order to return this plaintiff's legal documents.

9             The documents requested are mostly in the possession of the defendant in this action.
10
      Plaintiff will now have to file a relief from stay motions to access the documents via Court
11
      because this Defendant has now purportedly .given plaintiff s legal and business documents to
12

13
      Wells Fargo.

14             DATED: June 6`'' 2017
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                               DECLARATION OF IVAN RENE MOORS
i
2
             I, Ivan Rene Moore, declare as follows:
3
             I am the Plaintiff in this action and I have personal knowledge of the following.
4            1. Plaintiff responded to defendants production of documents Set One on May 3rd 2017.
5 (Exhibit A)
6            2. Plaintiff provided full and complete responses which were not boilerplate answer or
~     objections.
s            3. Most ofthe documents requested are in the possession of this defendant in this action.
9            4. Some of the other document are in other States and plaintiff has not had the time to go

to    to the various states to review and retrieve the documents requested based on the ongoing emails
      with random self-execution dates.
11
             5. This motion is in bad faith and this defendant should be sanctioned for this conduct.
12
             1 declare under penalty of perjury under the laws of the United States that the foregoing i;
13
      true and correct.
14

15
              Dated: June 6'~', 2017
                                                              AN RENE MOORS
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1                                       PROOF OF SERVICE
                                      STATE OF CALIFORNIA
2                                    COUNTY OF LOS ANGELES

3
                                                                                           age of
            I am employed in the County of Los Angeles, State of California. I am over the
4
                                                                                         Los
5    18 and I am a party to the action within. My business address is 1236 Redondo Blvd,

                                                                                 nts described as:
6    Angeles, California 90019. On June 6`~', 2017, I served the foregoing docume
                                                                                   EL
~    PLAINTIFF'S OPPOSITION TO DEFENDANT'S MOTION TO COMP
                                                               OF   NAN    RENE   MOOR     S
S    PRODUCTION OF DOCUMENTS; DECLARATION
                                                                                        in the US
          I served this document on the interested parties in this action by depositing
9
                                                                                       d:
     Mail at Los Angeles, California addressed as follows and the Service list attache
io

11
                                           Peter M. Lively
iz                                 The Law Offices of Peter M. Lively
                                   11268 Washington Blvd. Suite 203
13                                   Culver City, CA 90230-4647
14
                                          Steven A. Schuman
is                                            Lee T. Dicker
                                    Leonard, Dicker &Schreiber LLC
16                                      9340 Olympic Boulevard
1~                                              Suite 400
                                      Beverly Hills, CA 90212-4519
18

19

20

Z1           I declare under penalty of perjury under the laws of the State of California that the
                                                                                         ia.
22    foregoing is true and correct. Executed on June 6`h, 2017, at Los Angeles, Californ
23

24

25

26    Stan Bethel

z~

zs


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Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 42 of 168 Page ID #:187




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     IVAN RENE MOORS                                          ~       lu~~ ~ 6 2~s~
i
     1236 Redondo Blvd                                           ~      _..
     Los Angeles, CA 90019                                    ~ cE.r ~ `~ `' `  ~, __
2
     323 932-9439                                             ~—               h =_—~ __:.::--
3    Ivan Rene Moore
     Plaintiff in Pro se
4

5

6                            UNITED STATES BANKRUPTCY COURT
                             CENTRAL DISTRICT OF CALIFORNIA

s                                               Case No. 2:16-BK-22878-BR
     In re:
9                                               Adv No. 2:16-AP-01543 ~Z
       Kimberly Barbour
10
       Aka Kimberly Martin-Bragg,               Chapter (7)
11
                             Debtor
                                                PLAINTIFF'S OPPOSITION TO
12                                              DEFENDANT'S MOTION TO COMPEL
                                                PRODUCTION OF DOCUMENTS;
13
        [VAN RENE MOORS                         DECLARATION OF IVAN RENE
       PLAINTIFF                                MOORS
14

15                                              FILED CONCURRENTLY WITH
                                                MOTION FOR SANCTIONS PURSUANT
16
       KIMBERLY BARBOUR                         TO FRCP RULE 11 FOR FALSE
i~     aka KIMBERLY MARTIN-BRAGG,               STATEMENTS BY COUNSEL
                         DEFENDANT
18                                              Date: June 20`" , ?017
                                                Time: 2:00 p.m.
19                                              Place: 1668
20                                                     Los Angeles, CA

21                                                  Judge: HON BARRY RUSSELL
2z                                                  Hearing Requested

23

24     TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
25

26
                                                                                   ORIGINAZ
P~►~

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 Case 2:22-cv-06465-MEMF
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                                                                                                         s,
i          Plaintiff first responds by stating that despite the protestations and overwrought demand
                                                                                   be legally entitled to
2 that all ofthe reasonably relevant documents to which the Plaintiffs would
                                                                                 with attachments, it
3 are offered for production. While Defendant's motion is thick and filled
                                                                                 responses in their full
4 does not place the factual content and the subject discovery requests and
5     Context.

6            An examination of the circumstances surrounding this motion demonstrates that
                                                                                       re,
~     Defendant's motion and the relief sought is unwarranted and unnecessary. Therefo
s     Defendant's motion should be denied.

9
                                                                                                  ion and
io           Plaintiff has filed his request for a Protective Order for the taking of his deposit
                                                                                    to resolve anything by
11    has requested the Court order a discovery referee. The parties are unable
                                                                                     conduct and the
i2    conversation, and only communicate by email based on the unprofessional
13    willful lies ofthe defendant and her attorney.
                                                                                         ns under
14          Furthermore, filed concurrently with this objection, is a Motion for Sanctio
                                                                                  er LLP,for the
15    FRCP Rule 11, against Steven A. Schuman and Leonard Dicker and Schreib

16    knowingly and repeatedly false statements made in their pleading.

17
                                                                             Discovery
~s    I. General Discovery Rules Do Not Support the Sweeping and Contentious

i9     Defendants Seek to Compel Here.

zo
                                                                                           Defendants
z~            The scope of allowable discovery under the federal rules is not as broad as
                                                                                        which is relevant
2z     suggest. First, Under Rule 26(b)(1), there are two categories of discovery: that
                                                                                            matter. A
2a     to the claim or defense of a party, and that which is merely relevant to the subject
                                                                                        cause and seek the
z4     party seeking information relevant only to the subject matter must show good

2s     court's approval.
                                                                                          matter" discovery
z6               The advisory committee's notes expressly explain that making "subject
                                                                                 ed to involve the court
z~     dependent on showing good cause and obtaining court approval is "design
                                                                                  ry."
 2s    more actively in regulating the breadth of sweeping or contentious discove


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 Case 2:22-cv-06465-MEMF
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                                                                                                          ious
1             Fed. R. Civ. P. 26(b)(1) advisory committee's note(2000). The sweeping and content
                                                                                                       nts
2      discovery sought here is relevant, at most, to the subject matter of the case, and thus Defenda
                                                                                                   f
3      must show good cause to the Court for imposing the burden of such discovery on Plaintif
                                                                                                some other
4      Discovery cannot be "unreasonably cumulative or duplicative, or . . .obtainable from
5      source . . . ." Fed. R. Civ. P. 26(b)(2)(i).
6
~ I            Plaintiff submits that aside from the patently objectionable requests, many of the
                                                                                          duplicative,
s      requests to which Defendants now seek to compel responses are cumulative, or
                                                                                                 records.
9      request information that they have in their own possession or that is a matter of court

10

11             Defendants seek to compel Plaintiffs to provide information despite
                                                                                              year history
12     valid, reasonable, and applicable objections and despite the fact that there is a five
                                                                                        Plaintiff. First is
13     litigation before this bankruptcy, which resulted in two large victories for the
                                                                                         trial for the
14     the $5,650,000.00 a unanimous jury awarded the Plaintiff after a nineteen day
                                                                                     filed this and
15     Defendant's intentional acts of conversion and trespass to chattel. Defendant
                                                                                         seeking to
16     another bankruptcy, a Chapter 11, two years ago, which was dismissed for cause,
                                                                                    ofPlaintiff's home
1~     avoid and discharge this debt she owes to Plaintiff. The second is the theft
                                                                                     in the California
is     and the wrongful eviction by the Defendant, which the Plaintiff had reversed

19      Court of Appeals, and which is well-known and often cited case

20      Martin-Bragg vs. Moore, 219 Cal. App. 4`'' 367(2013).
                                                                                                         racial
21              The context under which the Defendant has made this motion is one ofthreats and
                                                                                                 to
22 ~    animus against Plaintiff. Plaintiff will not be subjected to this and will ask the Court

23      intervene.

24      //

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i                                  II. STATEMENT OF THE CASE

2           Most importantly, in Defendant's moving papers 1 Exhibit 3, the very first paragraph of

3    the email states that "Please make arrangements to get us all the documents, an appropriate

4    verified response with objection, no later than Monday, May 8, 20l 7." Plaintiff served his

5    responses on May 3ra 2017. Plaintiff did not waive any objection and responded timely.

6

            Despite the strident protestations of Defendant's counsel, the Plaintiff in

s    this matter has not engaged in any willful conduct that would justify the relief

9    requested.   While Plaintiff concedes that discovery in this matter has not

io   progressed as smoothly. This is solely the responsibility of the Defendant in this action. The
                                                                                              discern
11   Defendant has engaged in threats, lies and demeaning conduct. As best as Plaintiff can

12   the following responses are categorized here for the Court.
13   Response to Requests Number 1, 2, 28
14   Categories 'Dischargeability and Prior Litigation Requests
is   Plaintiff has responded to this Request fully and in good faith.
                                                                                                     n.
16   First of all the"dischargeability" of a debt inherently calls for a legal opinion and conclusio
17   That is enough of an objection to this interrogatory and its attendant request for production of
18   documents.
19          Furthermore, all of the information to respond to this request is in the possession ofthe
zo    Defendant. Plaintiff responded as such and stated that Plaintiff sued Defendant in Moore vs.
21    Martin Bragg for two intentional torts, Conversion and Trespass to Chattel.
z2           Since the wrongful eviction ofthe Plaintiff in 2011, the Defendant has been in wrongful
23    possession ofPlaintiff's personal, business, corporate, legal and other documents. Despite
24    Plaintiff winning his nineteen day trial for conversion and trespass to chattel, Moore vs. Martin-
25    Bragg LASC BC 480013, against this very Defendant, and despite a Court Order after the
26    Judgment for the return of Plaintiff's documents since November 8, 2013, the Defendant still has
27    Plaintiff's documents.
28


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i              Plaintiff also met and conferred in detail as to his position including legal authority for

2    his response to these Requests on May 14, 20]7. As with objections to interrogatories under Rule
3    33, objections to Rule 34 requests for production "must be stated with particularity in a timely
                                                                                      , 231 F.R.D.
4    answer, See, Badalamenti v. Dunham's Inc., 498 U.S. 85l (1990); Hall v. Sullivan

5    468, 474(D. Md. 2005). Brenford Environmental System, L.P. v. Pipeliners ofPuerto Rico,
                                                                                                     and is
6       Incorporated, 269 F.R.D. 143, 146(D.P.R. 2010). This information is public information

        readily accessible. Plaintiff also addressed this request in an email dated May 14`x'2017.

s

9                 to Requests Number 3 and 4

io              Category Police Reports/Insurance Reports plaintiff does not have any Police Report.

11              lnsurance reports is a vague term. However Plaintiff did respond fully.

12

13      Response to Requests 8,9,and 10
14              Category Communication between Plaintiff and Home Depot, Cricket Mobile, and

15      AT&T.
                                                                                                             l
16              Since the wrongful eviction ofthe Plaintiff in 20l 2, the Defendant has been in wrongfu

17      possession of Plaintiff's personal, business, corporate, legal and other documents.

18               Despite Plaintiff winning his nineteen day trial for conversion and trespass to chattel,
                                                                                            a Court
19      Moore vs. Martin-Bragg LASC BC 480013, against this very Defendant, and despite
                                                                                          2013, the
zo      Order after the Judgment for the return ofPlaintiff's documents since November 8,
21       Defendant still has Plaintiff's.

22

23              Plaintiff further responded that Plaintiff will fly to Milwaukee, Kentucky and Illinois in

24   ~ ~ the next few weeks to complete his search.

25       Responses to 12-29

26       Category ???

27       No. 12. Plaintiff's bankruptcy schedules are public information.

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~    No. 13. All documents concerning Plaintiff's radio stations This is simply so vague as Plaintiff
z    objected. Additionally any and all documents are either in Wisconsin, Ohio and Kentucky, or as

3    stated above in the Defendant's possession.

4    Since the wrongful eviction ofthe Plaintiff in ?011, the Defendant has been in wrongful
s    possession of Plaintiff's personal, business, corporate, legal and other documents. Despite

6    Plaintiffwinning his nineteen day trial for conversion and trespass to chattel, Moore vs. Martin-

~    Bragg LASC BC 480013, against this very Defendant, and despite a Court Order after the
                                                                                            still has
s    Judgment for the return of Plaintiff's documents since November 8, 2013, the Defendant

9    Plaintiffs.

~o   Responses 17 through 27

~i   Category Communications with various Artists

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i3   possession of Plaintiff's personal, business, corporate, legal and other documents. Despite
                                                                                                Martin-
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ib   Judgment for the return ofPlaintiff s documents since November 8, 2013, the Defendant

1~   Plaintiff's.

~s    Response 29
                                                                                    because
i9    Documents Communication with Ronald Hills and his lawyers' Plaintiff objected

20    Mr. Hills and Plaintiff have been represented by the same attorney and the documents

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z2    unintelligible and is conjunctive.
23

24           Respectfully Submitted

25

26
                          ', 2017
             DATED: June Gil
27                                                                   RENE MOORS
28                                                            Plaintiff and Responding Party


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                                                  CONCLUSION
i
2             Based on the forgoing this motion should be denied. Defendants seek to compel
                                                                                             timely
3      responses to various discovery requests to which Plaintiff raised reasonable and
                                                                                 which Defendants seek
       objections and answered to the best of his ability. The information for
4

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                                                                                         bankruptcies of
       resort to the Court is largely arises from the five to seven years litigation and
6
                                                                              ion   ofthe Defendant based
       defendant, and as such is available to the Defendant or in the possess
                                                                                        ~s legal documents.
s      on this defendants willful violations of a Court order to return this plaintit
                                                                                             in this action.
9              The documents requested are mostly in the possession ofthe defendant
~o                                                                                        nts via Court
       Plaintiff will now have to file a relieffrom stay motions to access the docume
11
                                                                              business documents to
       because this Defendant has now purportedly liven plaintiff's legal and
~2 i
13
       Wells Fargo.

14              DATED: June 6'h 2017

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                              DECLARATION OF IVAN RENE MOORS
i
z
            I, Ivan Rene Moore, declare as follows:
3
            1 am the Plaintiff in this action and I have personal knowledge of the following.
4           1. Plaintiff responded to defendants production of documents Set One on May 3`d 2017.
5 (Exhibit A)
6           2. Plaintiff provided full and complete responses which were not boilerplate answer or
~    objections.
8           3. Most ofthe documents requested are in the possession of this defendant in this action.
9           4. Some of the other document are in other States and plaintiff has not had the time to go

to   to the various states to review and retrieve the documents requested based on the ongoing emails
     with random self-execution dates.
11
            5. This motion is in bad faith and this defendant should be sanctioned for this conduct.
i2
            1 declare under penalty of perjury under the laws ofthe United States that the foregoing is
13
     true and correct.
14

15
             Dated: June 6''', 2017
                                                            AN RENE MOORS
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1                                           PROOF OF SERVICE
                                          STATE OF CALIFORNIA
2                                        COUNTY OF LOS ANGELES

3                                                                                     over the age of
                I am employed in the County of Los Angeles, State of California. I am
4
                                                                                     do Blvd, Los
5        18 and I am a party to the action within. My business address is 1236 Redon
                                                                               documents described as:
6        Angeles, California 90019. On June 6`~', 20]7, I served the foregoing
                                                                                COMPEL
~        PLAINTIFF'S OPPOSITION TO DEFENDANT'S MOTION TO
                                                                               RENE   MOORS
8        PRODUCTION OF DOCUMENTS; DECLARATION OF IVAN
                                                                                 depositing in the US
              I served this document on the interested parties in this action by
9
                                                                                     attached:
         Mail at Los Angeles, California addressed as follows and the Service list
io
11                                              Peter M. Lively
lZ                                     The Law Offices of Peter M. Lively
                                       11268 Washington Blvd. Suite 203
13                                        Culver City, CA 90230-4647
14
                                               Steven A. Schuman
15                                                Lee T. Dicker
                                        Leonard, Dicker &Schreiber LLC
16                                          9340 Olympic Boulevard
1~                                                   Suite 400
                                          Bev erly Hills, CA 90212-4519
18

19

20

                                                                                                     the
Z1               I declare under penalty of perjury under the laws of the State of California that
                                                                                   s, California.
z2        foregoing is true and correct. Executed on June 6`'', 2017, at Los Angele
23

24

25

 26       Stan Bethel

    27

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                                                                                                           QD ~~
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    l       IVAN RENE MOORS
            1236 Redondo Iioule~~ard
   2        L,os Angeles, CA,90019

   3        Telephone:(3101 871-9732

            Plaintiff in Pro Se



   6
                                       UNITED S"( ,A7'F,S BANKR[1TPC'Y COURT
    7
                         C`!-~~v`~'RAL. DISTRICT (~F C'ALIFORNIA —LOS ANGELES DIVISION
    x
    9
            In Re:                                      ) CASE NO. 2:16-BK-??878-BR
  10        Kimberly Martin-Brag.                       ) ADV. NO. 2:]6-AP-O l 543-BR
                                    Debtor.             ~
  ll                                                    1 IVAIV REI~E MOORS RESPONSE TO
                                                          DF.FENDAIYT DEBTOR KIMBERLY
  12                                                      BARBOUR'S FIRST REQUEST FOR
            Ivan Rene Moore.                            ) PRODUCTION OF DOCUMENTS
  13                     Plaintiff/Creditor.            ~
        i                                               )
   l~ i ~ ~~s.                                          )

   15
            Kimberly Barbour, aka Kimberly Martin-Bragg, ~
   16       aka Kimbc;rly Brag, aka Ki n Ntartin ,aka Kim ~
            Barbour , et al.                              ~
   17                        Defendants                  )

   18
      i
   19 ~

  l~ ~

  21

  22

  23

  24
        i
   ~~       PRC)POi!LADING PARTY                UEFENDaNT DEBTOR KIMBERLY BARBOUR

  '_6       RESPnNUING P~~RT1':                PLAINTIFFiCRED1TOR IVAN RENE MOORS

  27        SET NU.:                            ON E

   28



                                                                                          pv~
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   1                   PRELIMINARY'STATEMENT AND OBJECTIONS

   2            SPECIAL OBJECTION TO EACH AND EVERY REQUEST
               M uch ofth~ information responsive to these Requests is not in Plaintiffis possessio~l.

   -t   I'laintitt~has made a reasonable and diligent search and believes they are in the wrongful
                                                                                     Shenandoah
   5    possession of the propounding party, DefendanVDebtor. They were at t11e 6150
                                                                                                    2012 they have
   6   Avenue Property at the time of Plaintiff s wrongful eviction tirom his home. Since
                                                                                                 Order in Moore ~~s.
   7 been in the wrongful possession of Defendant. They are the subject of a Court
                                                                                   learn about others' knowledge . .
       The responding party is "required to inquire and investigate in order to              ordered the   Defendant
   8 Bragg BC 480013. On November 8,?013, .fudge                  Michelle  Rosenbla  tt has
                                                                                                        ~.
        (and] must at least make a reasonable effoirt to obtain the information requested." I,ite,-lanc
                                                                                                     Plaintiff has
   9 I Brag to turn o~~er these documents to Plaintiff; but to date she has not. Since then
                                                                                     *b ?005 U.S.
       I»cr r m►~utc~c~ v.g m[ "r ~. No. I .Q~-~ V-4~4:-G-VDE 20p5 WL 2.4149q atinto'rmat   ~on and has not
  10 mac~c~a reasonable c~i'tigent and exhaustive attempts to retrieve t~is
                                                                                                    obligation but
                   }S 361 l~, * 19 (N.D. Ga. 1~1ar. 31, X005). Responding party has satisfied this
  11 ~~~1'
                                                 and documents or properties to Plaintiff:
  12 Defendant Barbour has not returned
                                                                                                           dth. In
  13            Plaintiffs object to this disco~~ery request on the basis of vagueness and overbrea
                                                                                           discovery.
   1~   addition. Plaintilis submit to that the request is beyond the scope of permissible
                                                                                            ts, the only
   1=~ ~ ~ccaus.~ a ~~arty does not need to be made aware of the contents of its own documen
                                                                                              ed. Because
   16   purpose for the request is to determine what infornlation the Plaintiffs have discover
                                                                                            d to lead to
   17   the second-hand knowledge of the plaintiff is not relevant nor reasonably calculate
                                                                                                         R[1LE
   18   admissible evidence, it is beyond the scope and ubjecti~~es of legitimate discover}. PFD.
                                                                                                      (E.D.Pa.
   19   CIV. PRO. 26(b)(1). See, for example: Smith v. BIC Corp.. 121 F.R.D. 235. ?44-245

   2U    1 988). In addition, Plaintiffs object to this request on the basis that the defendant has equal or
                                                                                           basis    of the Attorney
   21 ' ~,►•e~ter access to the information sought. 1=urthermore, Plaintiffs object on the

   22    Vl~'ork Product Doctrine. insofar as the selection of the documents requested would reveal the

   23   mental impressions, opinions, andior trial strategy of some of Plaintiffs attorneys, to the extent

   24   Plaintiff ~ti~as represented b~~ cotulsel in some actions car parts of some actions.    FED. R[?I,E CIV.

   2S    PRO. ~'6(b)(3).(See, for example: Gould v. Mitsui Mining & Smelthing_ 825 F?d 676, 680 (2nd
                                                                                                  v.
   ~G    Cir. 1987j: Sheltun v. American Motors. 80~ F.2d 1323, 1328-1329 (8th Cir. 1986); Sporck

   ~~ ~ Pell. 759 F?d 312, 316 (3rd Cir. 1985); James Julian v. Raytheon, 93 F.R.D. 138, 144 (D.DeI.

   28    198?); Smith v. Florida Power &Light, 63? So.?d 696 (Fla. App. 3rd Dist. 1993).


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   1       As such, the Defendant/Debtor propounds these requests in had faith.
                                                                                            which stags:
   2      The DelendanUDebtor has failed to cooperate in discovery in ~~iolation of LR 7026

   3
   -~    (c) Failure tc~ Mal:e Disclosures or Cooperate in Discovery.


                                                                    order of the court for good cause
   6 (1) General. Unless e~ccused from complying with this rule by
                                                                          70?6-7037 or FRBP 2004 in
   7 shown, a party must seek to resolve any dispute arising under FRBP

   8     accordance with this rule.

   9
                                                                          g to discovery, counsel for the
   10 (~) Meeting of Counsel Prior to the filing of any motion relatin
                                                                     effort to resolve a discovery dispute. It
   1 1 parties must meet in person or by telephone in a good faith
                                                                         the conference. Unless altered by
   12 is the responsibility of counsel for the moving party to arrange
                                                                             counsel for the opposing party
   13 agreement of the parties or by order of the court for cause shown,
                                                                        service upon counsel of a letter
   1# must meet with counsel for the moving party within 7 days of
                                                                              order to be sought. Therefore
    1 ~ requesting such meeting and specifying the ternls of the discovery
                                                                       complete and straightforward as the
    1G ~ ; and pursuant to LBR 7026-1 Plaintiff responds in good faith
        ~~                                                              extent possible; and Plaintiff has
    17 ~ information reasunably available; and Plaintiff answers to the
                                                                           .    Tv comply with
   18 "made a reasonable and good faith effort tc~ obtain the inforniation
                                                                                     d on the basis of that
    19    further requirements ,whether any responsive materials are being withhel
                                                                                 not have possession.
   20     objection, Plaintiff is trot withholding any document of which he does
                                                                                         ff is currently not
   21             There may be additional facts, evidence and witnesses of which Plainti

   22 ~' awa~•e as his investigation and discovery continues.
                                                                                            and therefore
   23            Additionally, this First Request for Production of Documents is premature
                                                                                   d, Defendant Bragg has
   24     oppressive and burdensome because Defendants have refused to be depose
                                                                                      her possession and
   25     refused to turn over Plaintiffs documents which she has acknov~ledged is in

    26     that they are owned by Mr. Moore.
                                                                                            they are
    27              Plaintiff objects to First Request For Production of Documents, because
                                                                        Plainti    ff is without certain
    28 ~ purposely designed to harass Plaintitf~because Defendant knows


                                                                                                           Oo~F~
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                                                                                      will not submit to
   1 ~ ~ documents. Furthernlore, Defendant propounds now knowing that Defendants
     i,
                                                                                       to prepare for trial.
   2 their Deposition so that Plaintiff can inquire and ask her to bring his documents

   3              Plaintiff objects further and because responses to the First Request for Production of

   4     Documents because the documents are equally available to the propounder. Many of the
                                                                                                          . It is
   5     responses are in the possession of Defendant Barbour and or contained in Court Records
                                                                                                   specificity
   6     unduly burdensome to produce these massive amounts of documents without the
                                                                           Court(1968). 259
    7    needed to respond. Please see Alpine Mutual Water Co. v. Superior
                                                                            Pantzalas v. Superior Court
    8    Ca1.App.2d 45; Ryan v. Superior Court(1960), 186 Cal.App?d 813;
                                                                         v. Superior Court(1980).
    9 (1969),?72 Cal.App.2d 499. X03; and speciticall~~ City of Alhambra

   10       1 10 Cal.App.3d ~ 13, 5~.
                                                                                                   discovery request
   I1              Filially Plaintiff objects to each and every request Plaintiff objects to the
                                                                              of the information sought
    because it sacks to invade the Plaintiffs right to privacy. Further, much
   12
   ~_                                                                                  ve time limitation,
 1
 '    n~~t relevant to the subject matter of the pending action because of the excessi
                                                                                        constitutional right to
   l~    2002, for example. or if so, does not outweigh the prejudice to Plaintiffs

   15       pnvacy.

   16

   17       RESPONSE TO REQUEST lYo. l:

   18 I j          Objection.
                                                                                                in other court
    19              Plaintiff has stated many facts in his complaint which arise from documents

   20       actions against the Debtor/Defendant Barbour.         Additionally this Response is objected to under
                                                                                       request calls for a le~*al
   21       all the objections in Plaintiff's Response to Special lntenogatories. This

   22       conclusion. All documents in response to this Request are in the possession of the
                                                                                            Mutual Water
   23       Debtor/Defendant or are equally- available to the propounder. Please see Alpine
                                                                                           , 186 Cal.App.2d
 '~ ~ ; ('c~. ~~. S~.~peric~r Court (1968),?~9 Cal.App.?d 4~; Ryan v. Superior Court(1960)
    ji
                                                                                          ally- City of
 2S 813; Pantzalas v. Superior Court(1969), X72 Cal.App2d X99. 503; and specific

    26      Alhambra v. Superior Court(l 980). 110 Ca1.App.3d 513, 52.
                                                                                             depose the Defendant
    27       laintitts discot~er~- is continuing and Plaintiff has not had an opportunity to
                                                                                         nts she has.
    28       ecause the Defendant will not appear for her deposition to bring the docume


                                                                                                                     .
                                                                                                                    r,
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   1               these Requests are made in had faith and are premature.
                                                                                           calculated
   2         as such they are harassing and burdensome, and oppressive, and not reasonably

   3 Est this time to lead to other discoverable evidence.

   ~1      ithout waiving said objection and responding in good faith, Plaintiff responds:
                                                                                                 available. See
   5      All documents upon which Plaintiff bases his contention on any claim are equally
                                                                      Special Verdicts and the
   6 the Complaint in Moore vs. Martin Bragg, LASC BC 480013, the
                                                                              3. See also the other
   7 Judgements entered thereon on September 3,?013, and September 8, 20]
                                                                                 both of which this
   8 actions Defendant/Debtor is a lamed part}', and her two bankruptcy filings,
                                                                                 Plaintiffs object to this
   9 ~ 'discrn cr} arises and is in the possession of the propounding party.
                                                                   In        addition, Plaintiffs submit to that
   10 discovery rzquest on the basis of vagueness and overbreadth.
                                                                               a party does not need to he made
   11     the request is beyond the scope of permissible discovery. Because
                                                                           request          is to determine what
   12 aware of the contents of its own documents, the only purpose for the
                                                                          knowle            dge of the plaintiff is
   13 information the Plaintiffs have discovered. Because the second-hand
                                                                                        is beyond the scope and
   1 ~t   not rele~-ant n~~r reasonably calculated to lead to admissible evidence, it
                                                                                  See, for example: Smith v.
   iS     objectives of legitimate discover}. FED. RULE CIV. PRO. 26(b)(1).
                                                                                ry and investigation
   16 BIC Corp., 12l F.R.D. 235, 244-24~ (E.D.Pa. 1988). Plaintiffs discove
                                                                         to fly to Milwaukee Wi,
   17 continues. Notwithstanding the valid objection Plaintiff will have
                                                                             certain document that will ur
   18 Louisville Kentucky and Evansville Ill in the nett few week to obtain
                                                                          me the lawful objections.
   l9 ,could possibly he produced on a later date if the defendant overco
  ,~~ i

   21 .RESPONSE TO REQUEST NO. 2.
                                                                                 f uncertain as to what is
   22      Objection. The Request as worded is unintelligible, vague and Plaintif is

   23      meant by "CONCERNING",and "any of the property".

   2~t     Without waiving said objection Plaintiff responds as follows:
                                                                                                relevan      t to his
   25               Plaintiffs im~esti~ation is ongoing; and Plaintiff may discover other facts
                                                                                          Additionally this
   26      claim. Additionally this Request calls for a legal conclusion in the response.
                                                                                   Mutual Water Co. v.
    27     information is equall}- available to tl~e propounder. Please see Alpine
                                                                                 , 186 CaLApp?d 813;
    28     Superior Court(1968),?~9 Cal.App?d =~5; Ryan v. Superior Court (1960)



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                                                                                                     a
        Pantzalas v. Superior Court(1969). 273 Cal.App.2d 499, 503; and specifically City of Alhambr

   2    v. Superior Court(1980), 1 l0 Ca1.App.3d 513, 52.

   3         iffs discover} is continuing and Plaintiff has not had an opportunity to depose the Defendant

                the Defendant will not appear for her deposition.
                                                                                                 and
    '~ 'llzcrclo r~ these Requests are premature and as such they are harassing and burdensome,
        ~
                                                                            discoverable evidence.
   6 ppressive, and not reasonably calculated this time to lead to other

   7     ithout waiving said objection and responding in good faith, Plaintiff responds:
                                                                          are equally available           See
   8 All documents upon which Plaintiff bases his contention on any claim
                                                                                    and            the
   9 the Complaint in Moore vs. Martin Brag. LASC BC = 8001 i, the Special Verdicts
                                                                                the actions          in which
  10 Judgements entered tl~eron on September 3, ?013, and September 8, 2013 and
                                                                                         the valid objection
   it   Debtor,!Deiendant is a party, including her t~vo bankruptcies. Not~~~ithstanding
                                                                                   le Ill in the next few
  12 Plaintiff will have to fly to Milwaukee Wi, Louisville Kentucky and Evansvil
                                                                                     later date if the
  13 week to obtain certain document that ~~~ill or could possibl}~ be produced on a

   l4 defendant overcome the lawful objections.

   1~    RESPONSE TO REQCIEST No.3:
                                                                                               n to what      is
   1%~ ~ Ohiec;iu>>. "the Request as ~~orded is unintellibible, vague and Plaintiff is uncertai as
                                                                                    ."
   17 ~ ~nrant b~ "Police reports". and "any of the property' and "reports claiming

   18     ithout waiving said objection Plaintiff responds as follows:
                                                                                              ?O l ?.
   19    efendant/Debtor is in wrongful possessiim of Plaintiffs documents and has been since
                                                                                                     claim.
   20    laintiffs investigation is ongoing and Plaintiff ma.' discover other fiacts relevant to his
                                                                                             this
   21    dditionally this Request calls for a legal conclusion in the response. Additionally
      ~;
   ~~ ~ i:~fo►•ma tiun is equally available to the propounder. Please see Alpine Mutual Water Co. v.
      ,:
                                                                                         Cal.App.?d 813:
   23     uperior Court (1968), 2S9 CaLApp?d 4~; Ryan v. Superior Court (1960), 186
                                                                                                        a ~~.
   24    antzalas v. Superior Court (1969), 27? Cal.,app.~d 499, 503; and specitically City of Alhanibr

   25    uperior Court (1980), l 10 Cal.App.3d ~ 13. ~2.
                                                                                                           nt
   26    laintiff s discovery is continuing and Plaintiff has not had an opportunity to depose the Defenda
                                                                                                         of
   27     cause the Defendant will not appear for her deposition, nor has she delivered to Plaintiff any

   2~ ~ ~~i~ dc~cumet~ts.



                                                                                                               oos
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    1     Therefore these Requests are premature and as such they are harassing and burdensome, and
                                                                                                e.
    2 oppressive, and not reasonably calculated this time to lead to other discoverable evidenc

    3     Notwithstanding the valid objection Plaintiff will have to fly to I~lilwaukee Wi, Louisville

          Kentucky and Evansville I11 in the next fe~~• week to obtain certain document that will or could
                                                                                                 ns.
    5         possibly be produced on a later date if the defendant overcome the lawful objectio

    6

    7                  SE TO REQUEST No. 4:
                                                                                     f is uncertain as to what is
    8         Objection. The Request as worded is unintelligible, vague and Plaintif
                                                                                           g."
    9         meant by "Insurance reports", and "any of the property" and "reports claimin

   ]0 ; V4'ithout ~vai~~in~ said objection Plaintiff responds as follows:
                                                                                                    been since
   11 i                 Defen~ianv'Debtor is in wrongful possession of Plaintiffs documents and has

   12         X012.
                                                                                                     relevant to his
   l3                   Plaintiffs investigation is ongoing and Plaintiff may discover other facts
                                                                                     e. Additionally this
   14 ' claim. Additionally this Request calls for a legal conclusion in the respons
                                                                                                 Co. v.
   15         information is equally available to the propounder. Please see Alpine Mutual Water
                                                                                        Cal.App.2d 813;
    1G        Superior Court(1968),?~9 Cal.App.2d 45; Ryan v. Superior Court(1960}, 186
                                                                                             City of Alhambra
    17         Pantzalas v. Superior Court (1969), 272 Cal.App.2d 499, 503; and specifically

    18         v. Superior Court(l 980), 110 Ca1.App.3d 513, 52.
                                                                                                       the Defendant
    19         laintiffs discovery is continuing and Plaintiff has not had an opportunity to depose

   20          ecause the Defendant will not appear for her deposition.
                                                                                                    and
    ~~         h~refore these Requests are premature and as such they are harassing and burdensome,

    ~? : ►~~prc•ssi~ e. and not reasonably calculated this time to lead to other discoverable evidence.
          i
                                                                                                         e.
    23          11 documents upon which Plaintiff bases his contention on any claim are equally availabl
                                                                                                     the Defendant
    24        Plaintiff's discovery is continuing and Plaintiff has not had an opportunity to depose
                                                                                                           n
    25         because the Defendant will not appear for her deposition Notwithstanding the valid objectio
                                                                                                                   few
    26         Plaintiff will have to fly to Nlilw~at~kee ~'i. Louisville Kentucky and Eva~~sville Ill in the next
                                                                                                  date if the
    27         week to obtain certain document that will or could possibly be produced on a later
          .i
    2S         dcicndant overcome the la~~-ful objections.




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         [2ESPONSE TO REQUEST No. 5:

   2     Objection.

   3     This information is equally available to the propounder. Please see Alpine Mutual Water Co. ~~.

    4    Superior Court(1968), 259 CaLApp?d 45; Ryan v. Superior Court(1960), 186 Ca1.App?d 813;
                                                                                                      a
   i      fant~alas v. Superior Court(1969), 272 Ca1.App.2d 499, 503; and specifically City of Alhambr

   6      v. Superior Court(1980), 1 l U CaLApp.3d 5 l 3, 52.
                                                                                  to depose the Defendant
    7'laintiff"s discovery is continuing and Plaintiff has not had an opportunity

    8               the Defendant will not appear for her deposition.
                                                                                         ome, and
    9 j Therefore these Requests are premature and as such they are harassing and burdens
                                                                                           evidence.
   10    oppressive, and not reasonably calculated this time to lead to other discoverable
                                                                                        Wi, Louisville
   1 1 ,.i Not~vithstanding the valid objection Plaintiff will have to fly to Milwaukee
                                                                                        t that will or could
   12 Kentucky and Evansville Ill in the next few- week to obtain certain documen
                                                                                         ns.
   13 possibly be produced on a later date if the defendant overcome the lawful objectio

   14         ESPONSE TO REQLIEST No.6:

   15         bjection.
                                                                                           Water Cv. v.
   16 !This inti~rmation is equally a~~ailable to the propounder. Please see Alpine Mutual
                                                                                 Ca1.App.2d 813;
   1? superior Court (1968).?59 Ca1.App.2d 45; Ryan v. Superior Court(1960). 186
                                                                                                 Alhambra v.
   18         antzalas v. Superior Court(1969). 272 CaLApp.2d 499, 503; and specifically City of

   19         uperior Court(1 A80), 110 Ca1.App.~d 513. 52.
                                                                                                               nt
   20         laintiffs discovery is continuing and Plaintiff has not had an opportunity to depose the Defenda

   21         ecause the Defendant will not appear for her deposition.

   ~,
    ' Therefore these Requests are made in bad faith, premature and as such they are harassing and

   23         urdensome, and oppressive, and not reasonably calculated this time to lead to other discoverable

   24         vidence. The transcripts costs are around $? 1,6 6.00 the defendant will have to send a cashier"s

   25         heck to obtain the requested transcript.

   26

   27
         I,
    ~a


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    1 1             NSE TO REQUEST No. 7:

    2     Objection. Irrelevant. This request is value and unintelligible in its present form.

    3     Plaintiff does not know what is meant by "DOCUMENTS CONCERNING

    4     COMMtJN[CATIONS". It lacks particularity as required by the Federal Rules of Civil

    5     Procedure and it is unduly burdensome. It also violated Plaintiffs right to privacy.

    6     Tlie reyu~st also is objectionable as it calls for trade secrets.

    7     Without waiving said objection Plaintiff responds:

    S     Plaintiff has made a reasonable and diligent search and does not have the documents nor the

    9     information. These documents are or may be in the possession of the Defendant/Debtor.

   10          SPONSE TO REQUEST No. 8:

   I1     Objection. This request is vague and unintelligible in its present form.

   12 ~, Plaintill~does not kno«~ what is meant by "DOCUMENTS CONCERNING
                                                                                                  lacks
   13        COMMUNICATIONS". The request also is objectionable as it calls for trade secrets. It
                                                                                                     e. It
   14 ~ particularity as required by the Federal Rules of Civil Procedure and it is unduly burdensom

   15 ~ also violated Plaintiffs right to privacy.

    16       The request also is objectionable as it calls for trade secrets.

    17 ; Vl'ithout waiving said objection Plaintiff responds:
         i
    1K ; j Plaintiff has made a reasonable and diligent search and does not have the documents nor the

    19 information. These documents are or may be in the possession of the Defendant/Debtor.

   20        Notwithstanding the valid objection Plaintiff will have to fly to Milwaukee Wi, Louisville

    21       Kentucky a~~d Evansville I11 in the ne~ct few week to obtain certain document that will or could

    22       possibly he produced on a later date if the defendant overcome the lawful objections.

    23 i ~

    2~        ESPONSE TO REQUEST No. 9:

    2S       Objection. This request is vague and unintelligible in its present form.

    26       Plaintiff does not know what is meant by"DOC[JMENTS CONCERNING

    27       COMMUNICATIONS". It lacks particularity as required by the Federal Rules of Civil Procedure

    28       and it is unduly burdensome. It also violated Plaintiffs right to privacy.



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      ',
    1 ~ ~ The request also is objectionable as it cells for trade secrets.

    2    Vv'ithout wai~•ing said objection Plaintiff responds:

    3    Plaintiff has made a reasonable and diligent search and does not have the documents nor the

         information. These documents are or may be in the possession of the Defendant/Debtor.

    5    Notwithstanding the valid objection Plaintiff will have to fly to Milwaukee Wi, Louisville

    6    Kentt2ck~~ and Evansville Ill in the next few week to obtain certain document that will or could

    7    ~ussibly be produced on a later date if the defendant overcome the lawful objections.

    8

    9    RESPONSE TO REQUEST No. 10:

   10    Objection. This request is vague and unintelligible in its present form.

   11    Plaintiff does not I:now what is meant by "DOCUMENTS CONCERNING

   1? ;'COMMtJNICATIONS'~. "' It lacks particularity as required by the Federal Rules of Civil

   13 ~ j Procedure and it is unduly burdensome. [t also violated Plaintiffi's right to privacy.

   14 The request also is objectionable as it calls for trade secrets. Without waiving said objection

   15 Plaintiff responds: Plaintiff has made a reasonable and diligent search and does not have the
   l6 documents nor the information. These documents are or may be in the possession of the

   17 I~, Defendant/Debtur. Notwithstanding the valid objection Plaintiff will have to fly to Milwaukee Vdi,

    18 I.~uisville Kentucky and Evansville Ill in the next few week to obtain certain document that will or

    19 could possibly be produced nn a later date if the defendant overcome the lawful objections.

   20    RESPONSE TO REQUEST No. 11:

   21    Objection. This request is vague and unintelligible in its present form.

   22    Plaintiff does not know what is meant by "DOCUMENTS CONCERNING" despite the definition

   23 '~ dump. Further, the Defendant~Debtor has Plaintiffs documents wrongfully, and has failed to

   ~~ ~ i n:turn them dc;spite court orders to do so. See Orders of Judge Michelle Rosenblatt in QC

   25    480013. Without waiving said objection Plaintiff responds.
   26     Plaintiff may have documents in Milwaukee but has not been able to obtain them as of the

    27 making ofthese responses. Notwithstanding the valid objection Plaintiff will have to fly to

    28    Milwaukee Wi, Louisville Kentucky and Evans~~ille Ill in the next few week to obtain certain



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    1 'document that will or could possibly be produced on a later date ifthe defendant overcome the

   2 I lawful objections.

   3 ~ZESPONSE TO REQUEST No. 12:
          Objection. Vague and unintelligible. Plaintiff Ivan Rene Moore has not had four bankrutpcies.

   5 j As such, Plaintiff objects to the form of question because it states a hypothetical or an

   6      impossibility.

    7 I Further objection is made on the grounds that this information is equally available to the

    8     propounder.      Please see A(pine Mutual Water Co. v. Superior Court (l 968), 259 Cal.App.2d 45:
                                                                                                27?
    9     Ryan v'. Superior Court(1960), ]86 Cal.App.2d 813; Pantzalas v. Superior Court(1969),

   10     Cal.App.2d 499, 503; and specifically Cit~r of Alhambra v. Superior Court(1980), 110

   ll     Ca1.App.3d 513, 52. The propounder has access to PACER. Plaintiffs discovery is continuing
                                                                                                    not
   12 j and Plaintiff has not had an opportunity to depose the Defendant because the Defendant will
                                                                                                   as such
   13     appear for her deposition. Therefore these Requests are made in had faith, premature and

   1 ~1   they are harassing and burdensome, and oppressive, and not reasonably calculated this time to lead

   15     to other discoverable evidence.

   16     RESPONSE TO REQUEST No. 13:

   17     Objection. This request is vague and unintelligible in its present form.
   IR ,
        Plaintil7~do~s not kno~~~ what is meant by "DOCUMENTS CONCERNING" despite the
   ~~ .
        deiinitioil. Objection as to trade secrets. Objections are also made as to trade secrets. and
   2d
        attorney client privilege. Further, the Defendant/Debtor has Plaintiffs documents wrongfully. and
   21
        has failed to return them despite court orders to do so. See Orders of Judge Michelle Rosenblatt
   22
                                                                                n is equally available to the
   23 ~ in BC X18001 ~. Objection is also made on the grounds that informatio

         ~ propc~~uider. Please see .Alpine Mutual Water Co. v. Superior Court (1968),?59 Cal.npp.?d 45;
   ~~ ~I
      i
   25 '~ Ryan v. Superior Court(1960). 186 Cal.App.2d 813: Pantzalas v. Superior Court(l 969), 272

   26 I
           Ca1.App.2d 499, SU3: and specifically City of Alhambra v. Superior Court(1980). 1 ]0
   27 I

   28 I



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           Cal.App.3d 513, 5?. Plaintiffs discovery is continuing and Plaintiff has not had an opportunity to

    ~ ~~ depose the Defendant because the Defendant will not appear for her deposition.
    z ~I
           Therefore these Requests are premature and as such they are harassing and burdensome, and
    d
           oppressive, and not reasonably calculated this time to lead to other discoverable evidence.
    5
           Notwithstanding the valid Lawful objections Plaintiff will have to fly to Milwaukee Wi, Louisville
    6
           Kentucky and Cvansville Ill in the next tie~v week to obtain certain document that will or could
    7
           possibly be produced nn a later date if the defendant overcome the lawful objections.
    K
                    SE TO REQUEST No. 14:
    9

   10      Objection. This request is vague and unintelligible in its present forn~. Furthermore this request

   it      as stated is factually incorrect and is therefore improper and in•elevant_

   12      Plaintiff does not know w-11at is meant b~~ "DOCUMENTS reflecting PLAINTIFF'S ALLEGED

          ': :\tiSETS OF $~O,000U. as claimed in his bankruptcy petition."' Plaintiff's bankrutptcy petition is
   i -t
                                                                                  d.
          l i Public information and equally available as to what Plaintitt~claime
   15
           Further, the Defendant/Debtor has Plaintiffs documents wrongfully, and has failed to return them
   16
           despite court orders to do so. See Orders of Judge Michelle Rosenblatt in BC 480013.
   17

   18      "this information is equally available to the propounder. Please see Alpine Mutual Water Co. v.

   19       Superior Cow-t(1968). 2~9 CaLApp_2d ~5; Ryan v. Superior Court(1960), 186 Ca1.App?d 81 ~;
   2U       Pantzalas v. Superior Court(1969), 27? Ca1.App.2d X199. 503; and specifically City of Alhambra
   21
            v. Superior Court (1980), 110 Ca1.App.3d 513. 52.
   22
            Plaintiffs discovery is continuing and Plaintiff has not had an opportunity to depose the
   23
            Defendant because the Defendant will not appear for her deposition. Therefore these Requests
   2.1
   ,~ ~i are made in bad faith, premature and as such they are harassing and burdensome, and oppressive,
      ;~
   26 and nol reasonably calculated this time to lead to other discoverable evidence. Notwithstanding

   27       the valid Lawful objections Plaintiff will have to fly to Milwaukee Wi, Louisville Kentucky and
    28



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    l    Evansville Ill in the next fe~v week to obtain certain document that will or could possibly be

    2    produced on a later date if the defendant overcome the law~fui objections.
    3
    ,~   RESPONSF. TO REQUEST No. l5:

    5    Objection. This request is vague and unintelligible in its present form.

   ~ Plaintiff does not know what is meant by "held'" by Plaintiff. Furthermore Plaintiff objects on
   '

    ~     rounds of rivaey. See Pco le i. Srr ~crior ~'ourt Kardon 1973 35 Cal. A          3d 710 ;and
    8
      ; ~ r ich .•. Superior Court (2008). 16~ Ca1.App.4th loll?, 1= 27 .
    y ;.
          Further, the Deli;ndant/Debtor has Plaintiffs documents wrongfully, and has failed to return them
   10
          despite court orders to do so. See Orders of Judge Michelle Rosenblatt in BC 480013.
   11
                                                                       an opportunity to depose the
   12 Plaintiffs discovery is continuing and Plaintiff has not had

   13    Defendant because the Defendant will not appear for her deposition.

   1 `~ ~ i hereforc these Requests are made in had faith, premature and as such they are harassing and
   1~     urdensome, and oppressive, and not reasonably calculated this time to lead to other discoverable
   16     vidence. Notwithstanding the valid Lawful objections Plaintiff will have to fly to Milwaukee Vvi,

   17     ouisville Kentucky and Evansville 111 in the nett few ~~eek to obtain certain document that will or

    18    ould possibly be produced on a later date if the defendant overcome the lawful objections.

    19    ESPONSE TO REQUEST No. 16
   2`! (_abjection. This ~•eyuest is vague and unintelligible in its present form.

   2~ ~ I Plaintiff does not know what is meant by" CONCERNING". Further. the DefendanUDebtor has
   22     Plaintiffs documents wrongfully, and has failed to return them despite court orders to do so. See
   23     Orders of Judge Michelle Rosenblatt in BC 480013.
   2~     Plaintiff5 disco~~en~ is continuing and Plaintiff has nut had an opportunity to depose the
   2~
          Defendant because the Defendant will not appear for her deposition.
 '6
               lore these Requests are made in had faith, premature and as such they are harassing and
    27
                       a~ld oppressive, and not reasonably calculated this timr; to lead to other discoverable
    28



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   1     vidence. Furthermore Plaintifi~objects nn grounds of privacy. See PeuJ~le i~. Superior• C`oin•t

   2     Kardon)(1973), 35 Cal. App.3d 710: and Alch v. Superior Court(?008), 165 CaLApp.4th 1412,
   3 ~ 1X27. Furthermore Plaintiff objects to the time as so old as to be irrelevant. Notwithstanding the

   -1 'I ~ ~alid la~~ful objecticros Plaintiff will have to fly to Milwaukee Wi, Louisville Kentucky and

   5 'vansville Ill in the ne~ct fe~~- week to obtain certain document that will or could possibly be

   6              on a later date if the defendant overcome the lawtul objections.

   7 RESPONSE TO REQUEST No. 17

   8     Objection. Irrelevant. FRE 401, California Evidence Code §210 This request is vague and

   9     unintelligible in its present form. Plaintiff does not l:~iow what is meant by" CONCF,RNING".

   lU    Further, the DefendanUDebtor has Plaintiffs documents wrongfully, and has failed to return them

   it    despite court orders to do so. See Orders of Judge Michelle Rosenblatt in BC 480013.

   12    Plaintiffs discovery is continuing and Plaintiff has not had an opportunity to depose the

   13    Defendant because the Defendant will not appear for her deposition.
   1-t
              fore these Requests are made in bad faith, premature and as such they are harassing and
   1~
         hurdcnsome. and oppressive, and not reasonably calculated this time to lead to other discoverable
   1G
          vidence. Furthermore Plaintiff objects on grounds of privac~~. See Pevple v. Superior Court
   17
         Kardon)(1973), 35 Cal. App.,d 710 : and Alch v. Superior Court(?008). 165 Ca1.App.4th 1412,
   18
          4_'7 . Additionally this evidence may involve trade secrets. Without waiving said objections,
   19
          laintiff responds as follows: Plaintiff objects to these documents as irrelevant as to age of the
   2U
           ~cuments_ Notwithstanding the valid lawful objections Plaintiff will have to fly to Milwaukee Wi,
   ~1
           ~uisvillc Kentucky and Evansville Ill in the next few week to obtain certain document that will or
   22
           uld possibly he produced on a later date if the defendant overcome the lawful
   23
           j~ ections.RESPONSF. TO REQUEST No. 18
   2~
          Objection. irrele~~ant. FRF X01, Califurnia Evidence Code X210 This request is vague and
   25
         ~ unintelligible in its present form. Plaintitif does not know ~~vhat is meant by" CONCERNING".

   2~ j ; I~urtl~ec. the Defendant/Debtor has Plaintiffs documents wrongfully, and has failed to return them
   '
   27 ! ~
        ~ despite court orders to do so. See Orders of Judge Michelle Rosenblatt in BC 480013.
   28




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   1      Plaintiffs discovery is continuing and Plaintiff has not had an opportunity to depose the

   2      Defendant because the Defendant ~~ill not appear for her deposition.
   3
          Therefore these Requests are made in bad faith, premature and as such they are harassing and
   4
          burdensome, and oppressive, and nut reasonably calculated this time to lead to other discoverable
                                                                                                  Cvur!
          evidence. Furthermore Plaintiff objects on grounds of privacy. See People v. SetJ~erior
   6
                                                                                                 1412,
          (Kardon)(1973), 35 Cal. App.3d 710 ;and Alch v. Superior Court(2008), 165 Cal.App.4t1~
   7
                                                                                            objections,
   8       1427. Additionally this evidence may involve trade secrets. Without waiving said
                                                                                                     age of the
   9      Plaintift~ responds as follows: Plaintiff objects to these documents as irrelevant as to

   10 ' documents.

   11
          RESPONSE TO REQUEST No. 19
   12 '                                                                                   vague and
           Objection. Irrelevant. FRE 401, California Evidence Code ti210 This request is
   13                                                                                       CUNCERN[NG".
           unintelligible in its present forn1. Plaintiff does not know what is meant by"
   1 ~l                                                                                     to return them
           Further, the DefendanUDebtor has Plaintiffs documents wrongfully, and has failed
   15
           despite court orders to do so. See Orders of Judge Michelle Rosenblatt in BC 480013.
   16                                                                                             the
           Plaintiff s discovery is continuing and Plaintiff has not had an opportunity to depose
   17
           Defendant because the Defendant will not appear for her deposition.
   18
                                                                                                    and
   19      Therefore these Requests are made in bad faith, premature and as such they are harassing
                                                                                                                  ble
   20      burdensome, and oppressive, and not reasonably calculated this time to lead to other discovera

   21      evidence. Furtherniore Plaintiff objects on grounds of privacy. See People v. Superior C'our~
   22 (Itardon)(1973), 35 Cal. App.3d 710 ;and Alch v. Superior Court(?008), 165 Ca1.App.4th 1412,

   23
            1427. Additionally this evidence may im~olve trade secrets. Without waiving said objections,
   2~1
                                                                                                             the
           Plaintiff responds as follows: Plaintiff objects to these documents as irrelevant as to age of
   25
            documents.
   26
    ~~

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    1           RESPONSE TO REQUEST 110. 20

    2           Objection. Irrele~~ant. FRE 401, California Evidence Code~~'210 This request is vague and
    i               unintelligible in its present form. Plaintiff does not know what is meant by" CONCERNING".
    -t              Further, the Defendant/Debtor has Plaintiff's documents wrongfully, and has failed to return them
    5           despite court orders to do su. See Orders of Judge Michelle Rosenblatt in BC 480013.
    6               Plaintiffs discovery is continuing and Plaintiff has not had an opportunity to depose the
    7
                Defendant because the Defendant will not appear for her deposition. Therefore these Requests
    8
                    are made in bad faith, premature and as such the}' are harassing and burdensome, and oppressi~~e,
    9
                    and not reasonabl}~ calculated this time to lead to other discoverable evidence. Furthermore
   10
   ~ ~ j Plaintiff objects on grounds of privacy. See Pe~nl~le i~. Suj~e~-inr Cvcrr~(Kardon)(1973), 35 Cal.

   12               App.3d 710 ;and Alch v. Superior Court(2008), l6~ Cal_App.4th 1412, 1427. Additionally this

   13               evidence may involve trade secrets. Without ~~vaiving said objections, Plaintiff responds as

   1 ~t             follows: Plaintiff objects to these documents as irrelevant as to age of the documents.
   1.5
                    RESPONSE TO REQUEST No. 21
   16
                    Objection. lrcelevant. FRE 401, California Evidence Code X210 This request is vague and
   17
                    unintelligible in its present form. Plaintiff does not know what is meant by" CONCERNING".
   18
                    Further, the DefendanUDebtor has Plaintiffs documents wrongfully, and has failed to return them
   19
                    despite court orders to do so. See Orders of Judge Michelle Rosenblatt in BC 480U]3.
   20
                    Plaintiffs discovery is continuing and Plaintiff has not had an opportunity to depose tl~e
   21
   ~~ I I Defendant because the Defendant will not appear for her deposition.
                i
   `~ I ~ 1 herefore these Requests are made in bad faith. premature and as such they are harassing and

   2~t              burdensome, and oppressive. and not reasonably calculated this time to lead to other discoverable

   25               evidence. Furthermore Plaintiff objects on grounds of privacy. See Poop/e ►~. .Sz~~erior Court
   26               (Kardon) (1973).35 Cal. App.3d 710 : and Alch v. Superior Court (?008), 165 Cal.App.4th 1412.
   27
                     14?7 . Additionally this evidencz ma}' involve trade secrets. Vdithout waiving said objections.
   28



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    1     Plaintiff responds as follows: Plaintiff objects to these documents as irrelevant as to age of the

    2     documents.
   3
          RESPONSE TO REQC►EST No. 22
   4
          Objection. Irrelevant. FRE 401, California Evidence Code X210 This request is vague and
   5
          unintelligible in its present form. Plaintiff does not know what is meant by " CONCERNING" .
    h ,
          Further, the Defendant/Debtor has Ylaintift s documents wrongfully, and has failed to return them
    7
          despite court orders to do so. See Orders of Judge Michelle Rosenblatt in BC 480013.
   8
          Plaintiff s discover} is continuing and Plaintiff has not had an opportunity to depose the
   9
          Defendant because the Defendant will not appear for her deposition.             Therefore these Requests
   10
          are made in bad faith, premature and as such they are harassing and burdensome, and oppressive,
   11

   12     and not reasonably calculated this time to lead to other discoverable evidence. Furthermore

   l3     Plaintiff objects nn grounds of privacy. See People ~~. Sarperior Court (Kardon) (1973), 35 Cal.

   1-t    App.3d 710 ;and Alch v. Superior Court (?008), 165 CaLApp.4th 1412, 14'7 . Additionally this
   15
          evidence may im~olve trade secrets. Without waiving said objections, Plaintiff responds as
   16
          follows: Plaintiff objects to these documents as irrelevant as to age of the documents.
   17 ,
          RESPUNSF, TO REQUEST No. 23
   18

   19     Objection. Irrelevant. FRE 401, California Evidence Code §210 This request is vague and

   20     unintelligible in its present forn~. Plaintiff does not know what is meant by " CONCERNING " .

   21     Further, the Defendant/Debtor has Plaintiff s documents wrongfully, and has failed to return them

   22     despite court orders to do so. See Orders of Judge Michelle Rosenblatt in BC X80013.

   23     Plaintiffs discovery is continuing and Plaintiff has not had an opportunity to depose the

   2-t    Defendant because the Defendant will not appear for her deposition. Therefore these Requests are

   2~     made in had faith, premature and as such they are harassing and burdensome, and oppressive, and

   26     not reasonably calculated this time to lead to other discoverable evidence. Furthermore Plaintiff
   27
          objects on grounds of privacy. See Pc>~,plc~ i'.   SU]JLY(O/' C'orrrt   (Kardon) (1973), 35 Cal. App.3d 710
   28



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   1 i ~ :and Alch ~.Superior Court (?008). 16~ Ca1.App.4th 1412. 1427. Additionally this evidence
     i
   ~ ~ i may in~ol~e trade secrets. Without waiving said objections, Plaintiff responds as follows:

        Plaintiff objects to these documents as irrelevant as to age of the documents.

        RESPONSE TO REQUEST No. 2=t
   5
        Objection. Irrelevant. FRE 401. California Evidence Code X210 This request is vague and
   6
        unintelligibly in its present form. Plaintiff dues not know what is meant by" CONCERNING".
   7
        Further. the Defendant/Debtor has Plaintiffs documents wrongfully, and has failed to return them
   8
        despite court orders to do so. See Orders of Judge Michelle Rosenblatt in BC 480013.
   9
                                                                                              the
        Plaintiffs discovery is continuing and Plaintiff has not had an opportunity to depose
  10
        Defendant because the Defendant will not appear for her deposition.
  11
                                                                                                   and
   ~ ~ ~'Therefore these Rc:yuests are made in bad faith. premature and as such they are harassing
                                                                                                       ble
 1 ' i hur~iensomc, and oppressive, and not reasonably calculated this time to lead to other discovera
 '
                                                                                              C'virrt
   ~~   evidence. Furthermore Plaintiff objects on grounds of privacy. See People v. Superior
   15                                                                                       th 1412,
        (Kardon)(1973), 35 Cal. App.3d 710 ;and Alch v. Superior Couri(?008), 165 Cal.App.4
   16                                                                                               ,
        1427. Additionally this evidence may im~olve trade secrets. Without waiving said objections
   17
                                                                                                         of the
   ~ x ; , Plaintif~f~ responds as follows: Plaintiff objects to these documents as irrelevant as to age

          documents.
   19 I ~

   20    RESPONSE TO REQUEST No. 25

   21    Objection. Irrelevant. FRE 40 L California Evidence Code 521 U This request is vague and
   22    unintelligible in its present form. Plaintiff does not know ~~hat is meant h}~" CONCERNING"
   ~~
         Further, the Defendant/Debtor has Plaintiffs documents wrongfully, and has failed to return them

   -~
   '     Jcs~-~itc c~~iu-t ~~rders to do so. See Orders of.ludge Michelle Rosenblatt in BC 480013.
   ?; Plaintiffs discovery is continuing and Plaintiff has not had an opportunity to depose the

   26    Defendant because the Defendant will not appear for her deposition.
   27

   28



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    1 ; Therefore these Requests are made in bad faith, premature and as st►ch they are harassing and
    2     burden~cnne, and oppressive, and not reasonably calculated this time to lead to other discoverable
   3
          e~~idence.
    4
                  Furthermore Plaintiff objects on grounds of privacy. See People >>. Superior C'our~
    5
          (Kardon) (1973), 35 Cal. App.3d 710 ;and Alch v. Superior Court (?008), 165 Cal.App.4th 141?,
    6
          1 27 . Additionally this evidence may involve trade secrets. Without waiving said objections.
    7

    8     }'lail~tili~res~~onds as fc~llow~s: Plaintiff objects to these documents as irrelevant as to age of the

    9     documents.

   10     RESPONSE TO REQUEST No. 26
   11
          Objection. Irrelevant. FRE 401, California Evidence Code 52]0 This request is value and
   12
             unintelligible in its present form. Plaintiff does not know what is meant by " CONCERNING" .
         ~~
         • ~ e~~n ~ti~itl~ definitions included. Further, the Defendant/Debtor has Plaintiff s documents
   1~t
          ~r~rongfully, and has failed to return them despite court orders to do so. See Orders of Judge
   15
          Michelle Rosenblatt in BC 480013. Plaintiff s discovery is continuing and Plaintiff has not had an
   l6
          opportunity to depose the Defendant because the Defendant will not appear for her deposition.
   17
          Therefore these Requests are made in bad faith, premature and as such they are harassing and
   1R
          hurd~ns~~me, and oppressive, and not reasonably calculated this time to lead to other discoverable
   19 ; ;
   20 i ' evidence. Furtherniore Plaintiff objects on grounds of privacy. See People v. Superior C'narrt

   21     (Kardon) (1973), 35 Cal. App.3d 710 ;and Alch v. Superior Court (?008). 165 Cal.App.4th 1412.

   22      1427. Additionally this e~~idence may in~~ol~~e trade secrets. Without waiving said objections,

   2-~     Plaintiff responds as follows: Plaintiff objects to these documents as irrelevant as to age of the

   2~ ~ ~ documents_
   2~
           RESPONSE TO REQUEST Nn. 27
   26
           Objection. Irrelevant. FRE 401. California E~~idence Code 5? 10 This request is vague and
   27
           unintelligible in its present form. Plaintiff does not know what is meant by " CONCERNING" _
    28



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   1     Further, tl~e DefendanUDebtor 11as Plaintiffs documents wrongfully, and has failed to return them

   2     ~1~spite court urders to do so. See Orders of Judge Michelle Rosenblatt in BC 480013.

   3 j ~ I'laintit't,s discovery is continuing and Plaintiff has not had an opportunity to depose the

   `~    Defendant because the Defendant will not appear for her deposition. Therefore these Requests

   5     are made in bad faith, premature and as such they are harassing and burdensome, and oppressive,
   6
         and not reasonably calculated this time to lead to other discoverable evidence. Furthernlore
   7
         Plaintiff objects nn grounds of privacy. See Pc~o~~le v. .Superivr C'ourl(Kardon)(1973), 35 Cal.
   R .
    y    :1pp.3d 710 ;and Alch v. Superior Courl f2008). 165 Ca1.App.4th 1412. 1427. Additionally this

   10    evidence may involve trade secrets. W'ith~ut waiving said objections, Plaintiff responds as

   11    follows: Plaintiff objects to these documents as irrelevant as to age of the documents.

   12

   1; ,.~ ~tESPONSE TO REQUEST NO. 2K.

   `~ ; ; Ubjerlion. The Re~~u~st as ~~orded is unintelligible, ~~ague and Plaintiff is uncertain as to what is
   15
          meant by "CONCF.RN[NG",and "any of the property".
   16
          Without waiving said objection Plaintiff responds as follows:
   17
                   Plaintiffs investigation is ongoing and Plaintiff may discover other facts relevant to his
   18
         claim. Additionally this Request calls for a legal conclusion in the response. Additionally this
   19 ~
        information is equall}~ available to the propounder. Please see Alpine Mutual Water Co. v.
   2U
        Superior Court (1968), 2~9 Ca1.App.2d 45; Ryan v. Superior Court(1960), 186 Ca1.App.2d 813;
   21
         Pantzalas v. Superior Court(1969),?72 Cal.App.2d 499, 503; and specifically City of Alhambra
   22
         v. Superior Court(1980). 110 Ca1.App.3d ~ 13, 52.
   23
          laintiffs discovery- is continuing and Plaintiff has not had an opportunity to depose the Defendant
   2~
          ecause the Defendant will not appear for her deposition to determine her wrongful possession of
  ,~
         il~~se dt~cwttents.
   26

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  C 2:22-cv-06465-MEMF
       2:16-ap-01543-BR Document 8-1 06/06/17
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    1             fore these Requests are made in bad faith, premature and as such they are harassing and

   2                     and oppressive, and not reasonably calculated this time to lead to other discoverable

   3           idence. Without waiving said objection and responding in good faith, Plaintiff responds:

   4          I1 documents upon which Plaintiff bases his contention on any claim are equally available. See

   5            Complaint in Moore vs. Martin Brag, LASC BC 480013, the Special Verdicts and the

   6                    entered theron on September 3, 2013, and September 8, 2013 and the actions in which

    7             r/Defendant is a party, including her two bankruptcies. Notwithstanding the valid lawful

         ~ phjections Plaintiff will have to fly to Milwaukee Wi, Louisville Kentucky and Evansville [Il in the
                                                                                            a later date if
    9 ~~c~t l~~r week to obtain certain document that will or could possibly be produced on

   10     he defendant overcome the lawful objections.

   11         RESPONSE TO REQUEST No. 29
                                                                                         Decry v. Strpc~rior
   12         Objection. Irrelevant FRE 410 and CEC 210. Attorney Client Privilege. (See

                                                                                                 71
   13         C'our~ (Hendrick)(2001), 87 Cal.App.4th 107?, ;See Stadish v. Superior Court(1999)

   14
              Cal.App.=4th 1130, 1 ]40-11 ~ 1 [84 Ca1.Rptr.2d 350]; Scottsdale Ins. Co. v. Superior Court(1997)
         ~;
   15
              59 Ca1.App.~th 2G3, 274[69 Ca1.Rptr.2d 1 12].)" Mr Hills and Plaintiff are represented in actions
   16
              by the same attorney.This Request is overly broad and ~~a~ue and ambibuous as to which
   17
          "COMMUNICATIONS" are requested. As such Plaintiff objects to the form of this quzstion as
   18

   19         C.C.P.ti?0~ 1.030(c)(1) failing in "describing each individual item or by reasonably particularizing

   2+?        each catc~~or~'...."This request is compound, and conjuctive and unintelligible in its present form.
   21         Value as to "CONCERNING'". Even with the definition provided Plaintiff cannot understand
   22         what is meant by this Request and "CONCERNING". Objection as to trade secrets. (See Standish
   23 v. Superior Court(1999), 71 Cal.App.~t11 l 130, 1141) This request is unduly burdensome and

   24         overbroad because much of what it seems to call for is irrelevant to this action with regard to
   25 comnninications «pith Ronald Hills. ft lacks the particularity and specificity so Plaintiff is unable

   "'G                                                                                              in time.
          to respond. Objection as to prig acy and unduly intrusive. And objection as to relevancy
    V




    27 'i Notwithstanding the valid lawful objections Plaintiff will have to fly to Milwaukee Wi, Louisville

    28



                                                                                                                     Y/
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    i    Kentucky and Evansville Ill in the nest fe~~• week to obtain certain document that will or could

    2    possibly he produced on a later date if the defendant overcome the lawful objections.

    3     RESPONSE TO REQUEST No. 30
      I~
    ~ ~ Plaintiff is unable to produce documents which Defendant/Debtor has Plaintiff's documents

    5     wrongfully, and has failed to return then despite court orders to do so. See Orders of Judge
    6
          Michelle Rosenblatt in BC 480013.
    7
          Plaintiffs discovery is continuing and Plaintitif has not had an opportunity to depose the
    8
    9     Defendant because the Defendant will not appear for her deposition.

   ~ ~~ ;! ~I~hercfi,re tht,~ R~yuests are premature and as such the}' are harassing and burdensome, and

   I1     oppressive, and not reasonably calculated this tine to lead to other discoverable evidence.

   12     Objection. Privilege California recognizes a "privilege against forced disclosure of tax returns" in
   13 "civil discovery proceedings.' Sclmabel v. Superior Court(1993)5 Cal.4th 704. Webb v.

   1~     Standard Oil Co.(1957)49 Cal.?d 509. ~ 13.) Additionally this request violates Plaintiff's right to
   15 'pri~~acy. Objection is made also in that this is unduly burdensome and irrelevant, and exceed timz

   16     limitations therefore are irrelevant.
   17         Notwithstanding the valid lawful objections Plaintiff will have to fly to Milwaukee Wi, Louisville
   18
              Kentucky and Evansville I11 in the next few week to obtain certain document that will or could
   19
              possibly- be produced on a later date if the defendant overcome the lawful objections.
   20
   ~~

   22

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    1 1                                                 VERIFICATION

    2 ~ I am the Plaintiff in the abo~~e entitled matter. [have read the foregoing IVAN RENE MOORS

    3
              RESPONSE TO DEFENDANT DEBTOR KIMBERLY BARBOUR'S FIRST REQUEST FOR

              PRODUCTION OF DOCUMENTS and know the contents thereof.                  With respect to these
    5
              Responses, the same is true by my own knowledge, except as those matters which are therein
    6
              stated on inforn~ation and belief, and, as to those matters, 1 believe them to be true.
    7
              Notwithstanding this litigation is ongoing and this plaintiff reserves his right to modify his
    8

    9         answers if ne~~~ inlom~ation is discovered.

   iU

   ll i~ I declare under the penalty of perjury under the laws of the united States, that the forgoing is true

   12         and correct.
              Dated: May ;`n ~~—~
   13

   14

   15
        ~n            ne Moore
   1G         Pl miff 1n Pro Se
   17

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         ;~

    1                                       PROOF OF SERVICE BY MAIL

    2                                           STATE OF CALIFORNIA
                                              COUNT'OF LOS ANGELES
   3

    ~t
                 I am employed in the County of Lc~s Angeles, State of California. I am over the age of l8 and I
              am parry to the action within. Ivty business address is 1236 Redondo Blvd, Los Angeles,
   6          California 90019. On May 3`~ ,2017 , 1 served the foregoing documents described as:
    7                IVAIv RENE MOORS RESPONSE TO DEFENDANT DEBTOR KIMBERLY
                       BARBOUR'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
    8                                        SET ONE
    9
   ~ p I f on the interested parties in this action by email and by placing true copies thereof enclosed in a
   ~ ~ i ;sealed envelope and addressing as follows:
                                                      Steven Schuman
   12
                                               (Attorney for Defendant Bragg)
   13
                                                     960 Olympic Blvd
   ~~                                           Los Angeles Califon~ia 9021?
   1~          Executed on May ~"~ .?017 at Los Angeles, California. I declare under penalty of perjury, under
   16          the laws of~the l)y~~~'J%x~~~t the foregoing is true and correct.

   li

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i    IVAN RENE MOORE
2     1236 South Redondo Blvd                                          FILED
      Los Angeles, CA 90019
3    (323)932-9439                                                   NOV 1 ~6 2018
4                                                                CLERK U.S. BANKRUPTCY COURT
     Ivan Rene Moore, Creditor In Pro Se                        CENTRAL DISTRICT OF
                                                                                   DePwtY CRerk
                                                                 BV: Z~
5

6                            UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA

s                                                Bankruptcy Case No. 2:16-bk-22878-BR
                                                 Assigned to: Judge Barry Russell
9     In re: Kimberly Martin Barbour,
      aka Kimberly Martin-Bragg                  CREDITOR,IVAN RENE MOORE'S
io
                                                 REQUEST FOR CLARIFICATION OF
ii                                               COURT ORDER REGARDING THE
                                                 JUDGMENT AND ORDER OF LOS
iz                                               ANGELES SUPERIOR COURT JUDGE
                                                 HON. MICHELLE ROSENBLATT IN
13
                                                 THE AMOUNT OF $3.15 MILLION
14                                               DOLLARS ARISING OUT OF WILLFUL
                                                 AND MALICIOUS INTENTIONAL
15                                               TORT OF TRESPASS TO CHATTEL
                                                 AND CONVERSION OF PERSONAL
16
                                                 PROPERTY IN LOS ANGELES
1~                                               SUPERIOR COURT AGAINST THE
                                                 DEBTOR,KIMBERLY MARTIN-BRAGG
18                                               IN CASE NUMBER BC480013 WHICH IS
19
                                                 STILL PENDING APPEAL IN THE
                                                 COURT OF APPEALS OF CALIFORNIA,
zo                                               SECOND APPELLATE DISTRICT,
                                                 DIVISION ONE INCASE NUMBER
21                                               B272445
zz
                                                 Date: November 27,2018
23                                               Time: 10:00 a.m.
                                                 Place: Hearing Room 1668
24
                                                        Los Angeles Bankruptcy Court
25                                                      255 East Temple Street
                                                        Los Angeles, CA 90012
26

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z8                                                                           ORIGINAL


                                                                                                  c~D Zo
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i                              CLARIFICATION OF COURT ORDER

z           The Debtor in the Action Kimberly Martin-Brag/Barbour stated and represented in open
3
     court to the Los Angeles Superior Court Department 14, the Honorable Judge Terry Green
4
     presiding on October 23, 2018 that the Creditor. Ivan Rene Moore's California Jury monetary
s

6
     damages award and the California Superior Court Order and judgment in the amount of $3.15

7    million dollars, plus costs, in the Moore v. Bragg case number BC480013 in favor of Ivan Rene

s    Moore for Malicious Intentional Tort of trespass to chattel and conversion of personal property
9
     committed by Kimberly Martin-Bragg. was completely and forever discharged by this
io
     Bankruptcy Court sometime during the pendency of this bankruptcy. On 12/8/2016 the Court
~i
12   granted Relief from Automatic Stay under 11 U.S.0 ~ 362 regarding the(2)appeals case no

13   B276366 and B272445 for any and all parties to move forward on theses appeals.(See Exhibit
14
     A)
15
             The creditor Ivan Rene Moore disagreed and stated the issues regarding this award have
16
     been on appeal since 20l6 in California Court of Appeal Second District Division (5} case of
17

~8   Moore v. Bragg B276366, and is still presently on appeal in the California Court of Appeal

19   ~ Second District Division (1) Moore v. Bragg B272445.(See Exhibit B)
20
ai
             Therefore, there has been no ruling discharging this award of this creditor by this
z2

23
     Bankruptcy Court. Notwithstanding Malicious Intentional Tort are not dischargeable in a

24   bankruptcy action. This Court granted Relief from Stay on December 8`~', 2016 for these two

zs ~ appeals cases.

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             Therefore, this Bankruptcy Court did not, could not and would not attempt to discharge
i
Z    this award given that this Court did not have jurisdiction to usurp the authority of the Los

3    Angeles Superior Court or the California Court of Appeal Second District, regarding property

4    that does not belong to this debtor Kimberly Martin-Bragg/Barbour.
5
            Also based upon the many facts that this award is for bailment property that does not
6
~    belong to this debtor Kimberly Martin-Bragg/ Barbour and the misconduct by the debtor was

g    found to be by the jury as malicious and tortuous, and based upon the bankruptcy rules and laws

9    award for this type of conduct are not dischargeable in bankruptcy. Bankruptcy was in-acted by
10
     the United States Congress and designed for honest persons)to get a fair and new start at life.
ii
            This creditor Ivan Rene Moore and the Los Angeles Superior Court Department 14 the
12

13   Honorable Terry green wants to know this court's position. This information will be provided to

~4   the Los Angeles Superior Court the Honorable Terry Green of the Los Angeles Superior Court
is   for case management conference and hearing regarding this matter on 12/7/2018 at the Los
16
     Angeles Superior Court Department 14 at 8:30 a.m.
i~

is
19                                                    I•
                                             INTRODUCTION
zo
             Prior to the filing ofthe Debtor, Kimberly Martin-Bragg aka Kimberly Barbour's filing
z~
22   of the instant bankruptcy, she was found to be liable to the creditor Ivan Rene Moore for willful

23   and malicious intentional tort of trespass to chattel and willful and malicious intentional tort of
Z4
     conversion of the certain personal properties that were in lawful possession of the creditor, Ivan
25
     Rene Moore. After a two weeks jury trial, a jury verdict in the amount of $5.6 Million dollars
26

27   was entered in favor of Ivan Rene Moore and against the Debtor, Kimberly Martin-Bragg.

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            Subsequently, the Los Angeles Superior Court Judge, Hon. Michelle Rosenblatt entered a
Z
Z    Judgment and Order in the amount of$3.15 million dollars arising nut of willful, malicious and

3    intentional tort of trespass to chattel and conversion of personal property in Los Angeles

4    Superior Court against the debtor, Kimberly Martin Barbour in case number BC480013.
5

6
~            This case is still pending; appeal in the Court of Appeals of California, Second Appellate

8    District, Division One in case number B272445. The Debtor, Kimberly Martin-Bragg aka

9    Kimberly Barbour represented to a Los Angeles Superior Court Judge in Hills v. Wells Fargo,
io
     case number BC 713 791 and purported to claim that the $3.15 million dollars arising out of
~i
     willful, and malicious, intentional tort of trespass to chattel and conversion of personal property
12

13   was completely and forever discharged by this Court.

14

15          Having no notice of said discharge order, Ivan Rene Moore is hereby seeking
16
     clarification of this Court on the purported discharge order regarding the bailment property that
i~
     was in lawful possession of creditor Ivan Rene Moore and still on appeal.
is

19

Zo           As this Court may recall on December 8, 2016, this Court entered an order granting the
zl
     Creditor Ivan Rene Moore's motion for Relief from Automatic Stay under 11 U.S.C.§ 362 for
2z
     the creditor Ivan Rene Moore to proceed with his Appeal in B276366 and B272445 which
23
     pertains to the Judgment arising from the Debtor, Kimberly Martin-Bragg aka Kimberly
24

25   Barbour's willful and malicious intentional tort to trespass to Chattel, and conversion of personal

26   property that were in lawful possession of Ivan Rene Moore.
27

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               Please see Exhibit A,a true and correct copy of the Order granting Creditor Ivan Rene
i
2    Moore's motion for Relieffrom Stay to proceed with the non-bankruptcy action in Moore v.

3    Martin-Bragg and Moore el.al. v. Bragg in Docket number B276366 and B272445.

4              Furthermore, attached herein as Exhibit B is a true and correct copy of the Court of
5
     Appeals document in B272445, and Exhibit C demonstrating that the case pertaining to
6
~    BC480013 is still a pending appeal in the California Court of Appeals, Second Appellate District

s    Division One.

9                                                   II.
                                                CONCLUSION
to
ii             For the foregoing reasons, Ivan Rene Moore, respectfully requests clarification pertaining

lZ   to the Los Angeles Superior Court Judge, Hon. Michelle Rosenblatt's Judgment and Order in the
13
     amount of$3.15 million dollars. The information will he provided to the Los Angeles Superior
14
     COU2't.
15

16             This conduct of this debtor arising out of willful, malicious and intentional tort of

17   trespass to chattel and conversion of personal property in Los Angeles Superior Court against the

18   debtor, Kimberly Martin Barbour in case number BC480013.
19

20
                                                                                                       gcn
               Kimberly Martin Barbour filed an Appeal to reverse the jury award. On September
z1

z2   2017, case noB276366. The California Court of Appeal Second District ruled unanimously in

23   favor of Ivan Rene Moore rejecting each and very frivolous claim proffered by Kimberly Martin
z4
     Bragg/Barbour.
25
               //
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27             //

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              In this creditors Ivan Rene Moore's appeal is still pending appeal in the Court of
1

2      of California, Second Appellate District, Division One in case number 8272445.

3

4
       Dated: November 9`h ,201S                           Respectfully Submitted,
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                                       PROOF OF SERVICE
1
                                      STATE OF CALIFORNIA
2                                    COUNTY OF LOS ANGELES

3
            I am employed in the County of Los Angeles, State of California. I am over the age of 11
4
     and I am not a party to the action within. My business address is 1236 S. Redondo Boulevard,
5
     Los Angeles, California 90019. On November 9th , 2018, I served the foregoing documents
6
     described as:
     CREDITOR, IVAN RENE MOORE'S REQUEST FOR CLARIFICATION OF COUR7
     ORDER REGARDING THE JUDGMENT AND ORDER OF LOS ANGELE',
s
     SUPERIOR COURT JUDGE HON. MICHELLE ROSENBLATT IN THE AMOUNT Ol
9    $3.15 MILLION DOLLARS ARISING OUT OF WILLFUL AND MALICIOU'.
     INTENTIONAL TORT OF TRESPASS TO CHATTEL AND CONVERSION Ol
io   PERSONAL PROPERTY IN LOS ANGELES SUPERIOR COURT AGAINST THE
ii   DEBTOR, KIMBERLY MARTIN-BRAGG IN CASE NUMBER BC480013 WHICH I'.
     STILL PENDING APPEAL IN THE COURT OF APPEALS OF CALIFORNIA
12   SECOND APPELLATE DISTRICT,DIVISION ONE IN CASE NUMBER B272445

13          I served this document on the interested parties in this action by USPS with prepaid

14   postage at the addresses as follows:

15                                          SEE SERVICE LIST
16
            I declare under penalty of perjury under the laws of the State of California that the
i~   foregoing is true and correct. Executed on November 9~h ,20l 8, at Los Angeles, California.
is
19

20   Veronica Rodgers
zi
22

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 Case
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             ~ Suti Music c/o Ivan Rene Mr.~ore
            ' E 236 Redondo Bivd.                              The Estate ofIMA Moore c10 Ivan Rene fbfo
            ' Los Angeles, California 90019-1546               1236 Redondo Blvd.
                                                               Las Angeles, California 90Q19-1546
             "I've Moore Family Trust c% Ivan Rene Moo
              1?35 Redondo Blvd.                               T~lZe Moore Family Trust rlo Rene Moore
             Los fingeles, California 90Q19-1 46               1236 Redondo Blvd
                                                               Ios Angelis, CA 90019-1546
             l.~aited Broadcasting Crroup C/d R.ene Mcx~re
             12?6 Redonda Blvd                                 ti.3. Chandran c/o Ivan Rene ~Ioor~
             Los Angeles, CA 90019-I546                        1236 Redondo Blvd.
                                                               Los Angeles, Califomza 9(?a19-1546
             Vann Jotu~son coo Ivan gene Moore
             1236 Redonda $lvd.                               Wells Fargo Bank
             Los A.ngelcs, California 90019-1546              cto Michele Sabo Assayag
                                                              Assayag Maws
                                                              2915 Redhill Ave Ste 200
                                                              Costa Mesa CA 92626-5916
            Wells Fargo Bari;
            P.O_ Box 25341                                    WELLS FARUO RANK,N.A.
                                                              c/o ASSAYAG MAUS5,LLP
            Santa tea,i.'alifoinia 9~~9~3- 341
                                                              2915 Redhill Ave., Ste. 200
                                                              Costa Mesa, CA 92625-59I6
       WELLS FARGO, N.A.
                                                             West Viking Studios r.~o I~~an Rene Moore
       c,'o Jost~z~ K. Partington
                                                             1236 Redondo BIvd.
       ASSAY"AG MAIISS, LLB
    i4 X91 ~ Redhilt Avenue, Suite 200                       Los r~ngeles, California90Q19-546
       Costa Mesa, CA 92626-7978
   ~ s~:                                                     Joshua Parrington Esq_
           WRPRJ lnvesUner~t(irou~
    ;~I C/(? Rene ivlac~re                                   2915 Red Hill Suite 200
           .?;~ Redondo Bl~~~                                Costa Mesa, California 92626
    li I~~:~n ~eles. La ~bU 1 ~-i 54fi
         i
    i$      Alamode 3~lusie c/o Ivan Rene Moore               American InfoSource LP as agent for
            I23~i Redondo Bi•✓d.                              T MobifelI'-Mobile USA Inc
   1 ~ I Les Angeles, Ca2ifarnia 9dU19
                                         -1546                PO Box 24$848
       i                                                                                                        ~
  ~~ U ~~                                                     Oklahoma City, OK 7312-8848
            Central South Distributions                       e~~
 21         1236 Redondo Bivd
            Los :~ngeles, CA 90U i 9-1546                     P.O. Bos 78420
 ~Z                                                           Phoenix, Ariwna 55062-8420
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 ~3                                                           Deutsche £lank National Trust Company
           Post Office f3ox 4004                              700 Kansas Lane
           Sioux Falls, Souch Dakota 57l 17-6QU4              Monroe, Arizona 71203-4774
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,          Crreenberg &Bass, I.L,P
•~ii       t 500Q Ventura BIvd
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           ~ncin~, f'alifornia 91436-?762                    1 Z36 Redondo Blvd.                           '
 ~~~ i                                                       Las Angeles, California 90019-1546
     i                                                                                                      i
       1 [nternal Revenue Service
n-T y
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         30Q N. Los Angeles ST STOP 5022
                                                             IRM Productions cto Ivan Rene Mflvre
                                                             t 236 Redondo Blvd.                            t
         Los Angeles, CA 40412-~~78
"R                                                           Los Angeles, Cafifomia 94019-1X46
             var, Ilene Moore
                                                             Ivan Rene Moore                               r'
            i~~o ctetiondo Blvd
           i.os Angeles, CA 9001 9-1 546                     1236 Redondo Blvd
   i.?                                                       Los Angeles, California 90019-1546




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             Joe &Helen Easton Invest CIQ Rene Mcu~re        JP Morgan Chase Bank
             1 236 Redondo Btvd                              700 Kansas Lane
             Los Angeles, CA 90019-154b                      Monroe , L.A 71203-4774
            Kara Financial                                   Kimberly Bazbour
            C!U Rene Moore                                   6150 Shenandoah Avenue
            1236 Redont~o Btvd                               Los An~e[es, CA 90Q56-2021
            Los Angeles, CA 90419-1546
            T ~~J'~
                                                            Law Offices of Thomasina Reed
           cio NationaE Recovery• Agency                    5177 W. Centuxy Blvd., Suite 112
           2491 Paxton Street
           Hazrisburg, PA 17111- i 036                      Los Angeles, California 90045-5637

           Lie "!' llickcr                                 Loren Chaney c!o Ivan Rene Moore
           Leonard Dicker &Schreiber LLP
                                                           1236 Redondo Blvd.
           9430 Ulympic $Ivd
                                                           Los Angeles, California 90019-154b
           Beverly Hills, CA 90212-4552
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           ~,~s ~`~ngeies Pc►lice Credit Union
           i 6150 Sherman tX~'av                           Peter Baer eJo Nussbaum r~PC
                                                           27489 Agoura Rd, Suite t02
           Va.~ Ni;vs, California 91405-3956
     121                                                   Agoura Hills, California 91301-2481
           Peter M Lively
     13j The La~~ Offices of Peter M Lively               PRr~ Receivables Management, LLC
           l 12b8 Washington Btvd Ste 203                 PO Box 41021
     l 4'~ Culver. ~'ity, CA 9Q23~-4647                   Norfolk, VA 23541-1021

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                                                          Pro Value Properties, inc_
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                                                          ,Agoura Hills ,California 91301-1601
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         :7i;narian Road, Suite 487                      Radio Multi Media Investrnents c!o Ivan R
    18 ; Agoura ~~i#ls, Calif'orrtia 91301-1b41          123 Redondo Blvd.
                                                         Las Angeles, California 90019-1546
    1 9 ~ Rene &Angela cfo [van Rene Moore
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        !. 1236 Redondo B]vd.
    ZO ~~ i~,os Angeles, C:atifortia 90019-15~fr         f ?36 Redondo BIvd.
                                                         Los Mgeles, California 90019-1546

   21 ;~ 1flick t~'ilson c.%o Ivan Rene Moore
           236 Redondo Blvd.                            Ronald Hilts e/o Ivan Rene Moore
                                                        123b Redondo Blvd.
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           e                                            Los Angeles, Ca3ifomia 90019-1546
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                                      Michel Vb'illi    Sua[egic Acquisitions, Inc., et al c/o
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 Attorney a Party Name, Address, Telephone &FAX                               FOR COURT USE ONLY
 Nos., State Bar IVo. &Email Address

 Steven A. Schuman, SBN 142834
  ~eonard,Didcer&SchreiberLLP                                                                             FILED &ENTERED
 9430 Olympic Boulevard, Suite 400
 Beverly Hilis, CA 90212-4519
 Phone:(310)551-1987; Fax:(310)277-8050                                                                           DEC 08 2016
 Email: sschuman@Idslaw.com
                                                                                                            CLERK U.S. BANKRUPTCY COURT
 Attorneys for Debtor Kimberly Bart~our                                                                     Central District of California
                                                                                                            BY tortler    DEPUTY CLERK




  ❑ Movant appearing without an attorney
  ❑ Attorney for Movant

                                           UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA —LOS ANGELES DIVISION

  In re:                                                                       CASE NO.: 2:16-bk-2287&BR
                                                                              CHAPTER: 7

                                                                                       ORDER GRANTING MOTION FOR
                                                                                     RELIEF FROM THE AUTOMATIC STAY
  KIMBERLY BARBOUR,                                                                        UNDER 11 U.S.C_ ~ 362
                                                                                      (Action in Nonbankn~ptcy Forum)

                                                                               DATE: November 22, 2016
                                                                               TIME: 10:00 a.m.
                                                                               COURTROOM: 1668
                                                                               PLACE:


                                                               Debtor(s).

  MOVANT: Ivan Rene Moore



1. The Motion was:             ~ Opposed            ❑ Unopposed            ❑ Settled by stipulation

2. The Motion affects the following Nonbankruptcy Action

     Name of Nonbankruptcy Action: A900RE v. MARTIN-BRAGG and MOORS, et al. v. BRAGG
    Docket number: 6276366 and 8272445
    Plonbankruptcy court or agency where the Nonbankruptcy Action is pending:
    California Court of Appeal, Second Appellate District




           This form is mandatory. h has been approved for use by tfie United States Banlcnlptcy Court for the Central District of Cakfartda.

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             3. The Motion is granted under 11 U.S.C. § 362(d)(1).

             4. As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
                 a. ❑ Terminated as to the Debtor and the Debtor's bankruptcy estate.
                 b. ❑ Modified or conditioned as set forth in Exhibit         to the Motion.
                 c. ❑Annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant to E
                       remedies regarding the nonbankruptcy action do not constitute a violation of the stay.

             5. Limitations on Enforcement of Judgment: Movant may proceed in the nonbankruptcy forum to fi
                   (including any appeals) in accordance with applicable nonbankruptcy law. Movant is permitted to er
                   judgment only by (specify a!! that apply):
                 a. ❑Collecting upon any available insurance in accordance with applicable nonbankruptcy law.
                 b. ❑ Proceeding against the Debtor as to property or earnings that are not property of this bankruptcy

             6. This order is binding and effective despite any conversion of this bankruptcy case to a case under any
                of the Bankruptcy Code.

             7. ❑ The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the
                  the same terms and conditions as to the Debtor.

             8. ❑ The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

             9. ❑This order is binding and effective in any bankruptcy case commenced by or against the Debtor for a
                  180 days, so that no further automatic stay shall arise in that case as to the nonbankruptcy action.
             10. ❑ This order is binding and effective in any future bankruptcy case, no matter who the debtor may be, v
                   further notice.
             1 1. ~ Other (specify): No relief as to ANY matter in any trial court. Relief is granted ONLY as to the two ap
                        referenced above.




                           Date: December 8, 2016

                                                                          Barry Russell
                                                                          United States Bankruptcy Judge




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          Case Summary
          Trial Court Case:        BC464111
          Court of Appeal          6272445
          Case:
          Division:                1
          Case Caption:            Moore et al. v. Bragg
          Case Type:               CV
          Filing Date:             05/26/2016
          Completion Date:
          Oral Argument
          Date/Time:

          Cross Referenced Cases:

          8245559           Moore v. Martin-Bragg et af.
          6248160           Moore v. Martin-Bragg
          6254494           Hills et al. v. J.P. Morgan Chase Bank
          6260579           Moore v. Martin-Bragg
          8275627           Moore v. Superior Court Los Angeles County
          6282591           Moore v. Superior Court of Los Angeles County "VEX**

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         2nd Appellate District

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         Docket(Register of Actions)
          Moore et al. v. Bragg
          Division 1
          Case Number 6272445

           Date          Description         Notes

           05/25/2016    Request filed to:   by Ivan Rene Moore to file new litigation by vexatious
                                             litigant

           05/27/2016    Order filed.        Attorney for respondent is directed to file response to
                                             appellants request to file new litigation, response due
                                             20 days from the date of this order.

           05/31/2016    Notice of appeal    notice of appeal filed 5/25/2016 by Ronald Hills and
                         lodged/received.    Ivan Rene Moore

           05/31/2016   Order waiving        only as to Ivan Rene Moore
                        filing fee.

           06/02/2016    Civil case
                         information
                         statement filed.

           06/16/2016    Response filed:     by respondent




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          06/23/2016   Order filed.        After reviewing Moore's application, this Court grants
                                           approval to the filing of Moore's notice of appeal,
                                           subject to two conditions. 1. In accordance with Code
                                           of Civil Procedure section 391.7, subdivision (b),
                                           Moore must first post with the clerk of the Superior
                                           Court a security bond in the amount of $25, 000.00. If
                                           the bond is not posted within 30 days of the filing of
                                           this order, this appeal will be dismissed with prejudice.
                                           2. In accordance with California Rules of Court, Rule
                                           10.1004(c)(4) and the internal rules of this appellate
                                           district, the Court assigns this appeal to Division One
                                           of the Second Appellate District and defers to Division
                                           One the right and obligation to determine the
                                           appealability of the issues Moore has set forth in his
                                           notice of appeal.

          06/23/2016   Default notice      only as to Ronald Hills
                       sent-appellant
                       notified per rule
                       8.100(c).

          06/30/2016   Motion filed.       by appellant Ivan Rene Moore to reconsider a portion
                                           of the June 23, 2016 order.

          07/07/2016   Filing fee.         only as to Ronald Hills
                                           check #6865 for $775

          07/19/2016   Substitution of     Attorney Susan E. Hargove subs in for Ivan Rene
                       attorneys filed     Moore
                       for:

          07/25/2016   Order filed.        The Court GRANTS the motion for reconsideration
                                           filed on June 30, 2016. Upon reconsideration the ruling
                                           stands. In all other respects, the motion is DENIED.

          09/08/2016   Motion filed.       by aplt Moore for relief from CCP 391.7 because
                                           petitioner is represented by counsel.

          10/11/2016   Order filed.        On 7-19-2016 appellant Moore filed a sub of attorney
                                           substituting Susan E. Hargrove as his attorney. The
                                           Court on its own motion now stays and places in
                                           abeyance the conditions of the court's order of
                                           6-23-2016. Appellant may now proceed with this
                                           appeal without filing a security bond, as long as he is
                                           represented by counsel. (see order)

          09/12/2017   Notice per rule     It appearing that the appellant, now represented by
                       8.124 -with         counsel, is proceeding pursuant to CRC Rule 8.124
                       reporter's          and will file an appendix and lodge the reporter's
                       transcript.         transcript, the appellants opening brief and appendix
                                           are due within forty (40) days from this date. The
                                           reporter's transcript is to be lodged on the same date.




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            10/20/2017    Substitution of         Respondent substitutes in Felton T. Newell as counsel
                          attorneys filed         of record, replacing attorney Thomasina M. Reed.
                          for:

            10/24/2017    Granted -
                          extension of time.      Appellant's opening brief. Due on 12/22/2017 By 60
                                                  Days)


            12/20/2017    Filed document          Declaration of Susan Hargrove in support of appellants
                          entitled:               request for an extension of time.

            01/08/2018    Ret~med                 Extension of time returned for failure to indicate the
                          document for            dates.
                          non-
                          conformance.

            01/10/2018    Requested -
                          extension of time       Appellants opening brief. Requested for 02/26/2018
                                                  By 66 Days)


            01 /10/2018   Filed proof of          For extension of time by Moore.
                          service.

            01/17/2018    Granted -
                          extension of time.      Appellant's opening brief. Due on 01/22/2018 By 31
                                                  Days)


            01/19/2018    Requested -
                          extension of time       Appellants opening brief. Requested for 04/02/2018
                                                  By 70 Days)


            01/22/2018    Granted -
                          extension of time.      Appellants opening brief. Due on 03/08/2018 By 45
                                                  Days)


            02/15/2018    Change of               atty Felton T Newell
                          address filed for.

            02/16/2018    Change of               Felton Thomas Newell Jr old firm: The Newell Law
                          address filed for'      Firm new firm: Glaser Weil Fink Howard Avchen 8
                                                  Shapiro LLP old address 1: 12777 W. Jefferson Street,
                                                  new address 1: 10250 Constellation Bivd. old address
                                                  2: Suite 300 new address 2: 19th Floor old city: Playa
                                                  Vista new city: Los Angeles old zip: 90066 new zip:
                                                  90067 old phone: (213} 394-2617 new phone:
                                                  310-553-3000 old fax: (213) 402-7187 new fax:
                                                  310-556-2920 old email: felton@thenewelllawfirm.com
                                                  new email: fnewell@glaserweil.com


            03/20/2018     Appellant notified     Both appellants.
                           re failure to timely
                           file opening brief.




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           03/23/2018   Requested -
                        extension of time     Appellants opening brief. Requested for 05/02/2018
                                              By 28 Days)

           04/02/2018   Requested -
                        extension of time

           04/03/2018   Granted
                        extension of time.

           04/04/2018   Granted -
                        extension of time.    Appellants opening brief. Due on 05/02/2018 By 28
                                              Days)



                                              NO FURTHER EXTENSIONS

           05/01/2018   Substitution of       Appellant Ivan Renee Moore.
                        attorneys filed
                        for:

           05/03/2018   Appellants            Plaintiff and Appellant: Ivan Rene Moore
                        opening brief.        Pro Per NO FURTHER EXTENSIONS
                                              *"*APPELLANT MOORE'S BRIEF IS STRICKEN,
                                              CORRECTED OPENING BRIEF GRANTED
                                              PERMISSION FOR FILING BY ORDER FILED JULY
                                              3. 2018""

           05/03/2018   Telephone             Ivan Renee Moore regarding lack of Certificate of
                        conversation          Interested Persons or Entities. Notice of non-
                        with:                 compliance mailed.

           05/07/2018   Certificate of        Appellant Ivan Renee Moore.
                        interested entities
                        or persons filed
                        by:

           05/08/2018   Requested -
                        extension of time

           05/08/2018   Granted -
                        extension of time.

           06/01/2018   Returned              Request for extension of time to file RB is returned to
                        document for          respondent Martin-Bragg. Brief not due until AOB is
                        non-                  filed by Ronald Hills.
                        conformance.

           06!01/2018   Request filed to:     by aplt Hills to file AOB in excess of word count.

           06/04!2018   Received              7 vols RT; need notice of lodging

           06!04/2018   Appellant's           2 vols by aplt Moore
                        appendix filed.



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           06/0412018   Voice Mail          apit Hill stating unable to process AOB filing. Need to
                        message for:        have one complete "PDF" or a scan copy delivered to
                                            clerk's office Division One.

           06/04/2018   Letter sent to:     Appellant Hill. The Court is unable to file the appeltanYs
                                            opening brief. Within 10 days from the date of this
                                            notice, appellant Hill is requested to submit to this court
                                            an unbound paper copy of the opening brief to this
                                            Court.[CRC rule 8.71(g)J See letter.

           06/04/2018   Letter sent to:     appellants Moore and Hill requesting notice of lodging
                                            RT w/proof of service on opposing counsel.

           06/04/2018   Received:           1 vol appendix by appellant Hills; no copy of notice of
                                            appeal or judgment

           06/04/2018   Letter sent to:     appellant Ronald Hills; Court unable to file appendix.
                                            Appellant directed to supplement appendix with copy of
                                            notice of appeal &judgment.

           06/04/2018   Appellant's         2 vols by appellant Moore
                        appendix filed.

           06/06/2018   Received:           unbound AOB for Hills

           06/06/2018   Appellants          2 vol appellant Hills
                        a ppendix filed.

           06/06/2018   Filed document      Notice of Lodging RT by appellants
                        entitled:           7 vols RT lodged by aplt Hills &Moore

           06/11/2018   Appellants          Plaintiff and Appellant: Ronald Hills
                        opening brief.      Pro Per "by permission"

           06/12/2018   Returned            The corrected AOB received on June 6, 2018 is
                        document for        returned to appellant Ivan Moore. Document may be
                        non-                resubmitted to this court with an application/request for
                        conformance.        permission to file.
                                            Returned via US Mail

           06/22/2018   Application filed   Appellant Moore's application to file corrected brief and
                        to:                 request to file a brief in excess of 14, 000 words.

           06/22/2018   Request for         Appellant Moore's request for judicial notice of the prior
                        judicial notice     appellate record.
                        filed.

           07/03/2018   Order filed.        Appellant Ivan Moore's Request and Application to File
                                            Corrected Opening Brief, filed June 20, 2018, is
                                            granted. (Order filed July 3, 2018)




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           07/03/2018    Order filed.          Appellant Ivan Moore's Application for Permission to
                                               File Brief in Excess of 14, 000 Words, filed June 20,
                                               2018, is granted.
                                               (Order filed July 3, 2018)

           07/03!2018     Appellants           Plaintiff and Appellant: Ivan Rene Moore
                          opening brief        Pro Per *'**CORRECTED OPENING BRIEF""*


           07/12/2018     Requested -
                          extension of time     Respondents brief. Requested for 10/11!2018 By 70
                                                Days)

           07/16/2018     Request for           Appellants' June 20, 2018 request for judicial notice of
                          judicial notice       the record on appeal of previous case 8238772 is
                          granted.              granted.

           07/23/2018     Granted -
                          extension of time.    Respondents brief. Due on 10/01/2018 By 60 Days)

           09/21/2018     Motion to dismiss    (Proposed Order included)
                          filed (after
                          record).

           09/26/2018     Requested -
                          extension of time     Respondents brief. Requested for 10/31/2018 By 30
                                                Days)

           09/27/2018     Filed proof of        re motion to dismiss
                          service.

            10/09/2018    Opposition filed.     Appellant Moore's Opposition to Respondent's Motion
                                                to Dismiss, filed October 9, 2018.

            10/12/2018    Opposition filed.     Respondent Hills' opposition to Respondent Bragg's
                                                motion to dismiss appeal, filed October 12, 2018.

            10/18/2018    Granted
                          extension of time.    Respondents brief. Due on 10/3112018 By 30 Days)

            10/26/2018    Order filed.          Having read and considered Respondent Kimberly
                                                Martin-Bragg's motion for dismissal filed September
                                                21, 2018, Appellant Ivan Moore's opposition filed
                                                October 9, 2018, and Appellant Ronald Hill's opposition
                                                filed October 12, 2018, the Court hereby denies
                                                Respondent's motion.

            10/29/2018    Requested -
                          extension of time     Respondents brief. Requested for 11/30/2018 By 30
                                                Days)



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                                                                                                                                               r_ n_7~n
 ATTORNEY OR PAR1Y WITHOUT ATTORNEY (Name, Sfele Bsr number, and address):                                          FOR COURT USE ONLY
  Ivan Rene Moore
  1236 Redondo Blvd
  Los Angeles Calfiornia 90019
          TELEPHONE NO.: 323 932 9439                              FAX NO.(OptloneQ:
 E-MAIL ADDRESS(Opfronal):
    ATTORNEY FOR (Name): Pj'O Pe]'

SUPERIOR COURT OF CALIFORNIA,COUNTY OF
        STREETADORESS: I I L NOTYh HIl~ StI~.'.Ct
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            BRANCH NAME: Central Br$1]Ch

             Pu~,uvTiFF: Ivan Rene Moore

          oEFEtvoaNT: Kimberely Martin Bragg (aka) Kimberly Barbour

                                                                                                          CASE NUMBER:

      WRIT OF POSSESSION                   D✓       AFTER HEARING              O EX PARTS                             BC 480 013

TO THE SHERIFF OR ANY MARSHA!. OF l'HE COUNTY OF Los An~eles                                                       ~~ ~ ,. ~ ~ :' !'
YOU  ARE   DIRECTED:                                                                                       `°"`
1. To levy upon and retain in your custody, until released or sold (Code Civ. Proc.,§ 514.030), the following property or any part of it
  (specify):
  (See attachment 25 E)Per Court order Judge Rosenblatt Nov 8th 2013 turn property over to plaintiff Ivan
   Rene Moore. The Sheriff or Marshall of the County of Los Angeles shall use resonable forcible entry to
   enter into the private place listed ~~elow for the purpose of levying on the personal property subject to this
   Writ ofPossession.


2. To enter the following private place or prices to take possession of the above-described property or some part of it
  (specify exact locations):
   6150 Shenandoah Ave, Los Angeles Calif 90056
   6160 Shenandoah Ave, Los Angeles Calif 90056

3. To return this writ and the certificate of y~~ur proceedings within 30 days after levy and service, but in no event later than 60 days
   after issuance of this writ.                                            ~              _,
                                                                   ~~Clerk, by
Dated:
         MAY 7 O ~IOZR                         ~°~`~1 ~'~                                                                                       Deputy

                      (SEAL)
                                                   NUTICE TO DEFENDANT: The plaintiff has filed with the court a written undertaking, a
                                                   copy of which is attached. You have the right to object to the plaintiff's undertaking on a
                                                   ground specified in Code of Civil Procedure section 995.920 and in the manner provided in
                                                   Cede of Civil Procedure section 515.030 or to obtain redelivery of the property by filing a
                                                   written undertaking of your own, in an amount equal to the plaintiff's undertaking or as
                                                   determined by the court under Code of Civil Procedure sections 515.010 and 515.02Q.
                                                   You also have other rights under Cade of Civil Procedure sections 512.020-512.120.
                                                   If your property has been taken under an ex parte writ of possession, you may apply under
                                                   Code of Civil Procedure section 512.020(b)for an order that the writ be quashed, any
                                                   property levied on be released, and for other relief as provided in that section, including an
                                                   avvard of damages for any loss sustained by you as a proximate result of the levy.

                                                                                                                                                Page 1 of t
Form Adoptetl(or MarMetory Use                                                                                           Code Civ. Proc.. §§ 512.020-612.720
JudiGal Council of California                                           WRIT OF POSSESSION                                               www.couAin(o.ce.gov
CD-13D [Rev. January 7. 2006)
                                                                         (Claim and Delivery)



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      1                                   Attachment 25 E
                                          Judgement Orden
      2

      3        The Court grants Plaintiff IVAN RENE IVi00IgE's request for return of

      4        property and o~-der~ KII~~ERLY MARTIN-~RAG~ to return to IVAN

      5        RUNE MOOIRE'S clothing, shoes, kitchen equi~►ment, personal property,

      6        piano, SSLK console, masters, 71 Camaro9 anc~ personal legal doce~irnents

      7        consistent with the evidence presented at trial.

      8 i

      9 !       'Phis orde'• provides Yhat IVAlo1 RUNE 1VIOOI2]E is entitled to the return

     t0 ~      of all of said ~~~-operty en ~iI~IBERLY MARTIP]-13RAUG'S posses~~ion or

     11        control incl~diiig that which is in storage.        KIMBERLY 1VIA~2TII~1-

     12        B~GG, her agents, andl anyone acting nn her behalf are ordered not to

     13        sell, give away, damage or keep from I~/AN I~~N~ IV~OORE ally o#' the

     14        property that is ordered ~o be t•eturned.          ~Cimber Martin-~~•ag~ is
     l5        ordered to hive tie p~o~erty returned to I'VAN RTNE 1VI00~2E

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Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 100 of 168 Page ID #:245

                                                                                                                                               CD-130
 ATTORNEY OR PARK WITHOUT ATTORNEY(Name, Stete Bar number, and edd~essj:                                           FOR COURT USE ONLY
   Ivan Rene Moore
   1236 Redondo Blvd
   Los Angeles Calfiornia 90019
           TELEPHONE NO.: 3Z3 932 9439                            FqX NO.(Options!):
 E-MAIL ADDRESS (Optional):
     ATTORNEY FOR (Name): r TO Per

 SUPERIOR COURT OF CALIFORNIA,COUNTY OF
         STREET ADDRESS: I I I NOI~CIl H1II StI~~Ct
         MAILING ADDRESS: III HOI~Ch H1I~ Strl~et
        c~nANOZ~PcooE: Los Angeles Califi~rnia 90012
           B~,NCH NAME: Central Branch
            P~wTiFF: Ivan Rene Moore

           oeFEN~arvr: Kimberely Martin Bragg (aka) Kimberly Barbour

                                                                                                         CASE NUMBER:
       WRIT OF POSSESSION                 D✓      AFTER HEARING                O EX PARTS                              BC 480 013


 TO THE SHERIFF OR ANY MARSHA!.OF l'HE COUNTY OF                            Los Angeles                            ~         ~ ~ ~' {
 YOU ARE DIRECTED:                                                                                       "~
   To levy upon and retain in your custody, until released or sold (Code Civ. Proc.,§ 514.030),the following property or any part of it
  (specify):
   (See attachment 25 E)Per Court order Judge Rosenblatt Nov 8th 2013 turn property over to plaintiff Ivan
    Rene Moore. The Sheriff or Marshall ofthe County of Los Angeles shall use resonable forcible entry to
    enter into the private place listed ~~elow for the purpose of levying on the personal property subject to this
    Writ of Possession.


 2. To enter the following private place or pl~~ces to take possession of the above-described property or some part of it
   (specify exact locations):
     6150 Shenandoah Ave, Los Angeles Calif 90056
     6160 Shenandoah Ave, Los Angeles Calif 90056

 3. To return this writ and the certificate of y~~ur proceedings within 30 days after levy and service, but in no event later than 60 days
    after issuance of this writ.                                            ~             ,p ,
 Dated:
          MAY 2 O ~lO~~                        ~°~'~1 ~'~         ~~Clerk, by                                          ►7N                    ,Deputy

                         csFnu
                                                  Ni~TICE TO DEFENDANT: The plaintiff has filed with the court e written undertaking, a
                                                  copy of which is attached. You have the right to object to the plaintitf's undertaking on a
                                                  ground specified in Code of Civil Procedure section 995.820 and in the manner provided in
                                                  Cede of Civil Procedure section 515.030 or to obtain redelivery of the property by filing a
                                                  written undertaking of your own, in an amount equal to the plaintiffs undertaking or as
                                                  dE~termined by the court under Code of Civil Procedure sections 515.010 and 515.020.
                                                  Yc>u also have other rights under Code of Civil Procedure sections 512.020-512.120.
                                                  If your property has been taken under an ex parte writ of possession, you may apply under
                                                  Cede of Civil Procedure section 512.d20(b) for an order that the writ be quashed, any
                                                  property levied on be released, and for other relief as provided in that section, including an
                                                  avvard of damages for any loss sustained by you as a proximate result of the levy.

                                                                                                                                                Page t of 1
 Form Adopted (or Mantletory Use                                                                                        Coda Cfv. Proc., §§ 572.Q20-612.120
 JudiGalCouncllofCali(ornia                                            WRIT OF POSSESSION                                               www.covrtinlo.ca.gov
 CD-13D (Rev. January 1, 2Q06j
                                                                        (Claim and Delivery)


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       1                                   Attachment 25 E
                                           Judgement Order•
       2

      3         The Court grants Plaintiff iVt~N RENE N~OOIkE's request for return o$'

      4         property and orc~er~ I{IMIBERLY MARTEN-~RAG~ to return $o IVt~l~1

       5        RENE MC70IRE'S clothing, shoes, kitchen equipment, personal property,

      6         piano, SSL,K console, masters, 71 Cama~•o, anc~ personal legal docu~rr►ents

       7        consistent with the eWidence presented at trial.

      8

      9         'Phis order provides that IVAlo1 RUNE 1VIOOI~IE is entitled to the return

      10        of all of said r~~°oper~ty in ~I1~[BERLY MARTIN-~12AUG'S posses~cion or

      11        control incl~di~ig that vv~ich is in storage.       KIlV1B~RLY 1VIA~ZTIl~1-
      12 '      BRAGG, her agentrs, arnc~ anyone acting on her behalf are ordered not to

      13        sell, give away, damage or keep from EVAN I~~N~ 1V~0012E a~iy of the

      14        properfy that is orcl~red to be returned.          ICim~~~° Martin-~~•agg is
      lS        ordered to hive tie property returned to i'VAN RTNE 1VI00~2E

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Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 103 of 168 Page ID #:248




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Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 111 of 168 Page ID #:256




                                             RULING
                                      JUDGE DAVID J.COWAN
                                         DEPARTMENT 1

        Date:                     Tuesday, December 21, 2021
        Case Number:              BC480U 13
        Case Name:                Ivan Renee Movre v. Kimberly Martin-I3rag~,
        Maving Party:             Kianberly Brae
        Responding Party:         Ivan Rene Moore
        Ex Parte Application:     Recall Writ ~f Execution and Cancel Abstract of Judgment

        Ruling:                   The Application is GRANTED A5 STATED HEREIN.
                                  Enforcement of the Writ of Execution is stayed pending a final
                                  determination of whether the Final Judgment was discharged
                                  during Bragg's bankruptcy proceedings. The Application is
                                  otherwise DENIED WITHOUT PRF.,JUDICE.



                                              RACKGRUUND

           On November 8, 20l 3, fallawin~; a jury trial, the Court entered an interlocutory judgment

    in favor of Ivan Renee Moore and against Kimberly IIra~;g for $3.Y 5 million, finding Br~~b liable

    for conversion and trespass to chattels in taking Mare's personal praperty after an eviction. The

    interlocutary judgment required Brae; to return certain property to Madre with reductions in t11e

    damages Bragg must pay based on the property returned.

           On May 23, 2016, the civil court entered a Final Judgment incorparatin~ and superseding

    the interlocutory judgment.

           On September 28, 2016, Brag filed for Chapter 7 banka•uptcy.

           On January 9,2017,the bankruptcy cou~•t issued an order discharging Bragg's debts "under

    1 1 U.S.C. [sec.] 727."(RFJN, Exh. 6.)'




    ~ The Court grants Brag's unopposed requests for judicial notice of several court filinbs and
    orders, including orders ofthe. U.S. Aankruptcy Court for the Central District of California in
    case nn. 2:i6-bk-22$78-SR, I3ra~g's Chapter 7 banit~~upicy proceedinb.




                                                                                                      ~1a3
Case 2:22-cv-06465-MEMF Document 8-1 Filed 11/09/22 Page 112 of 168 Page ID #:257



            On September 27, 2021, Moore obtained a Writ of Execution far $3.15 million based ~n

    the Final Judgment.

            On Nnvember 16, 2Q21, Maore ohtai~~ed an abstract of jud~►nent. (Rf~JN, Exh. 12.)

            On November 24, 2U21, Moore recorded the abstract o1' judgment, which "may constitute

    a lien against" 6150/6160 Shenandoah Avenue, Los Angeles, CA 90056. (RFJN, Exh, 13.)

            On December 14, 2021, Kimberly Bra~;~ riled an Ex I'arte Application to Recall Writ af'

    Execution and Cancel Abstract of Judgment.

            On December 16, 2021, Ivan Renee Mnore filed an Opposition to the Ex ~'arte Application.



                                              llISCUSSION

            Bragg seeks to recall and cancel the Writ vi' Execution issued September 27, 2021 a~~d

    abstract of judgment issued November 1G, 2021 on the grounds that both are based on the Final

    Judgment purportedly discharged by the bankruptcy court on January 7, 2021. Brag; contends

    en~er~ency relief' is warranted because the cloud resulting from the recordation of the abstract of

    judgment will impact the refinancing ot` Iter home if not cleared. (See CCP sec. ~97.310(a)

    ("Except as otherwise provided by statute, a judgment lien on real property is created under this

    sectio~i by recording an abstract of a money .judgment with the county recorder.")) Bra~;,~ alleges

    hec "loan cannot close" and she "will 1<~se [her] rate lock and suffer substantial monetary damages"

    if' the lien is not cleared "immediately." (I3ra~~ Dccl., pare. 7.) Eira~g also caitends she is at

    immediate risk of invalid collection from Moore pursuant to the live Writ of Execution. Bragg

    alleges emer~Ency relief is necessary to avoid losing her "rate lock" for her refinancing and to

    avoid collection under the Writ of Execution.




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            Lira~~; has not established exigent circumstances with respect to her alleged retinancinb.

   (CRC 3.1202(c) ("An applicant must make an affirmative fiactual showing in a declaratio
                                                                                           n
    containing competent testimony based on personal knowledge of irreparable harm, immediAte

    danger, or any other statutory basis for granting relies'ex pane.")) Brag 's Declaration is vague

    regarding the specific property at issue, the rate lock, the extent of monetary damages suffered
                                                                                                     if
    the rate is lost, or any other relevant details. Moreover, there is no supporting evidence showing;

    that Braggy leas a rate lack or that the rate lock is "immediately" threate~7ed by the lie;» from the

    rccordatian at'the abstract ofjudbment (e.~., a letter from the lender on this subject). I3ra~g has

    not made an affirmative factual showing ofirreparable harm or immediate danger from the abstract

    of judbment. However, the risk ~f Moore levying nn Bragb's assets under a pntentia(ly in~~alid

    Writ o1'~xecution represe~its an immediate danger to ~ia~;g. Thus, the Court r~;aehes the merits oi'

    Che Application with respect to the Writ of Exc.cutian.

            Un January 9, 2017, the bankruptcy court granted Brae a "discharge under I 1 U.S.C.

   [sec.] 727."(RFJN, Exh. 2; I l U.S.C. sec. 727(b){Except as provided in section 523 of this title,

    a discharge under ...this section discl~ar~es thc: debtor from all debts that arose before the date of

    the order for relief under this chapter•...")) F-Iawever, a "discharge wider section 727 . . . does not

    discharge an individual debtor" Pram certain types of debts enumerated in 1 I U.S.C',. sec. S23(a).

    In particular, a discharge under section 727 does nat discharge an individual debtor's debts `'for

    willful and malicious injury by the clebtar to another entity or to the property of another entity,"

    among; other exceptions.(11 U.5.C. sec. 523(x)(6).)

           Following Bra~;~'s discharge, Moore filed an adversary proceeding in bankruptcy court

    arguing that "the judgment i~l L,ASC case number BC48QU13 is NONDISCHARGF.ABLE DEI3"I'

    PURSUANT TU 11 U.S.C. [sec.) 523(x)(2), (4), (6) and (11))." (RPJN, Exh. 6 (Adversary



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    Proceeding Complaint, para. 78.)) The ba~ikruptcy court "dismiss[ed] the adversary proceeding

    with prejudice due to [Maare's] failure to pay the sanctions" of $13,Og0 due under a sanctions

    order, without addressing Moore's arguments under Section 523.(RFJN,Exh.6(11/17/17 Order.))

            Bragg's Ex Parte Ap}~lication does nat address Sectian 523(a) at any point. Tltis argument

    is not new to Bragg and is reiterated in Moore's Opposition to the Application. Given that the Final

    Judgment followed a jury verdict finding Bragg liable for conversion and trespass to chattels in

    the amount of $3.15 inillian based o~i alle~aticros that Brag took Moore's property after evicting

    him, the Final .fudbment may represent a debt for IIrag~Z's "willful and malicious injury ... to the

    property of another entity." (11 U.S.C. sec. 523(a)(6).) I3ra~;~; does not arbue the dismissal cif

    Moore's adversary proceeding constituted a determination that the Final Judgment was discharged.

    On the other hand, Judge Fujie found an December 1, 2021 that "the Money Judgment evidenced

    in the final Judgment was itself discharged in Defendant's bankruptcy proceeding," indicatinb that

    the discharge may have encompassed Moore's judgment.

           Bra~;g's Lx Parte Application }provides insufficient ~;►•ounds for• Department 1 to determine

    on a~~ ex parte basis that the bacikruptcy court's January 9, ?017 order dischar~;inb T3ra~;b's debts

    encompassed the f final Jud~inent (or its monetary component). "There is no evidence that any judge

    has yet addressed whether the Final Judgment falls under Section 523(a)(f ). E-Iowever, the

    dismissal of Moore's adversary proc~edin~ tivith p~•ejudicc~ and Jude Pujie's December 1, 2021

    Order indicate the Final Judgment was indeed discharged. This critical issue hoes to the validity

    of a $3.15 million jud~meYii at the heart of this litigation and is much better-suited to determination

    by a fully noticed motion before Jude Fujie rather than an ex parts application before Department

    1, particularly where Jude Fujie may already have same familiarity witl~ the issue.




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            Finally, it is unclear what statutory mec
                                                      hanism or authority Bragg relies upon
                                                                                                  to se~;k
    cancellation or recall of the recorded
                                             Abstract of Judgment anti resulting lien
                                                                                         . (See CI'E' sec.
    697.310, e~ sey. (statutory scheme for jud
                                               gment liens an real property)) It is thus
                                                                                         unclear from the
    Application that the Court can grant the
                                             requested relief with respect to the Abst
                                                                                        ract of.fudgment
    and/or the lien.

           Hence, the Court declines to now discharg
                                                     e,   cancel, or recall the AbsCract oi'.ludbment
                                                                                                        and
    Writ of Execution. Instead, in order to maintain
                                                       the status quo pending determination cif
                                                                                                  this issue
   and to avert any immediate danger to Brag
                                                 g from the Writ of Execution, the Cour
                                                                                           t stays
   enforcement of the Writ of Execution pend
                                             ing further order. Moore is not permitted
                                                                                       to levy nn
   Bragg's assets pursuant to the Writ of Exec
                                               ution pending a fuial determination of
                                                                                      whether the
   monetary component of the Final Judgment
                                                  was discharged by the ba~ikruptcy court.
                                                                                              1'l~e
   Application is otherwise DENIED WITt~OCJT
                                                 PRE.CUDICE.




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                                                           ~ DECL~R~T1C3'V OF I"+~AN RENE MO(JR~
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                                                           ~ Judie: B. I2usselt
~~                                                         )Date;
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21 j TO ALL PARTIES ADD
                        TO THEIR ATTOR:YEYS OF RECORD:
22               To ail parties and to their attorneys of record herein, please take notice that this Creditor,

~~       NAN R:ENE ~vI00R~ wilt mope this Court fnr an Order of i~isqualificatian and or recusal of

~4       Jude Barry Russell from this metier under the mandatory pr~4~isians cif 2$ L .S. C"(lD~; ~ 4~3;
         ~8 L~.~. C:'t~~F ~ 1~#~t; wind ~'t~de of Conduct for United States Judge Gannc►n~ 1, 2, and 3.
~s r




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                    This c~tit~n ~~ili also+ be used iFpan the attached Mernc~r~nd~~rn c~#'Points and
          Authorities, the I3eclaratiorilAffida~it ofIVAN RE?~IE M(3t}RE, ~i~e exhibits at~ac~ca, the

     ,~   court's files and records acid upt~n such other e~r~deace as may tie presented at the hearing in this
          matter.
                    Wherein Jude Marry Russe~I in c~per~ court h~ m~c~le disp~ra~ing anti condescending
          remarks to the Creditor Madre to b~liitle, embarr~.ss, harass, and annt~y this Creditor l~ioore.
     c    This .turlgc Russell has also used the prestige of the United Stites ~3ankruptcy (:;o+~-ts to assert
          his insidit~us racial aY~d perst~nal animus and ~ia~ against this Cretiitt~r t~1c~t~re ~ bla~l~ ~na1e.

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                    Judge Russell has made it clear That h~ will not and cannot act in a judicial fair and
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a~        lawful manner. lodge Russell ~s ire tr~tal violation atthe Unified ~tatss Judge Cannr►ns 1, 2, and
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          3of handbook, Judge Russell ha.~ made it clear ~k t~i5 conciescendin~ and outlandish conduct he
          ca~u~ot and will not be impartial tc7 this Creditt~r Moore. Gr~ditc~r ~~oore filed request far
12
          clarification can November 16~', 2018, dncket (l 86~. to ensure that this creditor was ~~ot in
3    J
          vial~tic~n cif any F3ani:ru~tcy rules and or rules of Court. {Exhibit H)
l~

1               Judge Russell ignored, scoffed, and disregard this crec~itar's clarification req~iest. NoK•
          based on Judge Russell°s ~~~ilful misco~lduct to act unfair, bias ai~~3 impartial.. 1u~i~e Russell
~.6
          granted this det~tars rnatian to r~c~~tn an ill-fated hack faith ~ankruptcv based ~n a prior ruling in
i"7
          this creditor's ~a~~c~r which is nothing; ;Wore than. ~ rnc~tion t~ r~cc~r~~icieration by° this Debtor to
l~
          attempt to dischar~~ a $3.15{}.t?fi)0, judgement. This judgement u~as the result nfa 15-dz~y jury-
          trial which was ratifiers fay a Lt~s Angeles Supe~ic~r Cc~ur1 j~ic3~e. end affirmed by the Califanlia
2C        Court of` Agpe~l Second District also nc~n-dischargeable.



r~
                  This debtor tiaras found unazkin~ousl~- guilty of wiifu! nz~liciaus Theft and harm cif this
          Creditor's and c~t~~rs personal property ~~aiu~d aver ~3,C~O,t~t~{~. This unlawfi~J conduct falls
23
          squarely in total violation ~f l1 t;#.S.C. 523 (a) (6) therefore non-dischargeahle. :tudge Etussell is
24
          avell aware of these facts yet he r~-c~p~n this bartl;naptcy that his been clnsed for alrttost 2 years.
25
          This is to further harass and annoy this Cr~d~it~r ~.nd threaten ~~d deny this Cre~iitflr justice
          based z~n Judie Kussell's insidious racial bias a~,air~st bl~c~ men and imp~.rtial c~►nducl.



                                                                                                                      O l~0
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                   "I't~is C'redit~r Moan: mangy• times infr~rn~ed Judge Russell t3iat this debtor I3rag~; «~as
           unlawfully h~ldin~ and hiding millions of dc~t3~rs ofthis creditor's and other pers~anal property.
          Inclt~din~; ~~idin~ over $~50,0~0 in cash belong tc~ this cr~di~or ivic~re. In direct ~ric~lation of the
          Bankruptcy rules. r'~.Isrr, a~i I`+~r~vern~r 8~~, 2013, Los ~ngeies ~uperi~r Court Judge Rosenblatt
          in a written r~rder, ordered the D~btar Bragg to return al! the subject property back to Moore.
         ', This B~btor has b~~n in ~filful ~~=ic~lation cif that order fnr over 8 years, also curing the pendency
  6       of her varic~u~ bankruptcy filings.
     t



                   Again, ~as~d on Ju~~e Russell's insidious racial bias ~~~ir~st Mack ~~en and impartial
          con~~ct Judge R~►ssell dici x~othin~. Based can Judie Russell's bias he in fact supported and
 9
          emboit~~n the debtor's Brae ur~tati~~ful conduct in the hiding cif this creditor's and tethers assets
          ~~alu~d in excess caf ~,fJO~,flQO. Ire direct. ~~iolatic~n ~fth~ Bankruptcy rules.
y~

..~
                   Several months ago. ti=ia a V~Trit cif Execution issues b~~ the Los f~ngeles Superior Ct~urt
 ~;       the Creditar'~toare vtias authorized anci present c~~hen the Los A.t~geles Sheriff s i?epanment
          raided this i)ebtor's Brags resident and found ~ 3arge
 4
                                                             r atnc~unt of this Creditor's i~lt~ore and
          e thers per;~nal property. `I'he ti~~ru same propert~~ that t}~is debtor claimed under p~naliy of
          perjwy she had no knowledge or information cif the wiaereab~uts cif the personal property.
16
         Notwithstanding this fraud and unlaw-fuI conduct. Judge Russell set an Order to show Cause
1?
         j against the Creditor ?~1ac~re. (Ex~i~it J, ~, ~;,_'1~)
~.8

19
                  This 17ebtor filed an ~1x-~a~-te Appiicatioz~ in the Los Angeles Superior Court in
2C'         December 202 .The ~upervisirig .Iut~g~ in#'corm this De~tc~r Brae tc~ refile d full notice mc~tidn
         i
~~       ', to address these issues. The D~btc~r ran to Jtid~±e Russell because the I}ehior is well aFvare cif

22       Judge Russell insidious racial bias and animus ~~ainst an~~ and all black n~cn aggressively.

         prot~ctin~ their presperty° rid; is ar~d personal rights under thy: 1~~=.
23
         T3ated; F~bruary~ 10{h, 2022
2~
         Respectfully Submitted:
 ~,



         Ivan Rene Moore
         "I'he largest C'reditt~r
                                                                                                                       ~.


                                                                                                                     Chic(
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                                       ~'IEt1~IORANDi~?~i l7F Nt)INTS :~~VD At1TI~C~~II"I :


                    T.        Ii~TR011UCTIC)lti
        _,
                          Requests ft~r disqualification are rarely appropriate, but this is the rare case where Une is
        r
              necessary. Judges msast ~3isqualifi~ t~emseives "in and° ~roeeedin~ in which jtheir] impartiality

              might re~sonabl}~ be questic~n~d,"(28 U.S. Code ~ ~55(a)), including ~~-her~ the}f have any°
        t,
    rP       "personal bias or prejudice concerning a party, car personal know=le~i~e of disputed e~~identiary

    8         facts con~ernirsg the ~raceeding"(id. ac ~ ~'S(b}{1)}, Vvhat matters "i~ not the re~lity ref big ter

    9         prejudice but its appearance." Lit~ky7 u. CTnit~d ~~tutc%~, 51~ U.S. 5~0, ~~$ X1994). Indeed, the test

 ~0           for disqualification i:5 a~ objective one. Icy,

 11                      Here, in presiding over tie n~atttr ~e~tainin~; qtr. 't~io~re in tl~~i~ Bankruptcy ease, Judge..
 ~~
             'i, Barry Russell disr~~~rded and abandoned the f ndep~ndencr~ cat his Office and lent the preszi~e of
 13
              his Officer advance tic private interest of the C?ekatc~r If marl}~ Bar~t~ur,{aka) KiYz~b~rley
1~
             ', I~~~artin-~3~~aa~.
,s
~~
                         Judge, Batz`v Russell`s it~r~partia(ite in that maker pertaining tc~ ~~r. i~~oare iii this
 ~~
             }3;~n~;rupt~;t~~ 4 e is r~~tst~nat~l~~ ~~ r~~~~siic>~~ed ~~ic~ a r~~~on~~lr` p~rsc~~~ ~~r ~hc~ con~~~unit~ rill
27
,~           ~ind~~ubiec~lr~~ r~~~.h ~9-~~ cor~~:lusion ilx~2 that Barry Russell. Judge of the United States ~~nkruptc~~

             Court is biased against Mr. ilrlaesr~ ar~d does not have the abilins to tie impartial.
l9

LO                       Additionally, an ter a't~aut February 7. 2022. Judge, ~3arry ~usse3l acted as Attorney for

2~.          Kimberly Bar~aur.{aka) Kimberle~~ Martin-Brae and nn information and believe engaged in

~1           i mpermissible ex pane cummunicati~n with Attc~riae~ r~pr~sen~ing Kimberlc Barbour,(akaj

^ ~          ~trt~~erl~y Martin-Hragg tc7 execute an order fo show caul vvi2hc~ut an}; evide~-~ce that Kimberly

~4           Barbour,(aka} Kimberley l~lartin-i3ragg filed a gaper notice of motion for Order to Show cause
L .~~
             in tie instant case and no (propc7sed] <)rder ~~as e~~er attac~~ed tt~ the purported fc~r Urger to show

             cause yet, Judge. E3arry Russe~~l his si~t~att~re ire the frivc~lo~.s (:)rc~er tc~ sl~ow,~ cause.
                                                                                                                                 d`
                                                                                                                                  ~a
                                                                                                                                 ~.

                                                                                                                               Ol<~
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                    ?Most importantly, when .fudge, Barry Russell affixed his signature to the Order to show

          cause on Februu~ 7, 2fJ2~, he was a~~re of the state Cc~u~t Order cif ~ecerriber 21, 2022.

         (~lec~:s~ .see, Exhibit A). iJn D~c~n~kfer ?1, 20 2, the Calift~rnia Sup~ric~r C'caurt Super~lisin~

     r    Jude, ~fonbrrr~le Jrrr~ge David .I. C'z~wats, ofDe~urttrrent 1, ct3rreCtly stated that:

                    Them i~ nz~ evidence that and yjud~~ hay yet acidresseri r~~htther the Final .ludginent fal
                    tz~ider falls under Section >23(a)(6). (P. 4,, !(2, F~annra5l~ Judge l?uvirl J. Cowan,
                    Department 1 December 21, 2021's C)rtler ~#taehec~ herein as Plaintiffs Exhibit A,
                    true anci cr~rrect ct~py t~f the State cr~urt Clyder of Decezr~~~r 21, 2421.).

                   '~~oreo~~er, u~het~ J~~c~~e, I~arr~' Ru~s~11 a~fiKed hip sigr~~ture tc~ ih~ Order to show cause on

    y     ~~ebruary 7, 2022, he u~Yas aware that Discl~ar~~: c~~~c~c:~~ 11 U.S.t' ~ 7?7 dues nat disc~ar~e ~n

1         ineiiuidual Debtor debt "#i~r u~illf'~~l <~nc~ n~~(icic~t~s ii7j~ri~ b~~ the t~~~atc>~- tcx an~atlltir etttit~~ cx tc~ the

          prc~perty af'an~the~~ entity. {.5•ec>,. 11 (.i.S.0 ~ ~23(a)(6).}; and that he Judge, Barryr Russell did not

12       discharge the of ~3.i5 miltic~n the money judgment. further, the matter ~o~~c~rnin; the of X3.1 ~

13       million money and prap~rty judgment was tin Appeal by the Debtor F3rag~,tk3arbour in the
14       Caii~ornid Second District C:`ourt cif A~~eals i~~ case ~Iot~re 4F ~ra~~ nurn~er ~327fi366 pending
l~  J

         find adjudieatic~n.
_~
                 '~ntwithstandin~, Judge, Barry Russ~:l] ignor~c~ the clearly established Fed~erai Gaw, and
1.;
         because of his bias and prejudice and insidious racism against Mr. Ivlc~ore, and Judge Barry

         Russell inability tc~ inl}~artial i~l matter cc~i~c.~rrzin~ 4~[r. M~aore, Judge Barrs~ Russell affixed leis
~~
         si~natur~ to the dacum~,nt car t~rder drafi'tec~ try Debtor's cr~unsel and rec~uesied Mr. Moors to
L C'
         appear tee shc~~v cause when Juc~~;~ I3arty R~~ssell kne~a~ them was nn legal ji~stiticatic~r~ #or such a~~
2I

22       t7rd~r.

~3                 Interrtivnal and ~1~luli~ir~us Injuries under 11 L:SC~ 5~3{a){GJ,}.

24              (fin 712~f 2 13, the Stag; curt Jur~s and Jude fori~~d '4'Is. I3ra~~ lia~lc; in tr~n action to Mr.

25       Moore for ir~teniic~nal anti malicious injuries. Specifically, the State Court Jur}° and Judge held

         ~41s. 13rag~ liable to 1~Sr. 4loore fir t'c~nversion, and a~~arded'vir. Nlac~re X2.5 million in ~ian~ag~~



                                                                                                                                       0~/3
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        and ~b50,000.i~0 in riamage~ fnr last pratits for a total of b3.i5 million fQr con~ersian (See,

        ~ Exhibit B).

            additionally, the State C't~urt jury faund ~?Is. bird ~ liable tc~ ?vlr. Moore far Trespass try

  r     Chattel an~i a~,~arded ?~~Ir. 111r~c>ore ~2.~ in3llion in dan~a~es fc~r iresJ~~.Ss t~ s:hattel, anc~ ~65~i,004.00

        in dan~a~cs far lost prc~fts for a total o#'X3.15       iltion for trespass to ch~rt~l (S+~e, Exhibit C).

        Accordingly, the tatai amount of ihe,jury a~jard for his. F3ra~~;'s inattentirana! ar~d malicious

       '~, injuries to t~[r, Moore ~d tc~ the property= c~f`'vlr. I~~oore and others was $6,3gQ,000.00. X6.3
  u
       ', million dolls~rs).
  a
                Subsequently, on November 8, 2013. Hvn. Judge Michelle Rnsent~latt whn presided over
1~
        case reduced the jury award to ~3.ia million far the intentional and malicious injuries to fir.
1.1.
       'Moore and t~ the Property ~# Mr.'vloore and others caused by Ms. Bragg by u~ay ref
12
        interlt~cutory judgrneni. On May= 23, 2015, the Court entered a fiinal Judgment incarpc~ratin~; and
l~

        sup~rseclin~ the Int~rlc~cutc~r~v':Juds~ment.
1~

                t)n {)7t22,'~?O l b. Ms. Brae filed an Appal in the Court ~f Ap~eai fc~r the State c►f

~~      Califarniaz Second Appellate District, Division Five, challe~~~;i~n~ the Judgment in BC~$OOi3 tta

 "7     wit :~!Is. ~3ragg caused intentional ~rtc~ rnalicic~us injuries to 15rir. Mc~are. Exhibit D).

1~              W''t~~ile the Appeal was pending, cn S~.~t~nzt~er?8, 2016, Defe~~dant, Kin~berl~ :~lartin-

        Braa~ aka Kimberly ~3arbour fil~:d the instant Chapter 7 ~3ai~ruptcy.
~'0             On January 9, 2t~17, the A~~ikruptcy Jude issued an Order discharging Kirn~rerly
21
       Martin-Brag's debt iindcr 1l U.S.          § 727 and notice duly sent to all of Kim~rly Martin-
22
       Brag's consumer creditors. (Exhibit E),
23
               On March i0, ~t117, pursuant to 11 (1.S.C. ~ 5~4 anc~ Local Bankrupts}° rule 6b~7-L Mr.
24
       Brad D. Krasnot~`, the United States Trustee abandoned all ~1"rustee's rights, T'itl~, and interest in
a~
       real propem° lacated at 6l St3 ~hen~ndc~ah A~>enue, Los Angeles, California 9006 and 6i 60

       Shenandoah Avenue, Lis An~el~~, C;alif~rnia 9QC)S6. (exhibit F}.


                                                                                                                            bt ~~
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                   C)n 918/17, the California Second moppet]ate C.c~urt of appeal re~idered a discission

           adverse t~ its. Bragg end r'lffirmed the Final J~dg~r~~et~Y fratn the ~t~te Trial Curt in Court cif
    2

    3      1~P~ea1 ca.~e #: 827636.{Please See, ~xl~ibit C;~),

                   ire   aht~ndanc;~ r~#~~;aution crn N~~rernber lfi'~', ~U18, Credii~r ~~~ore filed a rn~tian

          ~ requesting far cl~rificatic}rt cif the Bankruptcy caurt t)rder regarding t}ie Judgerr~ent and t~rrl~r cif

           Los ~n~~l~s Sup~ric~r ~ Dort Judge Hon. ~vliehel~~ Rosenblatt in the ~moua~t of X3.15 'Vlillic~n

          ~ ~c~llars. {Please fee, exhibit H~
    8
                    This c~bli~ation arising aut tafwilitul and '~talici~us intent~c~nal Tort of Trespass to
    9 '
           Chaste! and Con~~rsion of personal property in Los Angeles Superior Coup against the Debtor
~~
           Kimheriy Martin-Brae iii cue number BC48~1{}1 ~ which was pending; Appeal in the California
~~
           Curt of 4ppeaIs flf California, S~ccant~ ~~pellate District. ~Di4~ision (one in case numiaer
i2

~3        8272~4~.

~.9                On Sept~rnber 27,?Q21, '~~1r. 'Vloc~re c~blained a u~rii ofExecution for the X3.1 ~ millian

15 ~ based on the final J~id~;~ment to v~-hich the'~i~, Bragg committed Intentioa~i and malicious

~~         injuries to fir. ~1oore and to the ~'roperr}~ c~f'Vlr. Moore and others.

27                C}n November 1fi, 2021, Mr. I~9cx~re c~btain~d an Abstract o~'Judgment antl rec~rr3ed the
l~
          abstract judgment tin :►~ovember 24, 2021, which constitute a Lien a~zainst 615{ and G16t~
~~
          ' Shenandoah Avenue, I,t~s Angeles, C~ 9£ 056 ~.~ ich Defendant claims are her real properties.
20
                  On I:)ecember I~, X021, jud mint ~iebtc~r, kimberiy Martin-Braggy aka Kimheriti- ~3arbour'
2
          (:;Ivls. Bragg") filed an ex parts application to recall the lawfully executed V+~rit cif Execution and
LG
          ' to cancel tl~e lawful executed. abstract judgment.
23
                         •   tin December 1fi, 2021, Mr. 1~~oc~re filed an f~pposition to the Ex parts
29

25                           application,

                                                                                                                          ',~
                                                                                                                            e~
                                                                                                                            00
                                                                                                                            rts



                                                                                                                        O[!~
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                            • On December 21, 2021, Nt~~~, Judie David J. Cowen afthe C~li1'arni~ Superior

                                 Court, Los ~nge3es, issued an Order Staying the enli~rcem~nt of the Writ of

     ~~                          ~xecutic~n pending a final det~rrt~inati~n caf w°nether the monetary com}adnent

                                of the Final Judgment ~~ds discharge by the ~nkruptc~• court. (:Please See

                                Exhibit A).

                     Ranier than seek final determination of whether the monetary cam~nent of the Fi

           Judgment E~=as discharge by the bat~kruptc}' court under 11 U.S.C. § SL3, Ms. Bragg and

           !~ttarney Mr. Steven A. Schuman's SB~t ~#: 1~283~, de~leci the I.a~vful C7rder of Hon.

           California Superior Caurt ~uuervi~in~ Jude. Hnntarabl~ Judge ~a►~rd1. Cn~rrn, ~,f'
 ~~
           1, and instead. filed thrs frivt~lt~u~ Iv9~atic~n ft~r an C)rder to Shaw C~u~e why I~~an ~.~ne i~~t4t~re

          not ~e held in contempt #"~r his willful tiriolati~n of the ~3isr~har~e inju~ctio~i cinder 1 t U.S.C'.
12
           52~(a),
?3
                     Title 28, U.S.C., Section 455{a} states: Any justice, jud~;~, nr magistrate of the
14

1~        States steal! disqualify himself in any prc~ceedin~ in which his impartialit}~ might reasonably

i~        questioned. In the present case, Jude, Barr~r Russell impartiality i~ suk~stantially and materiall

~~        questioned. The basic requirement of constitutianal due prt~cess is a fair and impartial tribunal

~g        Judge, Barry ku~sell is t~.ot a fair anti ina~arti~l trib~i~lal in the natter eonc~ernin~ !vlr. I~flc~ore.

i7
          ~nga~ing in ex pane cc~mmunic~atic~n. ~viCh 13ebtor's Counsels, Jude. ~3am' Russell ratified

          frivc~l~us order tc~ sha~~ cause at~d refused tci rule tin ?t~1r. ~~aore's ~~c,tic~n fc>r Clarifiea~ion
~i
          that Mr. Moore f led on November 16, 20l ~. (I)kt. i8bj. See, Exhibit Hj
22
                     ~Ir. Ivlc~re's ~iotic~n sought fc~r Clarification st~u~;l~i tv clarified wwhether Judge, Barry
23
          Russell attempted tc~ c~ischar~e the 53.15 million ;~+Ione~~ that is secured under 11 U.S.0 §
29
          ~23(a)(6j. j Bui, becac~s~ of Judge, ~3any Russell's bits, pr~juaice, inabiliiy to be impartial in the
25
          matter cr~~lcerning .~vlr. ~loor~ anti t>ec~use of insidious racism tou~~ard tier. vtoc~rc, Judge, Barry       ,~,
                                                                                                                         u~.
                                                                                                                          oa
          Russell ignored Mr. Mot~rz's Motion fbr Clarification.                                                          ro



                                                                                                                       0l~G
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                   Vv'hen Creditor :Moore in c~~en Court requ~;stet~ a ruling and car clan ficatian.:Judge., Rarn~
     i
          ~ Russell stated to credite~r "14~r. ~Vtz~c~rc you ran read`? Mti° order did nc~t sts~~e that the
     2
          ~ discharge was under 11 L`,S.0 X23(a)(6) anr3 the ruling Spcaks for itself'.

     4             Bias ear prejudice on the part of ~ judge may exhibit itself prier tee the Trial by acts r~r

          ~ statements on his Ur her part. Or it play appear du~in~ the trial by reason ~fthe actions ofthe

          Judge in the conduct of the trial, If it is k~av~n try ex~isi b~for~ the trial it furnishes the basis fnr

           disqualification of the judge to conduct il~e trial. Sectio~~ 1 ~~, T itle ?8, U.S. Code. Krupp v.
     8
          Kinreu, 232 F.2d 458.{bth Cir. 1950, at 4b5. Rehearing denied 23S F.2d t29, cert. cienie~i 352
     9
          ', C1.S. 892,77 S.Ct. 131, 1 L.Ed.2d 86.{Bald errtphasis added}.

                  Furthermore, United States Supreme Court held that I~isqualificatian ofajudge is
,-
~~
          j if~an c~E~je~tive observer ~~-ould entertain reasonable questions abaut the Judge`s impartialit;~. IF
'.
          ~ Judge's attitude or state ofmini leads a detac4~ed observer to cc~r~clu~le that a fair end impart
1:~
          ', hearing is unliket}~, the judge must be disqualified. jEm~hasis added]. Lrteky v. tJ.S., 114 S.0
 ~_~
           1 1=17, ll62 ~199~~.
,
:. J




 _e                Thy test to be applied in evaluating recusa! and di5quali~icaiic~n afjud~es ~~as clearhr

?f        in t3~rg~r v. Llr~itcei States. 2~5 t .S. 22: D{~es the [Declaration] t~f Yreju~ice giv°e fair support

"~ v      the charge of bent o~ mind that may prevent or impede in~~artiality, ofjuti~ment(?25 L~.S.).

~~                In the present case, there is undc~ubtedlS. a bent raf mind that prevents ar i
20        impartiality w°h.ich   mandates the disc~ualific~tican Judge. Aa~-r~.~ Russel] frc~rn aiz}~ matter
     1
         '~~Ir. Maore.
LL
                  ~t~e t .~. Constitution reco~ni~.es that hurr~at~ be~in~s hive `'~crt~i~ inalienable rights"
23
          u~~hich they are ei~tit~led which arise a,~ a matter of natural right. "I~h~ most irz~pc~rtant ofthese
24
~;        are called "fundamental Rights." Fundamental Rights are ri~hls that are so "implicit in the

         flf or~i~red libertir„ that "neither liLer~y nc~r justice ~~au3d exist if they ur~r~ sacrificed." See 1'
                                                                                                                       s
          v. C'r~nnectieut, 342 L.S. 319, 325, 326, 58 S. Ct. 149, 152, 82 L. Ecl. 288 (1937}; r~lcKinney v


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          ~ Pate, ~0 F.3d 1550, 1556(l tth Cir, 1994)(en b~nc}. Further, the Supreme Court has reeogni
     1
           that fundamental rights include thc~s~ guaranteed by the E3ill of Raghts as well as certain liberty
 2

 3        associalional and privacy interests implicit in the due process clause and the penumbra

 4 ~ constitutional rights. See Glucksberg, Sal U.S. at 720, 117 S. Ct. at 22b7;Paul v. Davis,424 U

 5 ~ 693, 712-13, 96 S. Ct. 11SS, l 166, ~7 L. F.,d. 2d 405 (1976). These special "liberty" i

 6        inclur~e "the rights to property and the right to due process clause, right to access the court
 7 ~ redress of grievances and the right to impartial
                                                      judicial officer. (T]he right ofaccess to the
 8
         ~ is a fundamental right protected by the Constitution." Delceww v. Wagner,l43 F.3d 1219 1222
 9
          Cir. 1 ~9$~.
1.0
                    In the present case, Jude, Barry Rus~elI not only ~xhibite~i insidious racism, and
11
         ' prejudice, bias, and lack of impartmality against black men, Judge, Barnf Russell lent the
12
          of his office try advance the private interest of one Kimberly Martin-Bragg aka Kimberty Barbour.
y3
                   Furthermore, Courts have repe~at~dly held that positive proof of the partiality ofa judge i
14

_~        not a requir~emet~t, only the appearance of partiality. See, Lilyberg v. Health Services

16       Corp., 48C~ U.S. 847, 108 S.Ct. 219 X1988). What matters is not the reality of bias or prej

17       but its ap~ara,nnce); United ~Stat~s tiZ. Bali.srrieri,??9 F.2d 1191 (7th Cir. i 985).

l8                Furthermore, the Supreme Court has toted and hay reaffirmed the principle that "justi
19       must satisfy the appearance c►fjustice", LQVITtt' L'.      LlrtltE'l~SfUJE.'S, 362   U.S. 51U, {1960}, citing C3~iet
20       v. Clnited States, 348 U.S. 11, 14, (1954). In the instant case Judge Barry Russell's conduct
2I
         nat sa#isfy the appearance of justice; rather, it depicts the ~p~c~ of bias, prejudice, end
22
         of impartiality which has caused Mr. Moore Constitutional injuries,
23
                  No man in this Coun€ry is sn high ghat he is above the law. No officer of the !aw mate
24
         that law at defiance with impunity. A!I the o~c~rs cif the ~overnm~nt from the hi h~~t tc+
25
         lo~v~st, ar~ ~r~aturc~ c~fthe 1~~~~. end asp bc~unc~ t~ ca~a~~~ it. i~'nit~~'.'~t~rt~s rr. L~~, t0~i L~.~. I516,
                                                                                                                                   v
         1 S, Ct. 240, 27 T,.Ed. 171 (IS$2).


                                                                                                                                Ot~$
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                    By the ct~nduct so alleged herein, Judge,$arr~~ Russc,ll has acted in contra~~ention clearly
     1
          established federal law and in contra~~ention of ?~1r. ~~c~c~re's ~`~ Aane~~~n~cni right to due process
     L


     3    Further, the lati~ is that. ~3ankruptcy C.'c~urt Jude mint swear an aath to uphcald #h~ Constitution a~

         J the United Mates. Judge, Bam,~ Russell's cc~n~uct in the matter cc~nc~rning her. !~in~re in this

          irrefutably wars against the united States Cansiitution anci his so far caused ~lr.

     r    Constitutional injuries and I~~r. Mc~ore's Civil kights and his f"undam~ntal rights to access the

                  Judge, Bam R~issel]'s csnduct zn this prt~~e~ding as ~~~ell as his disparaging and legali

          unjustifiable comments,intirnidation~ and treating, Mr.;~1c~ore harshly and differently ~~hen pa~-ti

          were similarl}~ situated, witl undt~ubtedly lead a reasc~nable prudent person or a person of ordi
 1C
         'sensibility to conclude that Judge. Ba~xy Russelt, is bias, and incapable cif being impartial, as
 11
         ( Jude, Barry Russctl must b~ disqualified from presiding c~ti~er the maet~r concerning NIr.
 ~2
         C forthwith.
 13
                  Accordingly, Justie~ cries out for Barry• Russ~li, a Jude of the united States B
14
         ( Curt to forever be disqualified frvrn presiding over any matter concerning h9r. Moore in order
~5

16 ' presen>ed Mr. tiioc~re's rights under clearly established federal law and ~Vtr. Moore Civil Rights.

~7
                 1. THIS C+DL~RT LACKS JUIti~DICTIt)N O'~i THIS SUBJECT ?19AfiTER
l~
                 {7n these issues this court itselfordered that the sut~ject matter of the Conversion and
19

20       Trespass found by thc~ jury in Madre vs. ~vlartin-Brae, I.c~s A~~eles Superior Couri Case

2.? ', Nusnher E3C ~f~001 ~, anti a~p~al~d by Bra~,~ to t~~ California ~'ourt ref A}3peal Case ?'~It~.

2~       82763b6 u.as a rnattcr fr~r the State C'c~~~rt ~s t~~is Iiankruptt;v court stated in open Cr~urt.

2?         This court has ch~ascn now to ignore this anc~ in dc~ir~g so is displaying its malice end animus

2~       for Mr. More. The discharge ~~as on January° 9`~', 2017, during, the pendency Uf the debtor'
,,
 J
         Bragg's appeal.

                                                                                                                         an
                                                                                                                         c;,




                                                                                                                    D!~ ~'
  Case
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                   The C;t~urt cif Appeals upl~elc~ fc~r Mr. Moore on ~~pternber nth, 2{l l ~. Bragg did ~~ot
     1
          appt:al this ani° higher anti there no~~ remains a judgment in the amt~unt of~ $3,1X0,000

          outstanding in favor of l~Ir, I1<ioore and c~win~ try the Debtor Bragg. {4ee Exhibit G)

                  Alm, during a relief frc,rn stay' motion J~.~dgc Rus:~ell granted the relieffrom stay motion

     c    regarding the r~~~:ry same case aid perst~nal propert~~. t)n Ja~~uary 1~~~', 2017, transcript pale 6

         I, line of praceed~ngs. this Court alsr~ stated in open court that:

           ::THE C'OI RT: T'he motic~❑ is quite dear. It's personal, the personal property. l`hat's ~~Jhat it

          is. I't~~ not gc~ir~~ t~ -- ycau're a ~sris~ht ~ uY, gnu can read, and srs }~c~u know whai The pr~pert~ is.
   9
         "That's what the rnUtion deals with. IYs a.5 if as f'ar as that property is concerned, ~i~hatever stas~

         there ~,=as is lifted. Anci Fc,u ~~n fight it out to ~ our hart's content, but nat in this Court. It

         ~~iil t~~ els~w°h+~r~."(fee Ex~ibi# I)
~ ~
                   This court has no jurisdiction open this Judgment. Therefore'vir. 1VlQore appears
i .i

         specially tc~ coniest jurisdiction. This court has displayed a continued bias for Kimberly Martin- j
_~.•~
~~       Braggy{"~ra~,~t"~) Tbis I~ebtc~r stUle prop~ri~- valued in the millions cif dollars. "Phis debtor has

l~       been. found to b~ a ~t~n~rerter and a trespasser by a civil jury and af~rz~ned ~}• a I.Us Angeles

~7       Superior Court Judge Rosenblatt. "The jury{ found s~eci~ically that Br~~~ i~atentionally

~~       committed the irrtmaral tart afconversian end tsesgass tc~ chattel and awarded Mr. Moore ~~er
,~
         $S.fia0.000.0~.
20               fihe California Court of r~p~ais affirm+~d for Mr. Moore a,5 this ~c~urt ujell knows. This
21
         court has chosen nt~~~• to i~rn~r~ t4~is at~d in dr~in~ so is di~playin~ its ~antinued ~~rnalice and.
22
         animus against this creditor her. Moore for asserting his personal and ~raperty rights,
23
                 This debt cannot be discharged in bankruptcy, as This court well knows. To discharge this
24
         immoral int~ntic~nal theft debt would b~ t~ntarric~ nt tc? allu~~ina a thieftc~ keep all the items r~°clued ~
Zu
         in the millions c>f dollars that Brag stale, thin tc~ alio~~ her to discharge tl~e award the jur;~~ found. J      ~i
                                                                                                                            c~
         shy owed.
                                                                                                                            a.

                                                                                                                         a(z~
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                      In order to 4~ar~n 1~'fr. 4~ot~rz and show i#s bias for ~3rag~, this coon ffned Mr, Moore and

    ,, c~ismi~~eti his action against Braggy ~or'Vlvore~s failure. tc~ pa}r Brag $13, 0. ~~hiie ~rag~ av~~ned

        ~ this Creciitc~r?v1c~c~re o~~~r ~3,I SO,~t~O and ~isc> was unlaw~full~v holding ~:reditor's ~'Iaore ~~70,t)t~t)

        C in cash.

    5                 There was no Trial can the merits anc~ nc~t cane round of discov~r~ was permitted. These

        ~ are the hallmarks of a ~eniai r~fdue process anti a prejudice dis}~layed against I~~1r. ?~1c~ore.

                  It v as the same prejudice this court has displ~~ed Ca ~1~.:~Vlt~ore repeatedly that dismissed

        ' the action and that impc~se~i sanctions. While the Debtc.3r Brae unlaurfully kept ~~iilions oft~oll~rs

         Mr. Moore was in bankrupts}- at the time because of the actions of F3ra~g. and her failure far aver
i0
        ' eight years to pay the award the jury imposed at the cnnversic~n trespass trial.
s


                  Not onl} were Bragg~s actions found to he intentional, but thetiY were designed to deprive
~1
        Mr. Moore from yarning a Iivin~. T'he ,jury fund that Bra~;g's ac:tinns from Febnaary 2012 to
.L ?

        July 2111 ~ cast I~Ir. Mature ~ 1,3Cl0,0O{) in ic~ss of earnings. He has been withaufi this prt~perty since ~i
14

15
        20l 2.

~.6              'I'c~ allov~F Bragg to disihar~e this debt ~~=ould be a slap in the face this court wcauld display

3.7 ~ a total c~isre~ard to the sanctity nf'the Califr~nii~ State Court and Jerry. It u°ould nullify afifteen- ~

~. ~    day trial by jur}~. again, the jury found ursaniinousiy that Bragg intcntic~nal can~~erted and

19      trespassed upon the property offir. Mr~ore and ethers.
~0               There was an order for her and her attorn~i=s and assigns tc~ rei~irn this property tc~ ~rloore
21
        ~i~ned by Judge Michelle Rosenblatt on ~oven~ber ~, 2013. IIragg has been in ~•iolation of this ~
~2
        order since then. This ct~urt chose tc~ ignore this acid shod i#s bias for Bragg.
23
                 I/
~~
              !1
2~
                                                                                                                              .-.-,
                 ll



                                                                                                                           p ~ Z~
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    1             t~N .ILJLI''IT" 2421 B~SEb U1V A ~'RIT OF EXECUTION THE LOS ANGELES
             SHERIFF'S DEPARTMENT CQNDtiC'I'Et3 A R~1IllILEV~' Oti T~iE DEBTt)R'S
                BRAGG'S RESIDE'~i"TS A:~TD FOU~I~D MC}ORES AND t)THEI2.'~ PERSONA~I..
    3
                                                       1'I2UPERTY.


                 The Uebtc~r Bragg stated under the penalty of perjury for y~~rs she Brae had an}~-

         pers~~nally knowledge ~t~d or information re~~rdir~Q the whereabr~uis cif the ~er~onal property
    -~
         va3ued in the millit~ns of dollars.
    S
                 On July 7t~'. 2021, there u~a~ a RaidlLev~ by the Lc~s Ang~l~s County Sheriff's
    9
         llepartm~nt o~~ Bragg's sc~ cal]~~ r~si~ience which ~.vi1l ~~~Ip prnti°e is this caurt Lhat Brae has
tQ
         been lying to this ~aurt and man}7 other Courts and Judicial c~ffic~rs.
11
                  ~~r. Moore ws11 shc~ti~ this court thai ~4r~ ~ ~~as perpetrated ~ fra~~d upc~i~ this ~durt and
>~
         r~zany others. This proof ~k-ill take the farm of Bragg's D~e~larations under penalty of perjun~

         which contradict the~nsel~-es. `[`his }~rt~t~f~ will tike the Farm of~ Bra~;~;'s oven filings in this court
7

~~       which fail to te11 the truth. (See Exhibit J, K,L, M)

~b               Vv~hat are the court's t~uties w~ten a Creditt~r M~ac~re has alle~~d fraud t~f this specificit~~,

li       defrauding the co~xR, and clefraudin~ ~h~ L n ted States of:~mcrica, defrauding the State of

18       California.

~~
                                                           IV.
20
                             LEt~AL STANDARD FC3Ix DTSQLAI~IFICATION
21                                               28 I~SC 1~~
                "Whenever a party tt~ any proceeding in a district court makes anti Cl~s a time!}j and
22

23       sufficie~~t affidavit. that th~.judg~ More r~hr~m the matter is pending; has a persanal bias or

24       prejudice either against hint car in favor oi'any ads-erne party, such judge shall proceed nn further j

25       therein, but another judge shall be assigned to hear such proceeding.
                                                                                                                        .~
                                                                                                                          a~
                                                                                                                         c~..

                                                                                                                       ~~ ~~
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                      The affidavit shall stag tie facts an~i xh~ reasons for the ~elie~fthat bias or prejudice

              exists, and shall be #filed nc~t less than ten day°s before the he~innin~ ofthe term at ~~hich the
         L




              prc~ceedin~ is t~ 6e hard, ar ~acac~ c~~s~ shall ~ sh~w~t~ fc~r fai3ure to file it v~~ithin such time. 4

         n    party may file only= c~zxe such ~ff"~davit in ~~- c~.se. It shall be ac-conipanie~i by a certificate of

    .
    J        ~ counsel ofrecord stating that it is maz3e in good faith."

                      In C'uper~on v. A.T. ~1~larsey Coal C'~~., 1.29 S. Ct. 2252(2009j, Justice Kennedy said

     7        recusal can be effected even if not t~Y~der~d by~ ire disqua~iticd,juc~ge in order tc~ accord due
     8
              pruc~ess and its appearance.
     5
                      "Thy neutrality requirement helps tc~ guarantee that lit , liberty, car prapert}3 will. not be
  ~fl
             taken ~n the basis of ~n erroneous or distorted cc~nc~ption of the facts flr the lain." N7arshall v
 ~~
             Jerri~o Inc., X46 L S 23~i, 242( 1980 .
 S~
                     "lie above is applicable to this court by a~plicatian cif Article Sri of the United States
    .:s
             Canstitutian and in particular, under Stone v Powell,4?8[ S 4b~, X1976}. This Creditor Mioore
 -; r

    ~a       submits his good faith declaration attached t~ this mt~fiion

 t~                                                                  ~'.
 ~?                    I:FGAL STA~tiDARp FOFt MANDATC}~tY DISQ(1ALIFI+CATION STATUTE


                     28 U.S, Code ~ 455 -Disqualification atjustice,ju~3g~, or magistrate judge
1~
                    {a) Any justice,,judge, or magistrate judge of the United Stags shall
20
                     disr~utrlify himselfin any ~irc>ceeding in which his impaniaiity might reasonably be
2?
             questioned.(emphasis added)
'
~
,,, .~             (b) Ne sh~.11 also disc~uali~' l~in~sel f in the follaw•ing circumstances:

                   (1} Where he hus a p~rsort~l liras or preJtdc~ice cnnr~rning a party>, r~r personal

2            knowledge nfc~is~uled ~videntir~rv.~acts conc~ernif~K the proc~edin~;(emphasis ~cided)

                                                                                                                           ►„
                                                                                                                             a;
                                                                                                                             an



                                                                                                                         p / 2,~
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                   {~~ V~h~re in private ~rac~tic~ he se~~%et~ as lawyer ins the matter in controversy, car a
     i

           lawyer with tivhom 3~e pre~~iously pra~tic~d la~~• s~:rl~ed during such assc~ciati~n as a lav~y~r

     _~    conc~rnin~ the matter. 4r the judge car such lav~~}%er has been. a material wit7iess cancernin~ it,

                  (3)t~v'her~ he has served in ~.c~tlernrnental e~nplc~ym~nt and in such capacity participated

           a5 counsel, atl~~i~er car material witness ~oncernin~; the ~►rt~ceedir~~ or expressed ~n c~pinian

   ~ concerning t~~ merits cif the particular c~s~ in conerotiersy;
   :

   7               {emphasis added)
   8
                  (4) He knc~w~s that fie, indi~~idualiy ~r as a fiduciary, or his spouse ar miner child residing
   9
          in his household, has a ~inant;ial interest i1~ the subject matter ir► canlroversy car in a part;° to the
 iC
          proceeding, ar ~r►y ether interest that could be substantial)}~ affected by the outcome of the
11
          prr~ceeding;
:
~2
                  (5) He ~r his spouse, ar a person ~~7it~iin the third degree of relationship to either i~f them,
13
          i or the spouse of such a person:
~, c
                  (i) Is a party to the prr~~eedin~, or an of~~~zr, director, or trustee cif ~ party:
1W
_r                (ii} Is acting as a lawyer ire the proceedir~~;
.~ _~
                  viii) Is l~:nown by the judge to have ~.n interest that could be sut~stantially affected b}~ the

18 I outcome of the pro~eedin~;

19

20                (iv} Is to the juc~g~'s knowledge likely to be a material witness in the proceeding.
21
          emphasis added]
22
                  //
L~
                  ~1
~~
                  ~~



                                                                                                                        ~.




                                                                                                                      ~ ~Lc~
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                                                                  ti'I
                          THIS COURT HAS JURISDiCTit~~1 TC) ACT WHEN A FRAUD IS
                            PE~~'FT~AT~1~ B~Fi~RE 1T A DD HAS 1~OT ACTEI'~
                 '`I'he bankruptcy court may als~~ hear these m~ttcrs that neither arisz i~~~er, nor arise in,

        Title; 1 1, but are "related   to" a case under title 1 I.The `srel~t~d to"jurisdiction of the bankruptcy

       ~ courts "`is very broad, including nearlyY e~•ery matter directl;~= or indirectly related to tl~e
  G
       ~ k~ankruptc~'.",2$ li.S.C. § 157(cK I ); see also Stern v. 141ars~~lt, 564 U.S. 462, X74 ~2U11)

       (quati~g 2$ U.S.C.~~'1 S7{a)); tiVilshire Ct~urtyard. 72~ ~`.3d at 1287(~uc~ting Sassnn v. Sakt~loff`
  8
       ~ (In r~ 5a~sc~n). 424 F.3d $64, 8~i8 {9th Cir. 2Qt~5))."
  9

10               This court Elsa r~uated the 9~~' Circuit case

1 ~.             "The Ninth Circuit Banlcruptcy~ Appellate Panel (:BAPj has applied the test for

s2     deterrninin~ "related tc~~'jurisdiction, established by tie Ninth Circuit, in the context of a
,~     j chapter 7 ad~~ersary pr~ceedin~:

.4               [T he test is whether ... the c~utcc~me of the proceeding could conc~i~~ably have any effpct 'i
15
       on the estate being administerer~ in banl~-uptey. Thus, the proceeding need nc~t neeessarily~ be
,6
       against the debtor or against the debtor's ~rapert~.. An action is related tc~ bankruptcy if the
~,
       outcome could alter the debtor's rights, liabilities, optiflns. ar treed~m ofaciian (either
~u
       positi~~ely ~r negatively) and urhich in any w•a}- impacts upc~i~ the handling and administration o!'

       the bankrupt estate. liolcr~ml~. 2018 WL 1976526,at *5 {quatin~ P~gusus Cold,39~ F.3d at
2~
       1 193).
~~
                 T3~►~ non judicial defendants cc~n~uct i:~ sc~ i~nYert~~iYied ~~iih the debtor's conduct. They
22

23     all have conspired to criminally take ~ropert~. :III oftheir conduct depends upon the

24     cc~c~perdtic~n and c~mbinatian cif each tither. This court is i~rtainly ~~vare of the schemes users

25     by these nc~n-judicial def~ndas~ts tea stca! properties. It was a national. tragedy just a.~ this court

       characterized it in the Memc~randu~n in a f't~catnote. "The Great Kccessian is "a period of                    ►~,



                                                                                                                    a ~ zs
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             marked global ecnnamic decline taeginning in December ofX007." Blodgett v. Shelter Mortg.
      1
             Cc~., GLC.21113 V1rL ~9j~Ul, at * 1 ~(D. Arrz. ~~eb. 8.2 13)(citing In re Fannie Nlae 2008

            ~ Securities Liti~atian, 74? F.Supp.2d 38~, 3~1 (S.D,N,Y, 2010}).

     ,
     z               To steal a property, it took the ~ombin~tic~n and caaperation. lips, fraudulent papers,

             fraudulently Signed dnc~uments, dt~~;umems recorded which were not genuine, ai]t~ COi1T'tS W1I~li]~

     r ~ to allow this. Then these same document
                                           cc       s were filets r~~ith the courts, as Creditor Moore has
     ,,
        '~ consistently complained, th'hen the courts dry neat even inv~sti~at~, allaw c~iscc~very, hold a
     g
             h~arin~;, and ignt~re Cred~~ar ~it~are s claims, they are cc~n~plicit.         'his court had a duty to refer
    ;:a
             this to rn~•estigators and others. For its failure to do this, this cc~uri is acting outside their oath
    ,~~-,
            j anc~ pledge, actit~~ v,ritht~~~t,juciii;i~~ immunin~. They} are acting as e.fl-ct~~~spirators, Normally

            judges tics nat fix dt~c~ets, omit defendants, ~Il{~ t}P dill tC3 ~1~VE; C~~t`2C3~ ~TIt7C5 l~~}1C1~~ are clerical
.
.L

            corrected. This conduct is a part c~I'a conspiracy to ailov~- ban~:s an~i Braggy and her ager►ts to
,~
             steal properties.
    4



l
                                                                    Y T~s


16                   COC.~RT'S RESP+U?V'S[BILITY FC1R DEALING WITH ALLEGED FRAUD

27                                                 U'I'Oti THE COC."RT
            Nearly all of the principles that ~o~~ern a claim of fraud can the court came from the Haz~3-Atlas
~g
            Glass C;o. v, Hartford- Empire Cho. 32? li.S. ?38 { 19 4).
l~
            V+-'hile parties have the right tc~ file a motion requesting the court to set aside a judgment
20
            procured by fraud, tie court mad- also proceed an its a~~n matic~n. Universal Oil Nrc~ds. Co. v.
2
            Raat Refining Co., 328 t).S. ~7~ (l 94bj.
2~

23                  Indeed, o~~Yc court stated that the fads that had come to its attention "not only justify the

24          inquiry but impose upon us the duty ~a make it, even if no party to the original cause should be

            grilling to cc~ope~at~, to the end that this records of the court ini~ht be purled Uf fraud, if any

            should be found to exist."
                                                                                                                                  a:
                                                                                                                                  ac




                                                                                                                                6 ~~~
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         L?niikc just aE~uut ~ver}~ other remedy or claim existing under the rules of civil procedure or
   1
        ~ common tare, here is nU time limit on setting aside a jud~rnent a~tain~d by fraud, nc~r can
   2

   3     lashes bar ~eansideraiian of the matter.

                 "I~he 1c~~i~ is clear: "~"~']h~ lave fay=ors d~~cc~v~ry any! c~rrecti~n of eorruptic~n of the

        ( Judicial process e~~en mire than it requires an end to lawsuits." The I>nited States Srzprcme

        ~ Court--in a case a fe~~ ti~ears after the t~'crzel- Atlu>s case----disc~issed ~an~~ of the apprespriate

         Prcjcedures used in adj~~icatin~ fraud on the court claims.
   g
             The power tc~ unearih such a fraud is tie power to unearth it effective]}•. Accordingly, a
  ,
  <
         federal court mad° hying before it byF appropriate means all those ~~ha may he affected bti° the
  .~,
        outcome cif its inti~estigation. But if the rig}its cifparties are to be adjudicated in such an
,-
        invzstigatian, the usual s~fegu~rds t~fadversar~~ prc~ceedin~s must be observed. Lockwood v.
~.2
        Bow°les, 4Fi F.R.D. b2~,63~ {D.D.C, 19b9}.; t%niuersal Uil. 328 L.S. at 580. Aoude v. Agobil
13
        Coil Corp.. 892 F.~d 1115, i 138{1st Gir. 1989){,emphasis added){citing Alexander v.
l~
,~, Rc~t~rtson, 882 F.2d ~? 1.42 {~[h fir. 1989)); Pfizer inc. v. Int'1 Rectifier Corp., 538 F.2d 180,
 .
 l h    l9~ (Sth C'ir. 1976); England v. llr~y~e, 28l F.2d 304, 3C1~ {9th C'ir. 1960); Lrnited Bus.

17      Corr~mc'n;s, Inc. v. Racal-'vlil~c~, Inc,, i91 F'. Sapp. 1 172, 1186-87 {D. fan. 1984}; CTnite~i

~8      States v. I"1"T Corp., 3~9 F. Sapp. 22, 29(D. ~`nr~z~. 1970,cr/~"r~m~ ., 41~ U.S. 919(1973).

~~           This Court has an c~l~ligatic~n t~~ investigate the fraud urn the court allegations made b}7 the
20      Creditor l~~oarz . When a fraud on the court is shaw~n throta~,h clear and cc~m~i~lcin~; evidence to
2l
        have E~cen c~mrnitt~d in an on~oin~ ca.5e, the trial judge has the inherent power to take action. in
22
        response to the fraudulent conduct. This court w-il! nc~t allc~w~ nor ~iv~ Creditor'Vioore one
23
        opportunity to present any e~ridence or any wirnesses tc~ praf~cr her all~gatic~ns.
2~i
        The judge has bread ~liscretic~n try fr~shir~r~ ~rjuriicial r~.spnns~ v~~arr~nteci b4 tl~e fraudulent
25
        conduct. Dismissal of claims car cif an entire actin may- be warranted by the fraud, as mad- be the
                                                                                                                      ao
        entry of a default judgment.


                                                                                                                    ot~?
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                   Rc~ckdale'vtgmt. Co. v. Sha4vmut ~3ank, N.t~.,63~ I~'.E.2d 29, 31 (Mass. 1994) Root

          Re#fining Co. v. Universal tail I~r~ds. C~~., 1 f~9 I~.?t~ S 1~, X34-3:"s {3d Cir. 1X48} ~s~tatin~ that

    3 :`[t]h~ records cf Che courts must ~ pur~~ti arizi the.}ud~znen~s its Universa.l's f~vo~r, hc~th in this

    9     court and in the Distriet Court, I~niversal must ~e Cnallti• dismissed. Nt~ principle is better

         ' settled than the maxim that ire whc~ comes into equity rust carne u=ith clan hands and keep

    6     Them clean thrau~hc~ut the cr~urse o~ the 1iti~atic~n, and that if he violates this rule, he must b~;
    -~
          denied all relief whatever md~ have been the m~riis of his claim").

         ~ court canti~t da equity if it does not investigate the a1le~ed fraud. This Court must r~eonsider

          its any dismisSai cif the defendants who committed the fraud, and must ask itself why it leas not
 i.u
          investi~►ated any of the fraud.
 ~.1

12                                                           ~'lII.

1
                 VI. THERE IS N() JUDICIt~L IMMC~~iIT'Y FOR THESE ACTS
~~

                 Ha~v can this curt find the _judges immune when this co~~rt has not aliu~ed any

 ic      discover}F, or done any investigation'?
17               Vv'hile a judge matiT not be held civilly account~bi~ under §1983, a judge is still sui~ject to
s$
         criminal prosecution as are ether citilens. Dennis v. Sparks, ~4~ U.S. 24, (id L.Ed.2d 185, 101
i~
         S.Ct. 183 ~19$x).
2C
                In ~tun~p v. Sparkman. X35 t#.S. 349 (1970 t~i~ supreme Ca~~rz found that the
21
         ~recessary inyurry dez~rrninin~ r~~hether a defendant judge is imn~un~; from suit is whether at the
22
         time the _iudg~ took the chall~n~;~d action he or she hack jurisdiction aver the subject matter.
23 ~
         (emphasis added) Has this Court made az~}' necessary inquiry"
'4
          Them simply is no jurisdiction to ~~ialat~ c ~.-i! ri~,ht. A rote does not provide immunity simply

         hecause the judge takes the bench.



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                                                             1
     1

           DISMISSI?~IG THIS ACTIOtti V~'ITH4L~T ANY :ti~VESTIGATIO?~ :~I`~1'l ~iOTI~E A?YD
           fJPPORTU~ITY TO BE ~FA~[IN~GFULLY H~~RD DENIED THIS CREDITOR
           ~rtU{JRE CONSTiTt,ITI+UNAI~ RIGHTS; DISPLAYtN(.; ITS BIAS
  4


                 A. O~GfJING D~~IAL CIF DL~F PROCESS U'YDFR THIS CC3LTRT
   h
  .~
          This Creditor 4laare alleged in iris cc~rnplaint that. defendant lied under oath, forded documents

  a       ar created other npes o#`dece~ti~~e et~idcnce. and destroyed or hide relevant evidence. He
  ca
          alleged that the conduct is intentional and designed to subvert the truth-seeking functinn of the
10
          judicial process, and is still ongoing because the rec~rdin~s on her property are false and the
11
          defendants kno~.v they ire false, hew tie}f are fare, and hawre nc~t corrected thorn to date.
I.L
                  '~Nliile there is nt~ definiti~.~e list of tl~e "required prt~cec~ures" thai ~fue }arocess requires.
.
1 -3

         ( 3udg~ Henry Friendly generated a list that r~maiits highly influential, as tt~ t~c3th content and
~4
         ~ relative prinrity:
,~
          ~n unbiased tribunal.
z~
          Notice of the pro~c~se~i action and the grnunds asserted for it.
17

~.8       Oppartunit}% ro present reasons why the promised action should not ~~ talon.

i~        The right #a prese~at e~°idence, including the right to call tivitn~sses.

20        The right to lcno~~ opposi~ig evicienCe.

2~        °I'he right to cross-examine adverse u~itness~;s.
nj
          A decision based ex~clusi~ely on the e~~icien~;e presented.

         j Opportunit}~ to be represented by counsel.
24
          Requixement that the trit~~nal prepare a retard c~#"the e~ridence present~t~. Requirement that the

         ' tribunal prepare written findings of fact and rea5c~ns fir its decision.                                       ~~
                                                                                                                           a~
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                 P'racedural due process rules are meant to protect persons not from the c~e~rivation, bui

         from the mistaken car unjustified deprivation of Iife, liberty°, or pr~pez~:y,~' Thus,the required
    L
         elements ofdie process are thr~sc that "mininiire subst~ent~vely unfaie ar mistaken deprivations"

    4    by enabling persons to contest the basis upon which a stag ~mpc~ses to deprive them of

    5    protected interests. The core ofthese requiremenfis is nouc~ and a hearing before an irnpart.ial

    6    tribunal. Uue process may also require an opportunityt for confrontation and cross-examination,

    7    and for disct~very. Carey v. Piphus, 435 U.S. 2~7,259(197$)."[P~rc~dura~ due process rules
    8
        are shaped by the risk of error inherent in the truth-finding process as applied to the generality

        of cases." Mathews v. Eldridge, X24 U.S. 319, 34~ (19~b},'Phis Creditor was denied due
 .0
        press by the District Court and the ~vinth Circuit,
11
                petitioner's complaint alleged the fraud Bragg committed which has now been
'_2
,~      uncovered by the Los Angeles County Sheriff. Due Process requires an impartial tribunal,

        which Petitioner did not have. Impartial decisionmaker is an essential right in civil proceedings
14
        as well. Goldberg v. Ketly, 397 U.S. 254,271 (l97{~}.
l5
~~              "The neutrality requi~rnent helps to guarantee that life, liberty, or property vrrill not be

17      taken an the basis of an erroneous ar distorted conception of the facts car the law.... At the

y8      same time, ii preserves both the appearance and reality offairness ... by ensuring that no

I9      person uill be deprived of his interests in the absence of a proceeding in which he may present
20      his case with assurance that the arbiter is not predisposed tc~ find against him." Marshall v.
21
        Jenico,44b U.S. 238.22{i980}; Schweiker v. 1VlcClure, 45fi L`.S. 188, 195(1.982)
2
        There can. ~e no doubt that when a Iitigarit advises the court offraud upon the court, and fraud
23
        perpetrated by the court, the court has a duty to look into this, and not ignore it.
29
        To ignore it deprives the This Creditc+r Nto+~re ~fan impartial €u~iter, and deprives the This
L
°J


        Creditor Madre of due process.                                                                          r''',


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                    This Creditc~r'~~tcac~re was denied discover}] ire this case also. This Ct~urt has never

           directly confronted this issue as to ~het~aer the denial of di~t~very violates due process, but in
     ~_

  3        tine case it did abser~~z in dictum that "~h~re gouernment~! acfion s~xic~u~ly injures an

  4        individual, and the reasanableraess cif the action depends can fact fndin~s, the evi~3enec used tc~

  5        prt~~e the Ciovernrr~eni'5 CZiS~ i11tl,St ~~ t~15G~ClS~C~ tt~ t~I~' i~ldlvit~u~~ St) t~ldl h~ ~iBS ~.ti UppOrttl?11tV

  6        to show thai it is untrue." Greene ~.'~c :troy, s&0 t1.~. X74. X96 (1 59), quoted ~~ith approval

           in Goldberg v. Kelly, 39? L.S. 254,270(1970).

           13, DEIti'IAL OF FREE ANll UNBIASEA ACCF~S T(} C`OLRTS
  c
                  'T~is Creditor Ivlc~~rc: has teen denied the right cif access to the cc~urc f'c~r redress of
i0
          grievances. First Amendment,includes the right to '`p~titi~~i the goti~ernmem far a redress of
~~
          grievances," and under the Ei#th and Fourteenth Amendments, gu~rar~tees "due pr~c~cess of law."
i2
          "I'he "righi of access to the coiu-tss is a fundamental right.
13
                   The filing of a la~isuit carries ~ig~~i~cant constitutional protectians, inlplicatin~ the First
~4

15        Amendment right tc3 petition the government

16        for redress of grievances, and the right of access tc~ courts.""}; Kyland v. Shapiro, 708 F.?d 967.

 -J       971-72 (5th Cir. 1983j(noting; three constitutional sources cif the right of court access privileges

 h
          and immunities, due process, and the right tc~ petition}; Acevedo v. Surles. 778 F.Supp. 179, 18~

          {S.D.N.Y. 1991)('"i`he ri hi nf~access Lo the ct~urts is guaranteed ~}r the FirstAmendment right
~~
          to petition the goy ernment for the redress of grievances."},
2:i
                  Pacific Gas Bz Electric Co. v. Aear Stems & Co., 79i P,2d 587, 596(Cal. 1990)den
~2
          bane}{holding that the tort flf maliriaus interferc~~ce with contract c~nnc~t derive from filing of a
23
          civil stilt and noting t~h~t the court previously had "been guided by the ~,onstitutional right to
2~
          petition far relief of grievances in inter~aretin~; the mach Ufthe tarp of maticious prosecution°);
25
          Protect Our Mauntain Env'f, Inc. v. I)i~trict Coact for Ct~un~t}° c~f'Jef#er~on, 577 ~'.2d 1361, 1365                    ~,

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            {Cc~1.19$4){cn bancj("[he right icy peirtion the ~t~venunent for redress of grietrances

       ~ necessarily includes the right c~f~ac:cess to i~~e courts. 5~1~'ert it otherwise, the right to petition

        wc+uid hive little signitic~n~e in the cc~nsiituti~anal seh~me t~f~ir~~s.}; Kind ~. Levin, ~4~

        N.E.~d 492(fI i.

  ti
   3    App. 1989) applying C~ilifc~rnia Motor Trdnspc~rt and its First Amendment immunity to limit

        tt~rt of interference ~~rith ~c~nc~mac advantage}; The right tt~ ~tition is a constitutional. doctrine
  _,
        and that "the C"ourt's extension cif the right tc~ petition to adjudicatc~ry bodies in C'alifornia'vlcator

       '~ `Transport was clearly correct'j;
 :
 ~
                  Jacobs, supra npte 96, at 293 n.52(1973){"It may seem surprising to equate the right of
 _~
        petition with resort to the judiciary, but the right had its origins in appeals to Parliament sitting

       26 C7A. L. REV. 901,93~ {1 92)("[Tjhe fiupreine Court has long held that the First
~L

        Amendment right tc~ petition prohibits punishing p~.r~ans who pursue le~iriniate litigation for
13
       an apparent3y impr~p~r put~pt~se."); Waidman. supra note ~, at 9~8 {noting that "(t]he right tc~o
14
       obtain a remedy a~~d to aice:~~ the courts far assistance has its genesis in the Firs# An~e~~dment~~
~~

16     but relying principally on ~rc~up litigation cases such as F3u~tan); Note, ~`irst ~menriment Right

17     cjfAc~cess, supra note 3~, at 1 5~ {„tn a tripartite s~st~~n ofgc~~=~rnment, any m~anin~ful right

~~     to petition must extend tc~ tl~e judi~:i   ~."~; Mate, Suits Against the Government,supra nz~te 12

19 (arguing that suits a~ain~t the ~a~•~rnment are protected undex
                                                                   the Petition Claus~).118 See, e.~;., '
20     I~lonsky v. Mora han, l27 F,3d 2~3,?4f~(2~ Cir. 19 7). This creciitc~r will l+~se this right if this
~~
       court dues nc~t investigate these claims.
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       /I
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      I
                                                                Cfl~C:LLSIC~~
                        `~r the r~~sc~ns ~t~ted, this ~uurt is dis~ualifiecl ~a~~~er both 2~ tES l~ and 45~. T`hi~

           court must aizd sh~suld recuse itself ~rc~rr~ this matter. "~'h c~ut~° c~f'the c~~u~~t tc~ investigate t~~se

           rr~~tt~r°s i~ cle~.r. I#i1~~ C't~urt cat~nt~t ~r ti~~~~1 nit ~~ this then it l~~cc~mes either a harrier far this
      J


           ~'rerlitar     c~~re t~ rea~iz.~ legal rights, and autri~ht denial ~fdue process. and or is complicit in

           thcs~ crimes. I#`that is to ~ then withdraw and or recusal i~ mandated by statue and Idw an~i

           fairn~s~ under the Iau~~.

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           Re~p~ctful~y s~bzr~itt~d


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                                                                                  Creditor in Prca Se
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                                            DECLA~►TI(3~V!A~~°Illr~VI'I` t7F IRAN RENE 1YIOORE
                                               BY *~PE~IAG ~PPEx~RA~'CE O~'LY

                        i, It~r~?~ REfi'k: ?vtOt~~.~; declare as fall~v~~s:
                        l. Iany tl~e This Creditor ~2caore 1~~r~in, and have ~rsc7nal kn4wled~e cif the cif the
        4
             fallc~win~,.
                        ?. I an~k~ t ip n~c~ti~~~~ ~~z ~~eci 1 a~~ar r~c~, are 1(~~j~~:t tc~       ~~ j~fr~~~ictic~n t ~s ~~t~rt
             tn~y ~Iiev~ it ~.s i this actian. This           t~tic~n $~~ar ~isc~ualific~tic~n has merit and is bas~c~ urn
            ~~ ald inf~aratit~r~ e~~~ infi~rrnatic~n ar~d ~r►y ~~rc~i for ju~tic~ t~nd~r equity.
                        3. Despite the fact that 1 h~~;e ~~r~full~° alle~~~ Fira~~'s fr~~~d and fraudulent behai~ir~r thi
        8
            Ca~irt has not ~e~ie~7~d rsay~ allegacic~ns nc~r cc~n~;i~lerec~ tl~en~ ~s true.
                        ~. 7°his cr~urt      ~~c~t held a grin ~n        y all~gatic~ns, andI was riot ~aern~itte~ to make
~C          an c~~'er cf prac~f of this type of fraud.
21                      ~. " 'his .cull e Ru~s~ll has been ~:xtremcly dis~ara~ing asking me in open court ifIcould
            I'Cc`~~ .
~~
                        {~. 'Phis .3u~ige Kuss~ll ha been ~a~tremel~~ dispara~in~, stating `: you lack like ~ t~ri~ht
~~
            ~u;~" the persc+ns in the craurtr~c~rn starting laughing;,
14
    ~ ~                 This has ~epr~~>ed me t~f any r~a1 d~~ recess, Naas di~pl~;~~e~ ~ia~ fc~r Brag; and r~j~i~icc
i           a ains~ me, and denied me equal prote~#ivn a~~~ at~~f me~usin~~u! ri ft tc~ redress and petition.
                        7. `Phis Cc~t~rt leas a duty tc~ ir~v~sti~;at~ these alle~;atians. all€~~ fir di~c~ver~~ or allc~~ fvr
1~
            a fearing ~~it~~ evidence and ~~itness~s, base on tie fiauciui~:nt canduct.
Wu
                        $. I hive d~taile~i t~a~: ina~t~car~, bias, pr~ju~iice ar~s~ disre~; rd cif 1~ex rights to b~ heard,
~.9         redxess ,dui grvicess and ~r~u~l pr~tec~it~n i~?nar~d ~y Lhe~udicial defe~~dants. This Credi#or
~C          Pvlcx~re
                x~ dc~~ nc~t believe these defe da~~ts are: inn ~n~.
                        9. The c~rtinued in~~tir~n ~f'i}~is c~~rt ii~fines the bia:~ and. ~~r~judices s~€ar~n tc~ this
2
            Creditor ~~a~are. `lhe disr~~ar~ i~ ~~vi~u~, ~n~ leis c~u~ snus~ r~cu~~ itself ~nd~,r the man~3azar~
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            arovisians cif the st~~utes as~d under equity°. `I`~3is court simply cat €~t b~ fair, ~e~ause it ~~-i11 not
~~
            take one small lc~~~C i~tc~ any one cif the tet~~ Qf alle~atic~n~ cif ~'ra~~r~. Joist ~k~ ~n~ small lock,
    d

~j                      10. ~rt;~ cc~ pl~z~t ~ll~~;~s enough in3'orn~~.ta~r~ to find ser~~us violations of Canstituti~na
            rights artd rri~° ~~iifc~r~~i~ Gonstitutic~n~l rights; to pause this court tc~ report the conduct of~he                 ~
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              attarn~ys lc~r defendants; and        ~ ~~btt~r tc~ the tf~ i:~epariment c~fi.lustsc~ for the frduc~ the}~
              ca~atnue tc~ ~rp~trate.
     2
                       l 1. I ha~~eflid s m~zic~x~ f`tar di~q~~alifi~atin~~ i~~ c~~d faith because ar~~ reasz~n~ble
          K
              o~iser~er would find this c~~~-t tc~ have c~a        ittc:a the bias and ur~et ic~l cc~t~duct ~.~ 3 have
              it~lerated. `I"his cau~t .has sl~~wn its b7~:~ t~y~ ~~~~itixi~ ~E~r ~t~a t as t~ pr~v~ide its rulin~~ aid nt~t using
              the tirr~~ tU inquire as to the seri~u~ crir~7inal con~u~t. I rec~u~st         in-court l~~aring.
                       l ~. It is n~z only unjust and area u4e c~#' di retit~n tc~ fail to i~v~st~~at~ my casein
              whole, but it is unethical irtunarai end defies e~uit~ ar~c~ tai~-rze~s,
     7                 13. ~i`he exhibits at~cl~ed tc~ this rnc~tic~r~ are true ~n~ correct copies tc~ the c~ri~,zna1.
                       14. ~~e pictures atta~~ed °~~-erg perstanall} taken key m~ end are true and ~artect copies cif

     c~
     f        t~i~ c~ri i~~l pictures.

~_
                       I d~~lare under penalty ~fperj~ry under the lam=s cifthe t~r~ited Staies caf America that
     -:
              f~r~ cring is true end ~c~rr~ct ~n~i if called to testify in ~ c:c~ur~ t~f law. I c~=ould testify tc~ same.
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                                                   PROOF OF SE~t1fIGE OF bt7CUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
  1236 Redondo Blvd ~t~s Angeles, California 90019


 A true and correct cagy of the foregoing document ~ntitlerl (specify!: THIS CREC71TC1R MC30RE -CREDITCJR '

  JUDGE BARRY RUSSELL PURSUANT 70 28 U.S. CC?~E ~ 144; 28 U.S. CODE ~ 455; MEMORANDUM OF P~INT~
 AND At~THt)R13(ES ANt7 DECLARATIt7N1AFFiC7AVIT OF 1VA1~!„~2ENE MC}C7RE
 will be served or u~as served (a) an the judge in chambers ire the form and r~~an~er required by LBR X005-2(dj; and (b) in
 the manner stated below:

 1. TO BE S~12VEC3 BY THE COUNT VtA NOT{CE ~F EL~~TR{3NiC ~ILlNG tl~E~): Pursuant to cantrolting General
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          1                   UNITED STATES BANKRUPTCY COURT

          2                   CENTRAL DISTRICT OF CALIFORNIA

          3                                --000--

          4 In Re:                               Case No. 2:16-bk-22878-BR

          5 KIMBERLY BARBOUR,                    Chapter 7

          6             Debtor.                  Los Angeles, California
                                                 Tuesday, August 2, 2022
          7                                      10:00 a.m.

          8                                    HRG. RE MOTION FOR PRE-FILING
                                               ORDER, INJUNCTIVE RELIEF AND
          9                                    DESIGNATION OF CREDITOR IVAN
                                               RENE MOORE AS A VEXATIOUS
        10                                     LITIGANT

        11                       TRANSCRIPT OF PROCEEDINGS
                            BEFORE THE HONORABLE BARRY RUSSELL
        12                    UNITED STATES BANKRUPTCY JUDGE

        13 APPEARANCES:

        14 For the Debtor:                     ILYA B. YOLK, ESQ.
                                               Law Office of Peter M. Lively
        15                                     11268 Washington Boulevard
                                               Suite 203
        16                                     Culver City, California 90230
                                               (310) 391-2400
        17

        18 For Creditor Ivan Rene              IVAN RENE MOORE, IN PRO PER
             Moore:                            1236 Redondo Boulevard
        19                                     Los Angeles, California 90019
                                               (323) 932-9439
        20

        21 Court Recorder:                     Wanda Toliver
                                               United States Bankruptcy Court
        22                                     Edward R. Roybal Federal
                                                 Building
        23                                     255 East Temple Street
                                               Los Angeles, California 90012
        24
           Proceedings recorded by electronic sound recording;
        25 transcript produced by transcription service.




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          1                                    Briggs Reporting Company, Inc.
                                               9711 Cactus Street
          2                                    Suite B
                                               Lakeside, California 92040
          3                                    (310) 410-4151

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          1   LOS ANGELES, CALIFORNIA         TUESDAY, AUGUST 2, 2022 10:00 AM

          2                                   --000--

          3        (Call to order of the Court.)

          4                 THE COURT:   Number 11, Kimberly Barbour.       Please

          5 unmute yourself by pressing star six and make an appearance.

          6 ~I Thank you.

          7                 MR. VOLK (via Zoom):    Good morning, your Honor.

          8 Ilya Volk, Law Office of Peter Lively, on behalf of Kimberly

          9 Barbour.

        10                  THE COURT:   Okay, Mr. Volk.

        11                  MR. MOORE (via Zoom):     Good morning, your Honor.

        12 Ivan Rene Moore, creditor.

        13                  THE COURT:    Okay.   The only matter on the calendar

        14 is the motion of Debtor to declare Mr. Moore a vexatious

        15 litigant.        Is that correct, Mr. Volk?

        16                  MR. VOLK:    That's correct, your Honor.

        17                  THE COURT:   And, Mr. Moore, you understand that as

        18 well?

        19                  MR. MOORE:    I do.

        20                  THE COURT:    Okay.   And I've read -- you both filed

        21 extensive briefs.         I've read them, and I assume you both

        22 would like to argue the matter.           So, I'll give total each of

        23 you a maximum, as I do at appellate hearings, of 15 minutes.

        24                  So, Mr. Volk, it's your motion.      You'll have --

         25 you might to reserve, because I usually advise people when I




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          1 was on the Bankruptcy Appellate Panel, that you want to

          2 reserve five minutes.      I would suggest you do it, but it's

          3 up to you, but you'll have a total of 15 minutes.

          4             And then, Mr. Moore, you'll have up to 15 minutes.

          5 And if reserve some time, Mr. Volk, you'll reply, and then

          6 of course I'll make my ruling.

          7             So, Mr. Volk --

          8             MR. MOORE:    Yeah.   I have no question.       Was there

          9 an opposition filed to my opposition or a reply to my

         10 opposition, because I didn't receive it.

        11              THE COURT:    Mr. Volk?

        12              MR. YOLK:    No, your Honor.    There wasn't a --

        13              MR. MOORE:    Okay.

        14              MR. YOLK:    -- reply filed.

        15              THE COURT:    I didn't think so, but it's a good

        16 question, Mr. Moore.

        17              So, Mr. Volk, it's -- you have up to 15 minutes.

        18 I guess you will want to reserve a few minutes.

        19              MR. YOLK:    Yes, your Honor, I would like to

        20 reserve five minutes for rebuttal at the end, please.

        21              THE COURT:    Okay.

        22              MR. YOLK:    So, we're here today seeking a pre-

        23 filing order against Mr. Moore to have him declared a

        24 vexatious litigant and requiring him to seek leave of the

        25 Court prior to initiating any additional litigation against




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          1 her, Debtor, her spouse, her agents or her attorneys in this

          2 case.

          3             Mr. Moore has a extensive history of litigation

          4 with the Debtor.     This began many years ago after a failed

          5 domestic partnership relationship.        Many state court --

          6 throughout the years they fought out in state court.            That

          7 was taken to bankruptcy court through various appellate

          8 courts to -- regard to the matters.

          9             THE COURT:    So you're -- (indiscernible) Mr. Volk,

        10 so you can -- you might want to get more to -- I know the

        11 history of the case.

        12              MR. VOLK:    Yes, your Honor.    Well, the -- in order

        13 to look at whether Mr. Moore should be declared a vexatious

        14 litigant, the Court has laid out several factors that need

        15 to be looked at.

        16              His -- the history of the litigation, in

        17 particular, whether he's -- litigation is harassing or

        18 duplicative.     His motives in pursuing the litigation.

        19 Whether he's represented by counsel.         Whether he has caused

        20 unnecessary expense to the Debtor, and whether other

        21 sanctions would be adequate to protect our client from his

        22 actions.     And based on the briefing that we've provided, we

        23 believe that this case meets all of the factors.

        24              There is an extensive history of litigation

        25 between Mr. Moore and Ms. Barbour.         Mr. Moore has continued




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          1 to file duplicative claims against the estate, including

          2 three adversary proceedings challenging the dischargeability

          3 of his judgment against Ms. Barbour.

          4             He has a history of pursuing the litigation

          5 despite there not being a good-faith basis for it.            The most

          6 recent adversary proceedings he filed were filed well after

          7 the bankruptcy case was closed, well after the deadline for

          8 the adversary proceedings to be brought, and well after this

          9 Court had dismissed his claims with prejudice for failure to

        10 comply with the court sanctions.

        11              Mr. Moore has never been represented by counsel in

        12 any of these matters, so he has been given a lot of leeway

        13 as a pro se plaintiff, but despite that, we do believe that

        14 his actions are just meant to harass the Debtor in this

        15 situation.

        16              He's also caused unnecessary expense by continuing

        17 to file motions that are frivolous in nature.           Our client

        18 has incurred over $200,000 in legal fees of fighting him in

        19 state court, district court, bankruptcy court and the

        20 various appellate courts that have brought up the matters.

        21              And in all this time that we've been challenging

        22 Mr. Moore since the bankruptcy case was filed, he hasn't

        23 prevailed on any of his claims.        He has only seemed to

        24 repeat all of his claims after they've been shot down by

        25 this Court.     And the few times that Mr. Moore has been




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          1 sanctioned in this matter for violating judicial process, he

          2 has refused to pay the sanctions.

          3             So, no other remedies are really available in this

          4 case to protect our client, other than to have him declared

          5 a vexatious litigant and to keep him from filing these types

          6 of frivolous actions in the future, or at least to have to

          7 seek court permission before doing so in the future.

          8             Based on that, you know, we believe that sanctions

          9 alone won't deter him, and that this motion is necessary in

        10 order to -- in order for our client to enjoy the discharge

        11 that she obtained so many years ago.

        12              THE COURT:    Okay.    Well, you have five -- you've

        13 actually used four minutes of your time, so you'll have 11

        14 minutes, if you choose to use it in response to whatever Mr.

        15 Moore says.

        S~              Mr. Moore.

        17              MR. MOORE:    Yes.    Thank you, your Honor.      First

        18 and foremost, I object to this rule and hearing based upon

        19 the multiple violations of the judicial conduct exhibited by

        20 this Court, Judge Russell.         And Judge Russell, from the

        21 creditor's position, lacks jurisdiction regarding this

        22 matter.

        23              The Debtor's attorney is far afield when he makes

        24 a statement that mister -- that I have never prevailed.              I

        25 prevailed in the state court action.         I prevailed in




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          1 multiple state court actions where they found that this

          2 Debtor was a liar, a crook and a thief.         And based upon

          3 those findings of the jury, that was ratified by the judge,

          4 and also affirmed by the California Court of Appeal --

          5              THE COURT:   That was in this Court you hadn't

          6 prevailed.    I believe that's what you said, Mr. Yolk.           But

          7 why don't you, Mr. Moore.      You're quite correct of what the

          8 record is in the state court, but why don't you continue.

          9              MR. MOORE:   Okay.   Thank you.

        10               And based upon the creditor's -- my position, this

        11 motion was nothing more than a setup of this Court to harm

        12 this creditor based upon its bias against this creditor.                 I

        13 mean, if you can remember, this whole idea of this motion

        14 was proffered by this Court, asking the Debtor's attorney

        15 , why didn't they file -- or why don't they file this motion.

        16 And as a result --

        17               THE COURT:   Well, Mr. Moore --

        18               MR. MOORE:   Excuse me, sir.      Please don't

        19 interrupt me.     I don't interrupt you.      I have 15 minutes.

        20 Will -- hello?     I have 15 minutes.      I would like to be able

        21 to use my 15 minutes as I deem necessary.          And I find it --

        22 here again, it's your bias, and you're -- you are

        23 interrupting my --

        24               THE COURT:   Continue, Mr. Moore.

        25               MR. MOORS:   I'm sorry.    You cut off.




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          1             THE COURT:    Mr. Moore, please continue.

          2             MR. MOORE:    Thank you, your Honor.

          3             This -- again, as I was saying, this motion was

          4 hinted and requested and initiated by this Court after Judge

          5 Russell on several occasions and during several hearings

          6 suggested to this Debtor and her attorney that this motion

          7 should be filed.

          8             It's the creditor's position that this Court used

          9 the prestige of his office and gave legal advice to this

        10 Debtor and her attorney to file this baseless, frivolous

        11 motion to harm the creditor.

        12              The conduct of the Court is clear.         The oath of

        13 office and the judicial ethics violation of this judicial

        14 officer is clear.      The Court has to be fair and honest and

        15 impartial, and a matter of fact, Canon number two says, a

        16 judge should avoid the improprieties and appearances of

        17 improper in all activities.        And number 10 and three says, a

        18 judge should perform his duties of his office fairly,

        19 impartially and diligently.

        20              I respectfully submit that this Court gave legal

        21 advice regarding the filing of this motion over and over

        22 again, and has reasonable -- any reasonable person would

        23 conclude that this Court is unfair and bias.            This

        24 creditor's position is that this motion is in bad faith and

        25 a complete waste of time.




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         1              Another factor that this Court must look at is

         2 that this Court does not have any jurisdiction over this

         3 creditor.     There are no issues of controversy before this

          4 Court and there is no pending issues, therefore, this Court

          5 cannot rule on this motion.

          6             Any decision that this Court would make would be

         7 in fact an adversary opinion.        This motion is late, baseless

          8 and -- and, I'm sorry, and an anticipatory motion when

          9 certain issues will be remanded based upon the appeal filed

        10 by this creditor.

        11              The Supreme Court has ruled, and I quote, "it has

        12 been long settled that the federal court has no authority to

        13 give opinions upon moot questions."         The case that's cited

        14 is Church of Scientology of California v. United States 506

        15 U.S. 9, 12.

        16              The further -- the Supreme Court further state an

        17 actual controversy must exist not only at the time of the

        18 ' complaint is filed, but through all stages of the complaint.

        f~'] And there are other cases that cite it.

        20              The Debtor puts a lot of faith in the case Malesky

        21 and Sefar (phonetic).       This case is where a person had filed

        22 400 complaints based upon a handicap that this person had.

        23 Again, this Debtor cannot meet the elements.           The issue

        24 regarding the personal property and the legal documents that

        25 were unlawfully in the possession of the Debtor caused the




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          1 most recent adversary complaints to be filed.

          2             This Court is well aware that the Los Angeles

          3 Sheriff Department, based upon a writ of execution from the

          4 Los Angeles Superior Court, raided the Debtor's residence.

          5 The Los Angeles Sheriff Department found personal property

          6 and legal documents in the possession and control of this

          7 Debtor, which included cars, motorcycles, legal documents

          8 and a large cache of other personal property.

          9             This was irrefutable proof and evidence that this

        10 Debtor was lying, and that the Debtor and her attorney had

        11 committed bankruptcy fraud and fraud upon the court.

        12              Remember, this Debtor stated under oath that she

        13 had no knowledge of the location of the whereabouts of the

        14 property, along with her attorneys.         And that all the

        15 property was in fact collected by Wells Fargo.           That was a

        16 complete falsity because the property was at her residence

        17 on June -- July 7th, 2020 -- 2021.         So, based upon that

        18 alone caused those adversary          complaints to be filed.

        19              Remember again, this Debtor said she had no

        20 knowledge of the whereabouts of the property, when at all

        21 times the property was in fact in her possession.

        22              This Debtor and her attorney are in willful

        23 violation of a lawful court order.         Judge Rosenblatt stated

        24 in her order that Kimberly Martin Bragg, and I quote:

        25                   "Her agents or anyone acting on her




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          1             behalf are ordered not to sell, give

          2             away, damage or keep from Ivan Rene

          3             Moore any of the property that was

          4             ordered to be returned."

          5             Now, we're not talking about this $3.1 million

          6 judgment, we're talking about personal property that I used

          7 in my daily work to maintain a living.         That I was stopped

          8 from being able to work and earn a living because of these

          9 conduct of file -- of this frivolous bankruptcy, as well as

        10 other factors.     And it's most ironic that I was sanctioned

        11 b y this Court for failure to produce documents that were in

        12 fact in the possession of this Debtor.

        13              So, this Court knew that Judge Rosenblatt had

        ~~! issued an order to return the property.         This Court knew by

        15 the conduct of this Debtor based upon the sheriff raid, that

        16 this Debtor had the property in her possession.

        17 Notwithstanding this unrefutable information, this Court

        18 embraced and supported this fraud upon the court and

        19 bankruptcy fraud of this Debtor and her attorney.

        20              The issue also regarding this Mr. Schumann

        21 (phonetic) and his client had in fact committed bankruptcy

        22 fraud.    The State Bar rules about a lawyer, it says a lawyer

        23 l shall not unlawfully obstruct another party's access to

        24 evidence, unlawfully order, alter, destroy or conceal

        25 documents or other material having potential evidentiary




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          1 value.   A lawyer shall not counsel or assist another person

          2 in any of the such mentioned acts.

          3             And it is clear that this lawyer, along with his

          4 client, was hiding this documentation from the Court while

          5 they were asking the Court to sanction me as a creditor for

          6 failure to produce.      That is bankruptcy fraud and it's fraud

          7 upon the court.     And this was done in order to justify a

          8 discharge based upon this bankruptcy fraud.

          9             The fraud and fraud upon the court is clear.           And

         10 this attorney and this Debtor have the audacity to file this

         11 frivolous motion, notwithstanding that the documentation and

         12 the information was in fact in the Debtor's possession and

         13 control, to give a false light to this Court regarding the

         14 facts about document production and this whole entire

         15 judgment.

         16             This Court is well aware that Judge Ernest Robles

         17 found before this Court when she filed this frivolous

         18 bankruptcy, that this Debtor and her attorney was attempting

         19 to have the court overrule the state court.          And what Judge

         20 Robles said is, however, it is not the court's province as a

         21 federal bankruptcy court to usurp the role of the state

         22 court.

         23             The court -- the state court has its separate

         24 duties, notwithstanding all of these factors, and Mr. Moore,

         25 m yself, trying to get his and his parent's property that




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          1 they have owned over many years.       This bankruptcy was filed

          2 and this Court is taking the position that Mr. Moore is

          3 violating or being vexatious by attempting to get his

          4 property that was ordered and affirmed by the California

          5 ' Court of Appeal.

          6             Based upon that information that I provided, I'm

          7 going to save whatever remaining time that I have for

          8 rebuttal.

          9             THE COURT:    No, you -- Mr. Moore, I don't think

         10 you heard what I said before.       That the Plaintiff, the

         11 Movant goes first, then you go, and then he goes.            You don't
        12 -- you can't reserve any time.        If you want to continue, you

         13 have five minutes to go, you may, but you -- that's the

        14 order, when the Movant goes, your opposition to the Movant,

        15 land so forth.

        16              So you still have five minutes to go, so it's up

        17 to you if you want to stop, or you want to use your

        18 remaining five minutes.

         19             MR. MOORE:    Okay.   I'll use my remaining time,

        20( five minutes.

        21              THE COURT:    Okay.

        22              MR. MOORE:    This is a case, again, where the state

        23 court has found that this Debtor has been -- has lied and

        24 has not been forthright with the state court.            This Court
        25 should also remember when this all litigation started, this




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          1 Debtor filed an unlawful detainer action that was reversed

          2 b y the California, again, Court of Appeal, for her failure

          3 to produce documents, for her failure to produce information

          4 to justify a unlawful detainer action.

          5             And when she lost the untainer -- the unlawful

        ~:~ detainer action and it was reversed, she immediately

          7 dismissed the unlawful detainer action, which caused other

          8 problems in this litigation.       And it's -- the ironic part,

          9 and I'll close, that this Court has never in the five or six

         10 years we've been before this Court, ever asked this Debtor

         11 why didn't she return the property that was ordered.

         12             This Court is well aware that a debtor has to be

         13 in compliance with all court orders.        And this Debtor, from
         14 the time that she filed the bankruptcy with Judge Robles to

         15 today, is not in compliance with the order.

         16             As it relates to vexatious, this is not a

         17 vexatious situation.      This is a creditor implementing his

         18 right to retain property valued in millions of dollars by

         19 the Los Angeles Superior Court judge, and affirmed by the

        20 California Court of Appeals.        And with that, I submit.
        21              THE COURT:    All right.    Thank you, Mr. Moore.

        22              Mr. Volk, do you have --

        23              MR. VOLK:    Yes, your Honor, just very briefly.          I
        24 don't think I need all of the remaining time.

        25              Mr. Moore's response to the motion is just a good




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          1 demonstration of exactly why we brought it.          Instead of
          2 spending time arguing the merits of whether he should be

          3 declared a vexatious litigant, which he has been by the way

          4 declared a vexatious litigant in both state court and

          5 district court, he spent the majority of the time arguing

          6 tangential matters which have no bearing on the matter

          7 !~ today.

          8               And, also, you know, showing, you know, disrespect

          9 for the Court by raising baseless claims that your Honor is

         10 -- had ex-parte communications with counsel requesting this

         11 motion, or that your Honor has never provided him a fair

         12 opportunity to present his case.

         13               At every aspect Mr. Moore, when he does not

         14 receive the relief he wishes to receive, he attacks the

         15 Debtor's counsel, he attacks the judges.         He has done this

         E~~ in the state court.     He's now doing this in the bankruptcy

         17 court.      It is a history of his conduct, which needs to be

         18 taken into account when determining how the Court can

         19 protect our client from future baseless allegations and

         20 actions brought by Mr. Moore.

        21                Based on all of these actions, we believe that the

         22 vexatious litigant order is the only way that the -- our

        23 client can be provided some form of relief, and save her

         24 from having to expend hundreds of thousands of dollars of

        25 additional attorney fees in fighting these baseless claims.




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          1             Based on that, we submit on the rest of the facts,

          2 your Honor.    Thank you.

          3             THE COURT:    Well, thank you, Mr. Volk.        And thank

          4 you, Mr. Moore.

          5             I just want to make it clear, even though we're

          6 not physically in court, the same rules apply.           I'm not

          7 going to hear -- I'm going to make a ruling now.            I'm not

          8 going to hear any further statements by Mr. Volk unless I

          9 ask, and Mr. Moore.

         10             You understand that, Mr. Volk?

         11             MR. VOLK:    Yes, your Honor.

         12             THE COURT:    You understand that, Mr. Moore?

         13             MR. MOORS:    I do.

         14             THE COURT:    All right.    I am going to, I am going

         15 to grant this motion.      There are a number of things that I

         16 will respond to, that I don't need to, but as far as the

         17 unwarranted attack on the procedures, that is, I've never

         18 given any legal advice to the Debtor's counsel.            Because the
         19 circumstances about the -- first of all, it is true, this is

         20 -- that this is -- this will be the third time, as far as I

         21 know, the Court has declared Mr. Moore a vexatious litigant.

         22             The state court, as I recall, back in 2012, as I

         23 recall, some time ago, the state court, and more recently,

         24 the U.S. District Court, right, in a related matter dealing

         2~ with this case, it was related to -- not specifically this




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          1 case, but the issues were similar, was declared a vexatious

          2 litigant.

          3             I in this Court have sanctioned Mr. Moore for

          4 violation of the discharge injunction.         And sanctioned you,

          5 Mr. Moore, and none of those of course has been paid.

          6             And as far as this question of legal advice, I

          7 mean, that's about as most frivolous argument that you've

          8 made, Mr. Moore.     The context was that in fact I did rule in

          9 your favor, at least on that issue, that the Debtor had

         10 argued that Judge Wright (phonetic) declaring -- I don't

         11 know if you remember this, Mr. Volk, you weren't here, but

         12 mister -- Judge Wright had declared mister -- a couple years

         13 ago now approximately, Mr. Moore a vexatious litigant, and

         14 the -- and Mr. Schulman argued that that applied to the

         15 bankruptcy court.

         16             And I ruled actually in Mr. Moore's favor on that

         17 thing.   No, no, that order of vexatious litigant did not

         18 apply to the bankruptcy court.       But I did in that

         19 discussion, I said, you know, of course that doesn't apply,

         20 but you're free, if you wish to, you could file your own.

         21             And at the time, as I recall, Mr. Schulman said,

         22 that without -- you know, it's very expensive.           We think the

         23 Debtor would be just throwing her money away at that point,

         24 decided not to do it.      And that was simply the discussion.

         25 And apparently now the -- you have, of course, on the




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          1 Debtor's behalf filed, filed this motion.

          2             Also, another frivolous argument by Mr. Moore is,

          3 well, there's nothing pending.       Well, that's the whole

          4 purpose of a vexatious litigant order, is to prevent any

          5 future, basically frivolous motions to be filed by Mr.

          6 Moore.   That's the very nature of it.

          7             The -- and it is clear to me that I've given Mr.

          8 Moore his day in court, but continues to violate the

          9 discharge injunction.      And has not paid any sanctions.          And
         10 there's really nothing left to do to, in order to uphold the

         11 discharge injunction, is to grant this motion.

        12              So, Mr. Volk, I would like you, as stated on -- I

         13 totally agree with your history of this case, and I totally

        14 disagree with Mr. Moore.       Mr. Moore has repeatedly, as you

        15 pointed out, Mr. Volk, he just keeps rehashing all the --

         16 what happened in the state court, no (indiscernible) or

        17 facts.    There was the judgment in the state court and so

         18 forth.   Those things continue to happen, but they have

        19 nothing to do with what happened in my court.

        20              And so, I will -- I would like you, I would like

        21 you, Mr. Volk, if you would prepare the order.            I'd like you
        22 to prepare a findings of fact, conclusions of law.              And as
        23 far as I am concerned, can be consistent with your brief.

        24 There's nothing in there that I see that was inaccurate.

        25 And I will -- so, is that -- I'll just ask you, Mr. Volk,




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          1   you understand what I'm asking you to do?

          2              MR. VOLK:    Yes, your Honor.   Prepare findings of
          3 fact consistent with our brief, with our motion.

          4              THE COURT:    As well as the order that you

          5 suggested.    The only thing that I think is going to stop Mr.

          6 Moore from just repeatedly -- we're talking about this

          7 Court, filing pleadings in this Court.         That's what we're
          8 talking about.     What happens in the state court is another

          9 matter, but we're only talking about filing pleadings, as

         10 you've suggested, in this Court.

         11              So if you'll prepare that order, I will look at it

         12 and then I will look at -- of course, if Mr. Moore files any

         13 opposition, I will consider that.        And that concludes this
         14 hearing, gentleman.

         15              MR. VOLK:    Thank you.

         16              MR. MOORE:    Thank you.

         17       (Proceedings concluded.)

         18

         19

        20               I certify that the foregoing is a correct

        21 transcript from the electronic sound recording of the

        P.Ya proceedings in the above-entitled matter.

         23

        24 /s/ Holly Steinhauer                9-20-22
           Transcriber                         Date
        25




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